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and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                          :
                                                               :       Chapter 11
SEARS HOLDINGS CORPORATION, et al.,                            :
                                                               :       Case No. 18-[______] (RDD)
                                                               :
                             1
                  Debtors.                                     :       (Joint Administration Requested)
----------------------------------------------------------------x

                          DECLARATION OF ROBERT A. RIECKER
                     PURSUANT TO RULE 1007-2 OF LOCAL BANKRUPTCY
                      RULES FOR SOUTHERN DISTRICT OF NEW YORK




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); A&E Factory
Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC (5028); A&E Signature
Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart Corporation (9500);
MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears Holdings Management
Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home Improvement Products, Inc.
(8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc. (2859); Sears Protection
Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck Acceptance Corp. (0535); Sears,
Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC (None); Big Beaver of Florida
Development, LLC (None); California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133);
KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898);
Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands
Business Unit Corporation (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection Company
(Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC (5379); STI
Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C.
(4664); Sears Buying Services, Inc. (6533); Kmart.com LLC (9022); and Sears Brands Management Corporation
(5365). The location of the Debtors’ corporate headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.




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                    I, Robert A. Riecker, make this declaration under 28 U.S.C. § 1746 (the

“Declaration”):

                     1.        I am the Chief Financial Officer (“CFO”) of Sears Holdings Corporation

 (“Sears Holdings”) and have held this role since April 2017. The other debtors in the above-

 captioned cases are all wholly owned, direct or indirect subsidiaries of Sears Holdings

 (collectively with Sears Holdings, the “Debtors” and, together with their non-Debtor affiliates,

 the “Company”). On October 15, 2018, the Company’s Board of Directors created an Office of

 the CEO, of which I am a member, and I report to the Board of Directors. Previously, I served

 as Controller and Head of Capital Markets Activities for the Company. I have been employed

 by the Company since October 2005.

                     2.        On the date hereof (the “Commencement Date”), each Debtor

 commenced with this court (the “Court”) a voluntary case under chapter 11 of title 11 of the

 United States Code (the “Bankruptcy Code”). I am knowledgeable and familiar with the

 Company’s day-to-day operations, business and financial affairs, books and records, and the

 circumstances leading to the commencement of these chapter 11 cases (the “Chapter 11

 Cases”).

                     3.        Except as otherwise indicated herein, the facts set forth in this Declaration

 are based upon my personal knowledge, my review of relevant documents, information

 provided to me by employees of the Company or the Company’s advisors, or my opinion,

 which itself would be based upon my experience, knowledge, and information concerning the

 Company’s operations. If called upon to testify, I would testify competently to the facts set

 forth in this Declaration.




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                     4.        I submit this Declaration pursuant to Rule 1007-2 of the Local Bankruptcy

 Rules for the Southern District of New York (the “Local Rules”) for the purpose of apprising

 the Court and parties in interest of the circumstances that led to the commencement of the

 Chapter 11 Cases and in support of the motions and applications that the Debtors have filed

 with the Court, including the “first-day motions” filed contemporaneously herewith

 (collectively, the “First-Day Pleadings”). I am authorized to submit this Declaration on behalf

 of the Company.

                     5.        This Declaration is organized in seven (7) parts:

                               •   Section I is an introduction to the Debtors and the Chapter 11 Cases;

                               •   Section II describes the Company’s business, both in terms of the
                                   Company’s history, as well as its current operations;

                               •   Section III summarizes the Company’s corporate and capital structure;

                               •   Section IV describes the circumstances that led to the commencement
                                   of the Chapter 11 Cases;

                               •   Section V describes the various prepetition restructuring efforts
                                   undertaken by the Company;

                               •   Section VI summarizes the First-Day Pleadings and the factual bases
                                   for the relief requested therein; and

                               •   Section VII lists the schedules of information required by Local Rule
                                   1007-2 that are annexed hereto.




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                                                     I.
                                                Introduction

                     6.        Sears, Roebuck and Co. (“Sears”) is one of America’s most iconic

    companies. From its beginnings as a Chicago-based mail-order watch business, Sears grew

    exponentially over the course of the twentieth century to become the largest retailer in the

    United States and the world. For well over a century, Sears has been “where America shops.”2

                     7.        Throughout its long and distinguished history, Sears consistently has

    transformed its business to reach new customers and grow its market share. In its early years,

    Sears catered to customers residing in rural, remote areas who previously did not have access to

    a wide variety of goods. Through Sears’ mail-order catalog, such underserved rural customers

    could purchase any number of products, ranging from housewares to even houses. As the

    country’s population shifted in the 1920s and 1930s, Sears expanded its business by opening

    brick-and-mortar stores in urban areas, where customers could browse the products that they

    previously could only view in the Sears catalog. Later, in the 1960s and 1970s, as families

    increasingly migrated to suburban neighborhoods, Sears established itself as a staple of

    American shopping malls, anchoring such malls and leading all retailers in the tool, appliance,

    lawn and garden, and automotive repair and maintenance retail sectors. More recently, in the

    1990s and early 2000s, as customers began to prefer shopping at “big box” retailers over more

    traditional brick-and-mortar stores, Sears merged with Kmart (as defined herein), thereby

    adding a big-box format to its portfolio. Over the last 125 years, Sears routinely has adapted its

    business to navigate shifting population trends and consumer preferences. That agility allowed




2
    Sears:    Where America Shops (Sears, Roebuck          & Co.   television   advertisement   Dec.   1976),
https://www.youtube.com/watch?v=pWmcbnyorhk.




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    Sears to flourish into one of America’s most trusted brands and, at one time, its most powerful

    retailer.

                     8.        In recent years, however, it has become apparent that the Company must

    undergo yet another transformation to remain competitive in today’s marketplace. Economic

    forces adversely affecting the Company’s traditional customer base, industry trends, and global

    shifts in consumer behavior all have had a significant negative impact on the Company’s

    performance.      To address these challenges, the Company has implemented a number of

    initiatives, including expanding its online presence, reducing its physical footprint by closing

    certain unprofitable stores and reconfiguring the format of others, and creating new efficiencies

    in pricing, sourcing, and supply chain management. In addition to considerable operating losses

    driven by significant underperformance, the Company’s liquidity position has been negatively

    impacted by burdensome legacy liabilities, substantial cash interest expense, and nearly $2

    billion of vendor credit contraction. To meet its ongoing liquidity needs, the Company has

    sought to monetize certain of its assets, including certain real property and intellectual property,

    or to pledge such assets as collateral to obtain additional financing. Throughout this process,

    the Company has enjoyed the support of its largest shareholder, ESL Investments, Inc. (together

    with its principals and affiliates, including ESL Partners, L.P., “ESL”),3 which—after

    consideration by an independent subcommittee of the Company’s Board of Directors and its

    independent legal and financial advisors and, subsequently, the approval of the full Board of

    Directors (the “Board”)—consistently has provided financing, extended debt maturities, and

    converted the interest on certain of its debt holdings to pay-in-kind interest to reduce the

    Company’s cash interest expense. ESL’s support has ensured that the Company’s doors remain


3
    ESL currently beneficially owns approximately 49.7% of Sears Holdings’ outstanding stock.




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 open, and over 68,000 individuals remain employed, while the Company has attempted to turn

 around its business. As of the date hereof, however, the Company lacks sufficient liquidity to

 continue normal business operations.

                     9.        The Company has made every possible effort to complete the

 transformation of its business outside of a formal bankruptcy proceeding given, among other

 things, the inherent risk of liquidation that large retailers face in chapter 11. Through these

 efforts, the Company has reduced the exposure of many of its key constituents, including by:

                               •   Reducing or collateralizing its pension obligations by over $2 billion
                                   by entering into a series of agreements with the PBGC (as defined
                                   herein), annuitizing certain liabilities of the Pension Plans (as defined
                                   herein), contributing amounts directly to the Pension Plans or into the
                                   PBGC Escrow (each as defined herein), and monetizing certain assets;

                               •   Cooperating with vendors as they contracted the Company’s trade
                                   terms, thereby reducing the prepetition amounts owed to such vendors;
                                   and

                               •   Refinancing certain of its debt facilities—including the facilities that
                                   are secured by certain of the Company’s real estate assets—and
                                   repaying others—including the First Lien Term Loan A (as defined
                                   herein)—with the proceeds of asset sales.

The Company has worked tirelessly in recent years to obtain the necessary runway to turn

around the business and demonstrate its vitality.              The substantial operating losses that the

Company continues to endure under its current format, however, have proven to be

insurmountable. Therefore, the Company must avail itself of the protections and tools under

chapter 11.

                     10.       Prior to commencing these Chapter 11 Cases, the Company took a number

 of measures to ensure a seamless transition into chapter 11. First, the Company appointed two

 new independent directors: Alan J. Carr, Managing Member and Chief Executive Officer of

 Drivetrain Advisors, and William L. Transier, Founder and Chief Executive Officer of Transier



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 Advisors, LLC, to the Board. The Board also appointed Mohsin Y. Meghji, Managing Partner

 of M-III Partners, as Chief Restructuring Officer of the Company. These individuals bring

 decades of restructuring and operational turnaround and transformation experience to the

 Company.

                     11.       Second, the Board formed a special committee (the “Restructuring

 Committee”), composed solely of independent directors, to oversee the Company’s

 restructuring process. The Restructuring Committee consists of Mr. Carr, Paul G. DePodesta,

 Ann N. Reese, and Mr. Transier.               The Restructuring Committee has full decision-making

 authority with respect to transactions involving ESL or in which ESL may have a conflict of

 interest.

                     12.       Third, the Restructuring Committee, with the authorization of the Board,

 formed a subcommittee (the “Subcommittee”) to review affiliate transactions that were

 consummated prior to the Commencement Date and to evaluate whether there are any viable

 causes of action with respect to such transactions. The Subcommittee has retained independent

 counsel, Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul Weiss”) and is authorized to

 retain other counsel and advisors.                 Working with the assistance of Paul Weiss, the

 Subcommittee, in its sole discretion, will evaluate such prepetition transactions and determine

 appropriate action with respect thereto. The Subcommittee is composed of Mr. Carr and Mr.

 Transier.

                     13.       The Chapter 11 Cases, among other things, will provide the Debtors a

 much-needed reprieve from their short-term liquidity issues. The Debtors’ prepetition senior

 secured asset-based revolving lenders (the “Senior Lenders”) have agreed to support the

 Debtors’ operations by providing up to $1.83 million senior secured superpriority priming




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 debtor in possession asset-based credit facility (the “DIP ABL Facility”), with $300 million of

 new incremental capacity. In addition to the DIP ABL Facility, the Debtors intend to solicit,

 and have made substantial progress on a term sheet for, a $300 million junior debtor in

 possession term loan (the “Junior DIP Financing” and, together with the DIP ABL Facility,

 the “DIP Financing”). The Debtors and their advisors carefully analyzed the Debtors’ financial

 needs during these Chapter 11 Cases and determined that the proposed DIP Financing, in

 combination with the proceeds of contemplated going-out-of-business sales, should adequately

 address the Debtors’ liquidity needs.

                     14.       Armed with the protections and tools afforded to them by the Bankruptcy

 Code, the Debtors now seek the Court’s protection to evaluate critically the future of the

 Company. In the days leading up to these Chapter 11 Cases, the Debtors engaged in productive

 discussions with their major creditor constituencies, including the Senior Lenders, the lenders

 under the Second Lien Credit Agreement (as defined herein), and the PBGC (as defined herein)

 to explore various paths forward for the Company.                     These discussions will continue

 postpetition.

                     15.       The Debtors believe that there is a viable path forward for a reorganization

 around a smaller footprint of profitable stores. Approximately 400 of the Debtors’ stores are

 four-wall EBITDA positive (before any lease concessions)—the Debtors intend to sell these and

 other viable stores, or a substantial portion thereof, as a going concern pursuant to section 363

 of the Bankruptcy Code. A successful sale of these viable stores as a going concern not only

 will save Sears and Kmart (as defined herein), but also the jobs of the tens of thousands of

 employees that depend on the continued operation of such stores.                    The Debtors are in

 discussions with ESL regarding a stalking-horse bid for the purchase of the Company’s viable




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 store base, which would be a right-sized version of the Company that would be operated as a

 going concern. Additionally, the Debtors expect to market and sell certain of the Company’s

 non-core assets, such as intellectual property and specialty businesses, to help finance the

 Chapter 11 Cases and maximize value. The Debtors have moved those discussions within the

 confines of the Chapter 11 Cases to provide all of the Company’s stakeholders, as well as the

 Court, with the opportunity to evaluate the wisdom of those transactions. Unfortunately, the

 Debtors must close 142 stores that operate at significant losses at the outset of these Chapter 11

 Cases and conduct going-out-of-business sales with respect to those stores as efficiently as

 possible to access much-needed liquidity, eliminate the associated cash burn, and take

 advantage of the winter holiday season. As these Chapter 11 Cases progress, the Debtors will

 continue to evaluate their remaining stores.

                     16.       Time is of the essence in these Chapter 11 Cases. The Debtors currently

 burn a significant amount of cash—approximately $125 million per month—in the course of

 operating their business. This burn rate is due, at least in part, to the discrepancy between the

 Company’s operational capacity, which can support a business of the Company’s previous size,

 and the Company’s current, reduced footprint that has resulted from its ongoing store closure

 initiative. The Debtors hope that this imbalance will be corrected through the purchase of the

 Company’s viable stores, but in the meantime, these Chapter 11 Cases must progress with all

 due speed to stem these substantial operating losses that will continue to decrease the value of

 the Debtors’ estates. Thus, the Debtors intend to file a chapter 11 plan shortly after the date

 hereof in an effort to exit chapter 11 as quickly as possible.

                     17.       These Chapter 11 Cases present an opportunity for Sears to once again

 transform its business and to position itself for success in the twenty-first century. The Debtors




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 hope that the Company will emerge from these Chapter 11 Cases, whether pursuant to a chapter

 11 plan of reorganization or a successful sale process, as a streamlined—and profitable—

 version of itself. To succeed, however, the Debtors need the cooperation of their stakeholders

 to reach agreement on a chapter 11 plan and to exit chapter 11 as quickly and efficiently as

 possible, thereby minimizing both the negative impact on the Debtors’ business and the costs of

 administering these Chapter 11 Cases.

                     18.       Without stakeholder cooperation and support, a reorganization simply is

 not possible. Throughout these Chapter 11 Cases, therefore, the following question should

 remain at the forefront of every stakeholder’s mind: Will Sears be relegated to the dustbin of

 history, and will 68,000 Americans lose their jobs, or will Sears enter the next chapter of its life

 as an iconic American company, enduring yet another shift in the retail landscape? The answer

 to such question lies in the level of support and cooperation that the Debtors receive from each

 of their stakeholders—lenders, counterparties, vendors, and employees—during these Chapter

 11 Cases.

                                                    II.
                                           The Company’s Business

          A.        The Company’s History

                     19.       In 1886, Richard W. Sears, a railroad station agent, purchased an

 unwanted collection of watches from a local jeweler in Minneapolis, Minnesota, and began

 reselling those watches to his coworkers. Finding modest success selling watches, Richard W.

 Sears founded R.W. Sears Watch Co. and moved to Chicago, Illinois, where he partnered with

 watchmaker Alvah C. Roebuck. The two men founded a new business: Sears, Roebuck and

 Co.




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                               Richard W. Sears and Alvah C. Roebuck. Source: United Press International.


                     20.       At the time of Sears’ inception, America largely was still a rural and

 agricultural society. To reach customers, most of whom were located in remote areas, Sears

 leveraged the services of the United States Postal Service to distribute mail-order catalogs

 throughout the country. At first, these catalogs offered only watches and other jewelry. By the

 turn of the twentieth century, Sears significantly expanded its product offerings.                                   Sears’

 customers, many of whom previously had access only to small general stores, now could

 purchase myriad products through Sears’ catalog, including shoes, women’s garments, wagons,

 fishing tackle, stoves, furniture, china, musical instruments, saddles, firearms, buggies, bicycles,

 baby carriages, and glassware. By 1908, customers could even purchase materials and plans to

 build houses for their families.




                       Covers of the Spring 1898 and Spring 1900 Sears catalogs. Source: https://chicagology.com




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                  An advertisement for a home-building kit in a 1908 Sears catalog. Source: http://www.searsarchives.com


                      21.      Sears’ early innovation in the retail sector was not limited to its

 revolutionary mail-order catalog—Sears also offered first-of-its-kind consumer credit on a

 nationwide scale, selling many of its products on a cash-on-delivery basis. Under this program,

 a customer simply submitted an order for a product without remitting the purchase price, and

 Sears delivered the product to a nearby warehouse, where the customer could inspect and use

 the product prior to purchasing it. A customer was under no obligation to pay for the product

 unless he or she was satisfied with its quality.




       An 1899 advertisement for a sewing machine, which was offered on cash-on-delivery terms. Source: Ann Arbor District Library.




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                     22.       In 1925, Sears began opening brick-and-mortar stores to expand its

 customer base into the cities as Americans increasingly moved to urban areas and the

 population became increasingly mobile due to the rising popularity of automobiles. Thereafter,

 Sears rapidly expanded, opening hundreds of stores across America. Eventually, Sears’ brick-

 and-mortar stores surpassed its mail-order catalog as Sears’ primary revenue driver, with retail

 sales exceeding mail-order sales for the first time in 1931.




                  The grand opening of a Sears store on State Street in Chicago in 1932. Source: Sears, Roebuck and Co.


                     23.       From the 1930s to the 1980s, Sears expanded its business far beyond the

 retail sector, adding, among others, Allstate Insurance (“Allstate”), Dean Witter Reynolds

 Organization, Inc. (“Dean Witter”), and Coldwell Banker Real Estate Group (“Coldwell

 Banker”) to its portfolio. In 1973, Sears completed and opened the Sears Tower—now known

 as the Willis Tower—in Chicago, which served as Sears’ headquarters and surpassed the World

 Trade Center in New York City as the tallest building in the world at the time. In 1985, Sears

 introduced the Discover® credit card (the “Discover Card”), the first credit card to offer cash

 rewards to customers based on the volume of their purchases. Additionally, during this period,

 Sears introduced a number of private-label brands that, to this day, are synonymous with quality



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    and dependability: Kenmore® appliances, DieHard® automotive batteries, and Craftsman®

    tools. 4




                           Craftsman® tools in a 1956 Sears catalog. Source: Patricia Wall/The New York Times.


                     24.       Toward the end of the twentieth century, Sears streamlined its businesses

    and consolidated its retail business, which, by that time, primarily centered on stores that

    anchored suburban shopping malls located throughout the United States. Sears sold, among

    other things, its holdings in Allstate, Dean Witter, Coldwell Banker, Discover Card, and the

    Sears Tower. In 2004, Sears merged with Kmart Holding Corporation (together with its direct

    and indirect subsidiaries, “Kmart”).                   In connection with the merger (the “Sears-Kmart

    Merger”), Sears Holdings was formed to serve as the parent entity of the post-merger

    Company, and the Company took its contemporary form.

               B.   The Company’s Current Operations

                     25.       The Company currently operates 687 retail stores in forty-nine (49) states,

    Guam, Puerto Rico, and the U.S. Virgin Islands under the Sears® and Kmart® brands and is a

    market leader in the appliance, tool, lawn and garden, fitness equipment, and automotive repair


4
    As detailed below, Sears recently divested itself of the Craftsman® brand. See discussion infra § IV.C.




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 and maintenance retail sectors. The Company operates department stores, which primarily are

 based in traditional shopping malls and serve as anchor tenants in such malls, under the Sears®

 banner. Sears® stores, which average 159,000 square feet, offer a wide variety of of products

 across many merchandise categories, including appliances, consumer electronics, tools, sporting

 goods, outdoor furniture, lawn and garden equipment, automotive tires and batteries, and home

 fashion products, as well as apparel, footwear, jewelry, and accessories.




                                The current Sears® logo. Source: Sears Holdings Corporation.




                               A Sears® department store. Source: Sears Holdings Corporation.


The Company operates big-box discount stores under the Kmart® banner.                              Kmart® stores

primarily are located in strip malls and “power centers” and average approximately 94,000

square feet across one floor. Kmart® stores carry a wide variety of products, including consumer

electronics, seasonal merchandise, outdoor furniture, children’s toys, lawn and garden

equipment, certain grocery items, and apparel. Certain Kmart® stores also feature in-store

pharmacies.




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                                   The current Kmart® logo. Source: Sears Holdings Corporation.




                                   A Kmart® big-box store. Source: Sears Holdings Corporation.


                     26.       Both Sears® and Kmart® stores offer products sold under well-known

 brands to which the Company holds the exclusive rights, including Jaclyn Smith®, Joe Boxer®,

 and Route 66®. The Company also offers Craftsman® tools and products for sale in its stores.

 Additionally, the Company sells products under certain key proprietary brands, including

 Kenmore® appliances and DieHard® automotive batteries.




                                  The current Kenmore® logo. Source: Sears Holdings Corporation.




                                  The current DieHard® logo. Source: Sears Holdings Corporation.


                     27.       Additionally, the Company operates certain specialty stores, such as Sears

 Auto Centers.             Sears Auto Centers offer a variety of professional automotive repair and




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 maintenance services, as well as a full assortment of automotive products and accessories.

 Sears Auto Centers are primarily located in free-standing structures, separate and apart from

 Sears® stores.




                                         A Sears Auto Center. Source: Brandon K.


                     28.       The Company also operates a business that focuses on providing various

 home services solutions (“Sears Home Services”). Sears Home Services is the nation’s largest

 provider of appliance repair services, answering nearly 5 million service calls annually. In

 addition to appliance repair services, Sears Home Services delivers a broad range of services,

 including HVAC maintenance and repair and home improvement services with respect to

 siding, windows, cabinet refacing, kitchen remodeling, roofing, carpet and upholstery cleaning,

 air duct cleaning, and garage door installation and repair. The Company also provides repair

 parts      with      supporting     instructions       through         its    Sears   Parts    Direct   website

 (http://www.searspartsdirect.com) for customers that prefer to perform repair services

 themselves.        Additionally, the Company offers protection agreements and warranties with

 respect to the appliances and products sold in its stores.


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                     29.       The Company also hosts a number of websites under the sears.com and

 kmart.com domains, which offer millions of products and provide the Company’s customers

 with services such as free in-store pick up at Sears® and Kmart® stores. In addition, the

 Company offers a robust, membership-based online shopping experience through its Shop Your

 Way® platform. Members of Shop Your Way® can shop, compare, purchase items, and earn

 rewards points that may be used toward future purchases. Members of Shop Your Way® also

 enjoy special pricing, exclusive sales, events, access to celebrity brands, and sweepstakes.




                                The Shop Your Way® platform. Source: http://www.shopyourway.com.


                     30.       The Company employs approximately 68,000 individuals, of whom

 approximately 32,000              are     full-time employees (the                “Full-Time Employees”)      and

 approximately 36,000 are part-time employees (the “Part-Time Employees” and, together with

 the Full-Time Employees, the “Employees”).                         A small percentage of the Employees are

 covered under collective bargaining agreements.                         With respect to fiscal year 2017, the

 Company’s audited consolidated financial statements reflect total revenues of approximately

 $16.70 billion.           As of August 4, 2018, the Company’s unaudited consolidated financial

 statements reflect assets totaling approximately $6.94 billion and liabilities totaling

 approximately $11.34 billion.



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                                                    III.
                                       Corporate and Capital Structure

          A.        Corporate Structure

                     31.       Sears Holdings was formed in 2004 as a Delaware corporation in

    connection with the Sears-Kmart Merger and serves as the Company’s parent entity. Sears

    Holdings’ principal place of business is in Hoffman Estates, Illinois. All of the Debtors are

    direct or indirect subsidiaries of Sears Holdings. A chart illustrating the Company’s capital and

    corporate organization structure, as of the date hereof, is annexed hereto as Exhibit A.

                     32.       Sears Holdings’ Board is composed of eight (8) members, including five

    (5) independent directors: (i) Edward S. Lampert, Chairman; (ii) Alan J. Carr (independent);

    (iii) Paul G. DePodesta (independent); (iv) Kunal S. Kamlani; (v) William C. Kunkler, III

    (independent); (vi) Ann N. Reese (independent); (vii) Thomas J. Tisch; and (viii) William L.

    Transier (independent). Sears Holdings’ current senior management team includes (i) Robert A.

    Riecker, Chief Financial Officer; (ii) J. Mitchell Bowling, Chief Executive Officer, Sears Home

    Services; (iii) Leena Munjal, Chief Digital Officer; (iv) Robert J. “B.J.” Naedele, Chief

    Commercial Officer, Shop Your Way; (v) Perry “Dean” Schwartz, President, Hardlines; and

    (vi) Stephen L. Sitley, General Counsel and Chief Compliance Officer.5

                     33.       Additional information regarding the Sears Holdings’ senior management

    team is set forth in Schedule 10 annexed hereto.

          B.        Prepetition Capital Structure

                     34.       As of the Commencement Date, the Debtors are indebted under the

    following facilities, as detailed below:       (i) First Lien Credit Facility; (ii) Stand-Alone L/C


5
  The directors, managers, and/or officers, as applicable, of the Debtors other than Sears Holdings vary, but such
directors, managers, and/or officers, as applicable, generally are employees of the Company.




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 Facility; (iii) Second Lien Credit Facility; (iv) Second Lien PIK Notes; (v) Second Lien Notes;

 (vi) IP/Ground Lease Term Loan; (vii) Consolidated Secured Loan Facility; (viii) Holdings

 Unsecured PIK Notes; (ix) Holdings Unsecured Notes; (x) SRAC Unsecured PIK Notes; and

 (xi) SRAC Unsecured Notes (each as defined herein). Additionally, certain of the Debtors and

 their non-Debtor affiliates have issued intercompany notes (the “Intercompany Notes”),

 including KCD Asset-Backed Notes and SRAC Medium Term Notes (each as defined herein).

 Further, certain non-Debtors are indebted under the Sparrow Term Loan and Sparrow

 Mezzanine Term Loan.

As of Commencement Date:                                                  Principal Outstanding
Debt Facilities                                                                      ($ millions)
Revolving Credit Facility                                             $                  836.0
         First Lien Letters of Credit                                                    123.8
First Lien Term Loan A                                                                       --
First Lien Term Loan B                                                                   570.8
FILO Term Loan                                                                           125.0
         Total First Lien Debt                                        $                1,655.6
Stand-Alone L/C Facility                                              $                  271.1
Second Lien Term Loan                                                 $                  317.1
Second Lien Line of Credit                                                               525.0
         Alternative Tranche Line of Credit Loans                                         45.0
Second Lien PIK Notes                                                                    175.4
Second Lien Notes                                                                         89.0
         Total Second Lien Debt                                       $                1,151.5
IP/Ground Lease Term Loan                                                                231.2
Consolidated Secured Note A                                                              108.1
Consolidated Secured Note B                                                              723.3
         Total Secured Loan Debt                                      $                1,062.6
Holdings Unsecured PIK Notes                                          $                  222.6
Holdings Unsecured Notes                                                                 411.0
SRAC Unsecured PIK Notes                                                                 107.9
SRAC Unsecured Notes                                                                     185.6
         Total Unsecured Debt                                         $                  927.0
         Total Funded Debt                                            $                5,067.8
Intercompany Notes
KCD Asset-Backed Notes                                                $                  900.0
SRAC Medium Term Notes                                                                 2,311.8
         Total Intercompany Debt                                      $                3,211.8
Sparrow Structure
Sparrow Term Loan                                                     $                 111.0
Sparrow Mezzanine Term Loan                                                             513.2
         Total Sparrow Structure Debt                                 $                 624.2


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                    (i) First Lien Credit Facility.    Pursuant to that certain Third Amended and

Restated Credit Agreement, dated as of July 21, 2015 (as amended, supplemented, or otherwise

modified prior to the date hereof, the “First Lien Credit Agreement”), between, among others,

Bank of America, N.A., as administrative agent, co-collateral agent and swing line lender, Wells

Fargo Bank, National Association, as co-collateral agent, a syndicate of financial institutions and

other institutional lenders (collectively, the “First Lien Lenders”), Sears Roebuck Acceptance

Corp. (“SRAC”) and Kmart Corporation (“Kmart Corp.”), as borrowers, and Sears Holdings,

the First Lien Lenders have extended (a) an asset-based revolving credit facility with current

commitments of $1.5 billion (including a letter of credit sublimit of up to $1 billion (the

“First Lien Letter of Credit”)), subject to a borrowing base formula, which matures on July 20,

2020 (the “Revolving Credit Facility”); (b) a term loan in an original principal amount of $1

billion, which has been repaid in full (the “First Lien Term Loan A”); (c) a term loan in an

original principal amount of $750 million, which matures on July 20, 2020 (the “First Lien

Term Loan B”); and (d) a “first-in, last-out” term loan in an original principal amount of $125

million, which matures on July 20, 2020 (the “FILO Term Loan” and, together with the

Revolving Credit Facility, the First Lien Term Loan A and the First Lien Term Loan B,

collectively, the “First Lien Credit Facility”). The obligations of SRAC and Kmart Corp.

under the First Lien Credit Facility are guaranteed by Sears Holdings, SRAC, Kmart Corp., and

each domestic subsidiary of Sears Holdings that owns any credit card receivables, pharmacy

receivables or inventory (collectively, together with Sears Holdings, SRAC and Kmart Corp., the

“First Lien Guarantors”) and secured by a lien on, among other things, the credit card

receivables, pharmacy receivables, inventory, prescription lists, deposit accounts, and cash

owned by the First Lien Guarantors (the “First Lien Collateral”). As of the Commencement




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Date, SRAC, Kmart Corp. and the other First Lien Guarantors are liable to the First Lien Lenders

in the aggregate principal amount of approximately $1.656 billion in respect of loans and/or

advances made and letters of credit or letter of credit guaranties issued pursuant to the First Lien

Credit Agreement,6 plus unliquidated amounts, including interest thereon and fees, expenses,

charges, and other obligations incurred in connection therewith as provided under the First Lien

Credit Agreement.

                    (ii) Stand-Alone L/C Facility.        Pursuant to that certain Letter of Credit and

Reimbursement Agreement, dated as of December 28, 2016 (as amended, supplemented, or

otherwise modified prior to the date hereof, the “Stand-Alone L/C Facility Agreement”),

among SRAC and Kmart Corp., as borrowers, Sears Holdings, Citibank, N.A., as administrative

agent and issuing bank, and a syndicate of financial institutions (including JPP, LLC and JPP II,

LLC7), as L/C lenders (collectively, the “Stand-Alone L/C Facility Lenders”), the Stand-Alone

L/C Facility Lenders have provided the Company with approximately $271.1 million in letters of

credit, which mature on December 28, 2019 (the “Stand-Alone L/C Facility”). The letters of

credit issued under the Stand-Alone L/C Facility are posted to guarantee certain workers’

compensation insurance policies and other obligations. The obligations of SRAC and Kmart

Corp. under the Stand-Alone L/C Facility are guaranteed by the First Lien Guarantors and

secured jointly and pari passu with the obligations under the First Lien Credit Facility by a lien

on the First Lien Collateral. In any enforcement action with respect to the First Lien Collateral,

proceeds of First Lien Collateral are applied to repay obligations under the Stand-Alone L/C

Facility only after all obligations under the First Lien Credit Facility are repaid in full. As of the


6
    ESL holds approximately $70.0 million of the outstanding principal amount due under the FILO Term Loan.
7
    JPP, LLC and JPP II, LLC are affiliates of ESL.




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Commencement Date, SRAC, Kmart Corp., and the other First Lien Guarantors are liable to the

Stand-Alone L/C Facility Lenders in the aggregate principal amount of up to approximately

$271.1 million in respect of letters of credit or letter of credit guaranties issued pursuant to the

Stand-Alone L/C Facility Agreement, plus unliquidated amounts including interest thereon and

fees, expenses, charges, and other obligations incurred in connection therewith as provided under

the Stand-Alone L/C Facility Agreement.8

                    (iii) Second Lien Credit Facility. Pursuant to that certain Second Lien Credit

Agreement, dated as of September 1, 2016 (as amended, supplemented, or otherwise modified

prior to the date hereof, the “Second Lien Credit Agreement”), among Sears Holdings, SRAC

and Kmart Corp., as borrowers, Sears Holdings, certain subsidiaries of Sears Holdings, as

guarantors, JPP, LLC as administrative agent and collateral administrator, and certain financial

institutions and other institutional lenders (including JPP, LLC and JPP II, LLC), as lenders

(collectively, the “Second Lien Credit Facility Lenders”), the Second Lien Credit Facility

Lenders have provided the Debtors with (i) a term loan in an original principal amount of $300

million, which matures on July 20, 2020 (the “Second Lien Term Loan”), (ii) a line of credit

facility (the “Second Lien Line of Credit”), pursuant to which the Company may from time to

time borrow line of credit loans, in the sole and absolute discretion of the applicable Second Lien

Credit Facility Lenders, in an amount not to exceed $600 million at any time outstanding with

maximum duration of 270 days and (iii) an alternative tranche line of credit loan in an initial

principal amount of approximately $45.0 million, which matures on October 15, 2018 (the

“Alternative Tranche Line of Credit Loans” and, together with the Second Lien Term Loan

and the Second Lien Line of Credit, the “Second Lien Credit Facility”).                       The Company

8
 ESL has backstopped approximately $105.7 million of the letters of credit outstanding under the Stand-Alone L/C
Facility Agreement.




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incurred the Alternative Tranche Line of Credit Loan as a result of a transaction that occurred in

July 2018, pursuant to which an unaffiliated third-party holder of Second Lien Notes tendered

such notes in exchange for a like principal amount of Alternative Tranche Line of Credit Loans

(the “Alternative Tranche Exchange”).           The obligations of SRAC and Kmart Corp., as

applicable, under the Second Lien Credit Facility are guaranteed by Sears Holdings, SRAC,

Kmart Corp. and each domestic subsidiary of Sears Holdings that owns any credit card

receivables or inventory (collectively, together with Sears Holdings, SRAC, and Kmart Corp.,

the “Second Lien Guarantors”) and secured by a lien on, among other things, the credit card

receivables and inventory owned by the Second Lien Guarantors (the “Second Lien

Collateral”), which lien is junior in priority to the lien securing the First Lien Credit Facility and

the Stand-Alone L/C Facility. The relative rights and priorities of the First Lien Credit Facility

Lenders, the Second Lien Credit Facility Lenders, the holders of Second Lien PIK Notes (as

defined herein), and the holders of Second Lien Notes (as defined herein) are set forth in that

certain Second Amended and Restated Intercreditor Agreement, dated as of October 12, 2010 (as

amended and restated on September 1, 2016 and as further amended and restated on March 20,

2018). The Second Lien Term Loan is convertible at the option of the applicable Second Lien

Credit Facility Lenders or, under certain circumstances, Sears Holdings, into equity of Sears

Holdings. Interest on the Second Lien Term Loan is payable, at the election of Sears Holdings,

in whole or in part, in cash or by increasing the principal amount of the outstanding Second Lien

Term Loan. As of the Commencement Date, Sears Holdings, SRAC, Kmart Corp., and the other

Second Lien Guarantors are liable to the Second Lien Credit Facility Lenders in the aggregate

principal amount of approximately $887.1 million in respect of advances, plus unliquidated




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amounts including interest thereon and fees, expenses, charges, and other obligations incurred in

connection therewith as provided under the Second Lien Credit Agreement.9

                    (iv) Second Lien PIK Notes. Pursuant to that certain Indenture, dated as of March

20, 2018 (as amended, supplemented, or otherwise modified prior to the date hereof, the

“Second Lien PIK Notes Indenture”), among Sears Holdings, certain subsidiaries of Sears

Holdings, as guarantors, and Computershare Trust Company, N.A. as trustee, Sears Holdings

issued 6 5/8% Senior Secured Convertible PIK Toggle Notes due 2019 (the “Second Lien PIK

Notes”) in an original principal amount of approximately $169.8 million. Sears Holdings issued

the Second Lien PIK Notes as a result of an exchange transaction that occurred in March 2018

(the “Second Lien Notes Exchange”), pursuant to which certain holders of Second Lien Notes

tendered such notes in exchange for a like principal amount of Second Lien PIK Notes. The

effect of the Second Lien Notes Exchange was to eliminate the cash interest expense associated

with, and extend the maturity by one year on, the principal amount of Second Lien Notes that

were tendered, while granting to tendering holders and, under certain circumstances, Sears

Holdings, the right to convert Second Lien PIK Notes into equity of Sears Holdings. The Second

Lien PIK Notes mature on October 15, 2019, and interest thereon is payable semi-annually, at

the election of Sears Holdings, in whole or in part, in cash or by increasing the principal amount

of the outstanding Second Lien PIK Notes. Sears Holdings’ obligations under the Second Lien

PIK Notes are guaranteed by the Second Lien Guarantors and secured jointly and pari passu

with the obligations under the Second Lien Credit Facility by a lien on the Second Lien

Collateral. As of the Commencement Date, the outstanding principal amount of the Second Lien

Notes was approximately $175.4 million, plus unliquidated amounts including interest thereon

9
 ESL holds approximately $819.6 million of the outstanding principal amount due under the Second Lien Credit
Facility.




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and fees, expenses, charges, and other obligations incurred in connection therewith as provided

under the Second Lien PIK Notes Indenture.10

                    (v) Second Lien Notes. Pursuant to that certain Indenture, dated as of October

12, 2010 (as amended, supplemented, or otherwise modified prior to the date hereof, the

“Second Lien Notes Indenture”), among Sears Holdings, certain subsidiaries of Sears

Holdings, as guarantors, and Wilmington Trust, National Association as successor trustee and

collateral agent, Sears Holdings issued 6 5/8% Senior Secured Notes due 2018 (the “Second

Lien Notes”) in an original principal amount of $1.25 billion. The Second Lien Notes mature on

October 15, 2018, and interest thereon is payable in cash semi-annually.                       Sears Holdings’

obligations under the Second Lien Notes are guaranteed by the Second Lien Guarantors and

secured jointly and pari passu with the obligations under the Second Lien Credit Facility and the

Second Lien PIK Notes by a lien on the Second Lien Collateral. In any enforcement action with

respect to the Second Lien Collateral, proceeds of Second Lien Collateral are applied to repay

obligations under the Second Lien Notes only after all obligations under each of the Second Lien

Credit Facility and the Second Lien PIK Notes are repaid in full. As of the Commencement

Date, the outstanding principal amount of the Second Lien Notes was approximately $89.0

million, plus unliquidated amounts including interest thereon and fees, expenses, charges, and

other obligations incurred in connection therewith as provided under the Second Lien Notes

Indenture.

                    (vi) IP/Ground Lease Term Loan. Pursuant to that certain Term Loan Credit

Agreement, dated as of January 4, 2018 (as amended, supplemented, or otherwise modified prior

to the date hereof, the “IP/Ground Lease Term Loan Agreement”), between, among others,


10
     ESL holds approximately $20.7 million of the outstanding principal amount of Second Lien PIK Notes.




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SRAC and Kmart Corp., as borrowers, Sears Holdings, certain subsidiaries of Sears Holdings, as

guarantors, JPP, LLC, as administrative agent and collateral administrator, and certain financial

institutions and other institutional lenders (including JPP, LLC and JPP II, LLC), as lenders

(collectively, the “IP/Ground Lease Lenders”), the IP/Ground Lease Lenders made a loan in an

original principal amount of $100 million (the “IP/Ground Lease Term Loan Facility”),11

secured by a lien on, among other things, substantially all of the unencumbered intellectual

property of Sears Holdings and its subsidiaries other than intellectual property relating to the

Kenmore® and DieHard® brands, as well as by certain real property interests, in each case

subject to certain exclusions. The obligations of SRAC and Kmart Corp. under the IP/Ground

Lease Term Loan Facility are guaranteed by Sears Holdings and each domestic subsidiary of

Sears Holdings that is a First Lien Guarantor or owns certain material intellectual property

(collectively, the “IP/Ground Lease Guarantors”). The IP/Ground Lease Term Loan Facility

matures on July 20, 2020. As of the Commencement Date, SRAC, Kmart Corp., and the other

IP/Ground Lease Guarantors are liable to the IP/Ground Lease Lenders in the aggregate amount

of approximately $231.2 million, in respect of outstanding principal amount, plus unliquidated

amounts including interest thereon and fees, expenses, charges, and other obligations incurred in

connection therewith as provided under the IP/Ground Lease Term Loan Agreement.12

                    (vii)      Consolidated Secured Loan Facility.       Pursuant to that certain Third

Amended and Restated Loan Agreement, dated as of June 4, 2018 (as amended, supplemented,

or otherwise modified prior to the date hereof, the “Consolidated Secured Loan Agreement”),


11
  In January and February 2018, the IP/Ground Lease Lenders, in addition to certain unaffiliated lenders, made
additional advances in the aggregate principal amount of approximately $150 million.
12
  ESL holds approximately $152.4 million of the outstanding principal amount due under the IP/Ground Lease
Term Loan Agreement.




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between, among others, Sears, Kmart Stores of Illinois LLC, Kmart of Washington LLC, Kmart

Corp., SHC Desert Springs, LLC, Innovel Solutions, Inc., Sears Holdings Management

Corporation, Maxserv, Inc., Troy Coolidge No. 13, LLC, Sears Development Co. and Big

Beaver of Florida Development, LLC, as borrowers (collectively, the “Consolidated Secured

Loan Borrowers”), Sears Holdings, as guarantor, JPP, LLC, as agent, and JPP, LLC, JPP II,

LLC, and Cascade Investment, L.L.C., as lenders (collectively, the “Consolidated Secured

Loan Facility Lenders”), the Consolidated Loan Facility Lenders consolidated certain

outstanding loans and made additional advances in an aggregate original principal amount of

approximately $779.1 million (the “Consolidated Secured Loan Facility”),13 secured by a lien

on, among other things, a portfolio of real estate assets. The obligations of the Consolidated

Secured Loan Borrowers under the Consolidated Secured Loan Facility are guaranteed by Sears

Holdings.       The Consolidated Secured Loan Facility matures on July 20, 2020.                          As of the

Commencement Date, the aggregate principal amount of the Consolidated Secured Loan Facility

was approximately $831.4 million, including approximately $108.1 million structured as a “first

out” tranche evidenced by promissory note “A” (“Consolidated Secured Note A”), which note

is held by Cascade Investment, LLC, and approximately $723.3 million, evidenced by

promissory note “B” (“Consolidated Secured Note B”), which note is held by JPP, LLC and

JPP II, LLC.

                    (viii)     Holdings Unsecured PIK Notes.               Pursuant to that certain Second

Supplemental Indenture, dated as of March 20, 2018, to that certain Indenture, dated as of



13
  In September 2018, the Consolidated Secured Loan Facility Lenders made an additional advance in the aggregate
principal amount of approximately $75 million. In consideration for such additional advance, the Consolidated
Secured Loan Borrowers granted the Consolidated Secured Loan Facility Lenders a first priority lien on an
additional 20 real properties. Certain of these real properties subsequently were released from the collateral securing
the Consolidated Secured Loan Facility.




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November 21, 2014 (as amended, supplemented, or otherwise modified prior to the date hereof,

the “Holdings Unsecured Indenture”), between Sears Holdings and Computershare Trust

Company, N.A., as trustee, Sears Holdings issued 8% Senior Unsecured Notes Convertible PIK

Notes due 2019 (the “Holdings Unsecured PIK Notes”) in an original principal amount of

approximately $214 million. Sears Holdings issued the Holdings Unsecured PIK Notes as a

result of an exchange transaction (the “Holdings Unsecured Notes Exchange”), pursuant to

which certain holders of Holdings Unsecured Notes tendered such notes in exchange for a like

principal amount of Holdings Unsecured PIK Notes. The effect of the Holdings Unsecured

Notes Exchange was to eliminate the cash interest expense associated with the principal amount

of Holdings Unsecured Notes that were tendered, while granting to tendering holders and, under

certain circumstances, Sears Holdings, the right to convert Holdings Unsecured PIK Notes into

equity of Sears Holdings. The Holdings Unsecured PIK Notes mature on December 15, 2019,

and interest thereon is payable semi-annually, at the election of Sears Holdings, in whole or in

part, in cash or by increasing the principal amount of the outstanding Holdings Unsecured PIK

Notes. As of the Commencement Date, the outstanding principal amount of the Holdings

Unsecured PIK Notes was approximately $222.6 million, plus unliquidated amounts including

interest thereon and fees, expenses, charges, and other obligations incurred in connection

therewith as provided under the Holdings Unsecured Indenture.14

                    (ix) Holdings Unsecured Notes. Pursuant to the First Supplemental Indenture,

dated as of November 21, 2014, to the Holdings Unsecured Indenture, Sears Holdings issued 8%

Senior Unsecured Notes due 2019 (the “Holdings Unsecured Notes”) in an original principal

amount of approximately $625 million. The Holdings Unsecured Notes mature on December 15,

14
  ESL holds approximately $195.1 million of the outstanding principal amount of the Holdings Unsecured PIK
Notes.




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2019, and interest thereon is payable semi-annually.      As of the Commencement Date, the

outstanding principal amount of the Holdings Unsecured Notes was approximately $411.0

million, plus unliquidated amounts including interest thereon and fees, expenses, charges, and

other obligations incurred in connection therewith as provided under the Holdings Unsecured

Indenture.

                    (x) SRAC Unsecured PIK Notes.      Pursuant to that certain Supplemental

Indenture, dated as of March 20, 2018, to the Indenture, dated as of May 15, 1995 (as amended,

supplemented, or otherwise modified prior to the date hereof, the “1995 SRAC Indenture”),

between SRAC and The Bank of New York Mellon Trust Company, N.A., as successor trustee,

SRAC issued 7% / 12% PIK-Toggle Notes due 2028 (the “SRAC Unsecured PIK Notes”) in an

original principal amount of approximately $101.9 million. SRAC issued the SRAC Unsecured

PIK Notes as a result of an exchange transaction (the “SRAC Unsecured Notes Exchange”),

pursuant to which certain holders of SRAC Unsecured Notes (as defined herein) tendered such

notes in exchange for a like principal amount of SRAC Unsecured PIK Notes. The effect of the

SRAC Unsecured Notes Exchange was to eliminate the cash interest expense associated with the

principal amount of SRAC Unsecured Notes that were tendered. The SRAC Unsecured PIK

Notes mature on March 31, 2028, and interest thereon is payable semi-annually, at the election of

SRAC, in whole or in part, in cash at a rate of 7.00% per annum or by increasing the principal

amount of the outstanding SRAC Unsecured PIK Notes at a rate of 12.00% per annum. SRAC’s

obligations under the SRAC Unsecured PIK Notes are guaranteed by certain subsidiaries of

Sears Holdings. As of the Commencement Date, the outstanding principal amount of the SRAC

Unsecured PIK Notes was approximately $107.9 million plus unliquidated amounts including




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interest thereon and fees, expenses, charges, and other obligations incurred in connection

therewith as provided under the 1995 SRAC Indenture.

                    (xi) SRAC Unsecured Notes.       Pursuant to the 1995 SRAC Indenture and that

certain Indenture, dated as of October 1, 2002 (as amended, supplemented or otherwise modified

prior to the date hereof, the “2002 SRAC Indenture”), between SRAC and The Bank of New

York Mellon Trust Company, N.A., as successor trustee, SRAC issued certain notes having

various interest rates and maturities (the “SRAC Unsecured Notes”). As of the Commencement

Date, the weighted interest rate of the outstanding SRAC Notes was 7.049%, and the outstanding

principal amount of the SRAC Unsecured Notes was approximately $185.6 million, plus

unliquidated amounts including interest thereon and fees, expenses, charges, and other

obligations incurred in connection therewith as provided under the 2002 SRAC Indenture.

                    (xii)      Trade Claims.   In the ordinary course of business, the Debtors incur

various fixed, liquidated, and undisputed payment obligations (the “Trade Claims”) to various

third-party providers of goods and services (the “Trade Creditors”) that are sold in the Debtors’

stores or facilitate the Debtors’ business operations. Certain of the Trade Claims (a) are entitled

to statutory priority, including approximately $126.1 million pursuant to section 503(b)(9) of the

Bankruptcy Code; (b) may give rise to shippers’, warehousemen’s, or mechanics’ liens against

the Debtors’ property if unpaid; (c) may relate to funds held in trust by the Debtors that are not

the property of the Debtors’ estates; or (d) may be secured by letters of credit, security deposits,

or rights of setoff (collectively, the “Priority Trade Claims”).

                    (xiii)     Intercompany Claims and Notes. Certain Debtors hold claims against

other Debtors and/or non-Debtor affiliates, which claims primarily result from the normal

functioning of the Company’s centralized cash management system, as well as, in some cases,




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the provision of intercompany services by one Company affiliate to another Company affiliate,

such as, for example, administrative support services (the “Intercompany Claims”).

Intercompany Claims are recorded in the Company’s books and records. Additionally, certain of

the Debtors and their non-Debtor affiliates have issued Intercompany Notes, including (x) KCD

Asset-Backed Notes and (y) SRAC Medium Term Notes (each as defined herein).

                               a.     KCD Asset-Backed Notes. Pursuant to that certain Indenture, dated

as of May 18, 2006 (as amended, supplemented or otherwise modified prior to the date hereof,

the “KCD Indenture”), between KCD IP, LLC (“KCD”) and U.S. Bank, National Association,

as trustee, KCD issued 6.90% KCD IP, LLC Asset-Backed Notes due 2019 (the “KCD Asset-

Backed Notes”) in the an original principal amount of $1.8 billion, secured by certain

intellectual property related to Kenmore®, DieHard®, and Craftsman® brands. Pursuant to the

Craftsman Transaction (as defined herein), in March 2017, the intellectual property related to the

Craftsman® brand was released from the collateral securing the KCD Asset-Backed Notes, and

$900 million principal amount of KCD Asset-Backed Notes were redeemed. The KCD Asset-

Backed Notes mature on June 25, 2029, and interest thereon is payable monthly. Pursuant to the

Indenture, the current rate of interest on the KCD Asset-Backed Notes is 7.60% per annum. As

of the Commencement Date, the outstanding principal amount amount of the KCD Asset-Backed

Notes was approximately $900 million, plus unliquidated amounts including interest thereon and

fees, expenses, charges, and other obligations incurred in connection therewith as provided under

the KCD Indenture. The KCD Asset-Backed Notes are held by Sears Reinsurance Company

Ltd. (“Sears Re”), a non-Debtor affiliate of the Company.

                               b.     SRAC Medium Term Notes. Pursuant to the 2002 SRAC Indenture,

SRAC has issued certain intercompany unsecured notes of various interest rates and maturities




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(the “SRAC Medium Term Notes”). All SRAC Medium Term Notes are held by affiliates of

the Company. As of the Commencement Date, the outstanding principal amount of the SRAC

Medium Term Notes was approximately $2.3 billion, plus unliquidated amounts including

interest thereon and fees, expenses, charges, and other obligations incurred in connection

therewith as provided under the 2002 SRAC Indenture. Approximately $1.4 billion in SRAC

Medium Term Notes are held by Sears Re, a non-Debtor affiliate of the Company.

                    (xiv)      Sparrow Structure.

                               a.     Sparrow Term Loan.           Pursuant to that certain Term Loan

Agreement, dated as of March 14, 2018 (as amended, supplemented, or otherwise modified prior

to the date hereof, the “Sparrow Term Loan Agreement”), among SRC O.P. LLC, SRC

Facilities LLC and SRC Real Estate (TX), LLC, as borrowers (the “Sparrow Borrowers”), UBS

AG, Stamford Branch, as administrative agent, and the lenders party thereto (the “Sparrow

Lenders”), the Sparrow Lenders extended a term loan facility to the Company in an original

principal amount of $200.0 million (the “Sparrow Term Loan”),15 secured by, among other

things, the Sparrow Borrowers’ interests in 138 real properties (the “Sparrow Properties”).

Sears Holdings and Sears have provided a limited guaranty of the Sparrow Borrowers’

obligations under the Sparrow Term Loan. The Sparrow Properties are subject to that certain

Amended and Restated Master Lease Agreement dated as of March 14, 2018. The Sparrow

Term Loan matures on August 30, 2019.                    As of the Commencement Date, the Sparrow

Borrowers are liable to the Sparrow Lenders under the Sparrow Term Loan Agreement in the

aggregate amount of approximately $110.0 million in respect of outstanding principal amount,

plus unliquidated amounts including interest thereon and fees, expenses, charges, and other


15
     On August 31, 2018, the Sparrow Lenders made an additional advance of approximately $113 million.




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obligations incurred in connection therewith as provided under the Sparrow Term Loan

Agreement.

                               b.      Sparrow Mezzanine Term Loan. Pursuant to that certain Term

Loan Agreement, dated as of March 14, 2018 (as amended, supplemented, or otherwise modified

prior to the date hereof, the “Sparrow Mezzanine Term Loan Agreement”), among SRC

Sparrow 2 LLC, as borrower (the “Sparrow Mezzanine Borrower”), JPP, LLC, as

administrative agent, and the lenders party thereto (including JPP, LLC and JPP II, LLC)

(collectively, the “Sparrow Mezzanine Lenders”), the Sparrow Mezzanine Lenders extended a

term loan to the Company in an original principal amount of $240.0 million (the “Sparrow

Mezzanine Term Loan”).16 The Sparrow Mezzanine Term Loan is secured by a pledge of

equity interests in SRC O.P. LLC, which is the parent company of the other Sparrow Borrowers.

Sears Holdings and Sears have provided a limited guaranty of the Sparrow Mezzanine

Borrower’s obligations under the Sparrow Mezzanine Term Loan. The Sparrow Mezzanine

Term Loan matures on July 20, 2020. As of the Commencement Date, the Sparrow Mezzanine

Borrower is liable to the Sparrow Mezzanine Lenders in the aggregate amount of approximately

$513.2 million, in respect of outstanding principal amount, plus unliquidated amounts including

interest thereon and fees, expenses, charges, and other obligations incurred in connection

therewith as provided under the Sparrow Mezzanine Term Loan Agreement.17

                    (xv)       Equity Ownership. Sears Holdings is a publicly held company and files

annual and quarterly reports with, and furnishes other information to, the Securities and

Exchange Commission. Sears Holdings lists its common stock on the NASDAQ Global Market

16
  Since the initial closing of the Sparrow Mezzanine Term Loan, the Sparrow Mezzanine Lenders made additional
advances in the aggregate principal amount of approximately $273 million.
17
     ESL is the only lender under the Sparrow Mezzanine Term Loan Agreement.




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under the symbol “SHLD.” ESL owns approximately 49.7% of Sears Holdings’ common stock.

All other debtors are direct or indirect subsidiaries of Sears Holdings. Sears Holdings has no

preferred stock outstanding.

          C.        Pension Plan Protection and Forebearance Agreement

                     35.       In March 2016, the Company entered into a five-year pension plan

 protection and forbearance agreement (the “PPPFA”) with the Pension Benefit Guaranty

 Corporation (“PBGC”). Pursuant to the PPPFA, the Company agreed to continue to “ring

 fence” the real estate assets and intellectual property (collectively, the “Ring-Fenced Assets”)

 held by certain of the Company’s subsidiaries (collectively, the “Ring-Fenced Subsidiaries”).18

 The Ring-Fenced Subsidiaries granted the PBGC a “springing lien” on the Ring-Fenced

 Assets—which included the intellectual property related to the Kenmore®, Craftsman®, and

 DieHard® brands—which lien would be triggered (subject to certain conditions) upon the

 occurrence of a limited set of conditions, including (i) the failure to make required contributions

 to the Company’s domestic pension plans (the “Pension Plans”), (ii) a prohibited transfer of

 ownership interests in the Ring-Fenced Subsidiaries, (iii) the occurrence of a termination event

 under the Pension Plans, and (iv) bankruptcy- or insolvency-related events with respect to the

 Company or certain of its material subsidiaries (the “Springing Lien Events”). In exchange,

 the PBGC agreed to forbear from initiating an involuntary termination of the Company’s

 domestic pension plan. Upon the deposit of certain funds into an escrow account maintained by

 the PBGC for the benefit of the Company’s Pension Plans (the “PBGC Escrow”) (of which

 approximately $280.6 million remains on deposit), the real estate assets and the intellectual
18
     At the time, the Ring-Fenced Subsidiaries consisted of (i) SRC Depositor Corporation; (ii) SRC O.P.
     Corporation; (iii) SRC Real Estate (TX), LP; (iv) SRC Real Estate Holdings (TX), LLC; (v) SRC Facilities
     Statutory Trust No. 2003-A; and (vii) KCD IP, LLC.




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 property relating to the Craftsman® brand were released from the “ring fence” and the

 springing liens. Because the conditions for the springing lien to be triggered on the remaining

 intellectual-property-related Ring-Fenced Assets include payment in full of the KCD Asset-

 Backed Notes or the grant of such lien ceasing to constitute a default thereunder, neither of

 which has occurred, the springing lien in favor of the PBGC has not been triggered.

                                                   IV.
                                 Circumstances Leading to Chapter 11 Cases

                     36.       As stated above, the Company has made every effort to complete its

 transformation outside of chapter 11. This process, however, has been expensive and slow.

 Ultimately, several factors necessitated the commencement of these Chapter 11 Cases, namely,

 declining revenues, unfavorable market conditions in the retail industry, and the Company’s

 significant and ongoing cash flow and liquidity issues, all of which were exacerbated by a

 contraction in credit terms over the years and the substantial selling, general, and administrative

 (“SG&A”) expenses associated with the Company’s store operations.

          A.        Declining Revenues

                     37.       In recent years, the Company’s revenues have declined substantially, in

 large part due to store closings. Indeed, over the past five (5) fiscal years, the Company’s

 revenues have declined $19.5 billion, or approximately 53.8%. In Fiscal Year 2017 alone, the

 Company’s revenues decreased by $5.4 billion—approximately 24.6%—to $16.7 billion, as

 compared to $22.1 billion in Fiscal Year 2016. Comparable store sales similarly declined

 13.5% in Fiscal Year 2017, which contributed to $1.9 billion of the revenue decline relative to

 the prior year. When broken down by segment, in Fiscal Year 2017, Sears® comparable store

 sales declined 15.2%—driven primarily by decreased sales in the home appliance, apparel,

 consumer electronics, and lawn and garden categories—and Kmart® comparable store sales



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 declined 11.4%—driven primarily by decreased sales in the pharmacy, grocery and household,

 home fashion, drugstore, consumer electronics, and apparel categories.

          B.        Market Conditions

                     38.       The retail department store business is a highly competitive market

 segment. The Company, in particular, competes with a wide variety of retailers, including other

 department stores, discounters, home-improvement stores, consumer-electronics dealers,

 automotive service providers, specialty retailers, and wholesale clubs, as well as many other

 retailers operating on a national, regional, or local level in the United States. On a nationwide

 basis, the Company’s key competitors include Walmart, Target, Kohl’s, J.C. Penney, Macy’s,

 The Home Depot, Lowe’s, Best Buy, and Amazon. The Company faces substantial competition

 from Home Depot and Lowe’s in the home appliance category, which historically accounts for

 approximately 15% of the Company’s revenue.

                     39.       Additionally, online retailers have significantly increased competitive

 pressures in the retail industry, particularly with respect to businesses that have large brick-and-

 mortar footprints, such as the Company. Due in part to the growth of e-commerce, mall traffic

 has steadily declined, with recent data indicating that year-over-year mall traffic has declined by

 approximately eight percent (8%).19 Many traditional retailers have been forced to reduce

 prices to remain competitive and, in many cases, initiate massive store-closure initiatives in

 response to the challenging market conditions brought about by the growth of online retailers.

 As a result of such pressure, the Company has closed 71.7% of its store locations since 2013.




19
  This data represents mall traffic year-over-year decline in June 2017 and is based on public data made available
by Cowen & Company, National Traffic Devices.




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          C.        Cash Flow and Liquidity Issues

                     40.       The Company has been significantly limited in its ability to invest in and

 grow its business, and, as of the Commencement Date, the Company lacks sufficient liquidity to

 continue normal business operations. The Company currently has approximately $5.6 billion in

 funded debt, approximately $922 million of which is unsecured, which it primarily incurred to

 offset declining revenues, honor its pension obligations, and secure inventory following a

 contraction in trade terms. In addition, nearly all of the Company’s assets are encumbered,

 including, among other things, over 200 real property locations, the Company’s most valuable

 intellectual property, including intellectual property related to the Kenmore® and DieHard®

 brands, all of the Company’s credit card receivables, pharmacy receivables, and inventory, as

 well as much of the Company’s cash. Importantly, over $1.7 billion of the Company’s debt

 matures in what remains of Fiscal Year 2018 and Fiscal Year 2019. As of the Commencement

 Date, the Company’s annual cash interest expense is approximately $440 million. With respect

 to cash flow, the Company currently loses approximately $125 million per month.

                     41.       The Company also has substantial legacy liabilities that consume a

 significant amount of its cash on an annual basis. Although its Employees currently do not earn

 pension benefits, the Company has legacy pension obligations with respect to past service

 performed by its retirees. The Company contributed approximately $546.9 million during

 Fiscal Year 2017 and, as of the Commencement Date, approximately $459.3 million during

 Fiscal Year 2018 to its Pension Plans, inclusive of direct contributions and contributions into

 the PBGC Escrow (as defined herein).

                     42.       Additionally, the Company’s liquidity issues have been exacerbated by a

 contraction in trade terms. Certain vendors have demanded reduced payment schedules, while

 others have gone further, requiring the Company to pay cash in advance as a condition to the


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 continued delivery of merchandise. This has resulted in a nearly 78% reduction in trade credit

 and has required the Company to finance a significant portion of its inventory on its balance

 sheet, thereby limiting the Company’s ability to purchase inventory and, as a result, to operate

 its stores at productive levels. The resulting reduction in inventory further aggravates the

 Company’s liquidity position by shrinking the borrowing base under the Revolving Credit

 Facility, on which the Company relies to fund its working capital requirements. In addition,

 vendors also have reduced subsidies, which they historically have provided to support the

 Company’s marketing efforts, by approximately $84 million on an annual basis.

                                                      IV.
                                       Prepetition Restructuring Efforts

                     43.       The Company has implemented various strategies—including initiatives to

 improve operational efficiencies, monetize the Company’s assets, reduce and manage the

 Company’s legacy liabilities, and refinance the Company’s debt—to turn around the business in

 the years leading up to the commencement of these Chapter 11 Cases. These strategies, which

 are discussed more fully below, provided the Company with enough liquidity to reach this

 point, but the Company must avail itself of the protections and tools of chapter 11 for its

 transformation to progress further.

          A.        Strategic Operational Initiatives

                     44.       Over the past five years, the Company has launched various initiatives to

 reduce expenses and stem the substantial operating losses that the Company has continued to

 endure. The Company, for example, has worked to simplify its organizational structure, thereby

 reducing its payroll and benefits obligations. The Company also has changed the way that it

 advertises to its customers, shifting away from traditional, mass-media advertising to more

 targeted—and cost-effective—forms of online advertising.              Additionally, the Company has



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 improved its supply chain and logistics, including by rationalizing and simplifying the

 Company’s distribution network and by improving load rates on existing freight.

                      45.       The Company also has made a concerted effort to evaluate store-level

 performance to rationalize the size of its retail footprint, both in terms of the number of stores,

 as well as the square footage and layout of the stores that remain open. To that end, the

 Company has significantly reduced the number of stores that it operates. During Fiscal Year

 2018 alone, the Company has closed over 300 unprofitable locations. In terms of reconfiguring

 the layouts and reducing the footprint of its remaining stores, the Company has introduced a

 new format at many of its locations, reimagining the way that space is utilized. As part of the

 redevelopment of its existing store base, the Company has reduced the square footage of its

 stores at many locations by approximately two-thirds, oftentimes subleasing the remainder of

 the space in a given structure to a third party.




          A redeveloped Sears® store in Oak Brook, Illinois, which utilizes approximately one-third of its former physical footprint.
                                                Source: Chuck Friedman/Pioneer Press.


These redeveloped Sears® stores also leverage the Company’s Shop Your Way® platform.

Customers may purchase merchandise that is not stocked in the downsized stores from

computerized kiosks that provide customers with access to the Shop Your Way® platform.

Additionally, existing Shop Your Way® members are offered certain in-store benefits, including



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access to exclusive in-store “welcome centers” in which members may, among other things,

enjoy complimentary coffee during their shopping experience.




               A “welcome center” reserved exclusively for Shop Your Way® members. Source: Sears Holdings Corporation


The reduction in the number of stores that the Company operates, as well as the reconfiguration

of the stores it continues to operate, is part of the Company’s larger process of transforming its

business model to place a greater emphasis on providing dynamic online and in-person shopping

experiences for its customers. To date, however, the Company has not been able to reduce its

substantial SG&A expenses to a manageable level, which would be necessary to turn around the

business.

          B.        Monetization of the Company’s Real Estate Portfolio

                     46.       In a further effort to generate cash, enhance its liquidity, and extend its

 runway, the Company has monetized substantially all of its real estate portfolio. In April 2015,

 the Company entered into transactions (collectively, the “Real Estate JV Transactions”) to

 form three distinct real estate ventures with General Growth Properties, Inc., Simon Property

 Group, Inc., and The Macerich Company (collectively, the “Real Estate JVs”). The Company

 contributed thirty-one (31) properties, in the aggregate, to the Real Estate JVs in exchange for a

 fifty-percent (50%) interest in the Real Estate JVs. The Company received gross proceeds from




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 the Real Estate JV Transactions of approximately $429 million in the aggregate. Further, in

 July 2015, Holdings completed a rights offering, which was offered to all stockholders, and a

 sale-leaseback transaction (the “Seritage Transaction”) with Seritage Growth Properties

 (“Seritage”), a newly formed, publicly traded real estate investment trust (“REIT”).20 As part

 of the Seritage Transaction, the Company sold 235 properties (the “REIT Properties”) to

 Seritage, along with the Company’s fifty-percent (50%) interest in the Real Estate JVs. The

 Company obtained independent appraisals of all of the REIT Properties from Cushman &

 Wakefield plc, and Seritage acquired the REIT Properties at the appraised values.                         The

 Company received gross proceeds from the Seritage Transaction of approximately $2.7 billion

 in the aggregate. The Seritage Transaction was reviewed by an independent special committee

 of the Board with input from independent legal and financial advisors and then was approved by

 the full Board.

                     47.       The Company also has pledged its real estate assets as collateral to obtain

 financing, including with respect to the 2016 Real Estate Loan, the 2017 Real Estate Loan, the

 Sparrow Term Loan, and the Sparrow Mezzanine Term Loan. By obtaining such financing, the

 Company gained immediate access to capital. Much of this financing was provided to the

 Company by ESL following review by an independent special committee of the Board with

 input from independent legal and financial advisors and, subsequently, approval of the full

 Board.

          C.        Sale of the Craftsman® Brand

                     48.       In January 2017, the Company announced that it had entered into a

 definitive agreement under which Stanley Black & Decker, Inc. (“SB&D”) agreed to purchase

20
  According to public securities filings, ESL currently beneficially owns approximately 37.8% of the outstanding
combined ownership shares of Seritage.




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 the Craftsman® brand from the Company (the “Craftsman Transaction”).                    Under the

 Craftsman Transaction, the Company received (i) an initial upfront payment of approximately

 $525 million at closing, (ii) a deferred payment of approximately $250 million in cash on the

 third anniversary of the closing (the “Craftsman Deferred Payment”), and (iii) payments of

 between 2.5% and 3.5% on SB&D’s sales of Craftsman® products during the fifteen (15) year

 period following the closing (collectively, the “Craftsman Royalty Payments”).

                     49.       Inasmuch as the intellectual property with respect to the Craftsman®

 brand was a Ring-Fenced Asset, without the consent of the PBGC, the consummation of the

 Craftsman Transaction would constitute a Springing Lien Event under the PPPFA. In March

 2017, the PBGC consented to the consummation of the Craftsman Transaction—including the

 sale of the Craftsman®-related assets. As a condition to obtaining the PBGC’s consent, the

 Company agreed to grant the PBGC a lien on, and subsequently contribute to the Company’s

 Pension Plans, (i) the value of the $250 million Craftsman Deferred Payment, with such

 payment being fully credited against certain of the Company’s minimum pension funding

 obligations in 2017, 2018, and 2019; (ii) a lien on the Craftsman Royalty Payments, with such

 payments contributed to the Company’s Pension Plans and credited against the Company’s

 minimum pension funding obligations starting no later than five (5) years from the date of

 consummation of the Craftsman Transaction; and (iii) a lien on twelve (12) real properties with

 an     appraised       value     of   $100 million   (the   “Craftsman   Mortgaged   Properties”),

 which properties previously were not Ring-Fenced Assets.

                     50.       During the second quarter of 2017, the Company sold the receivable

 related to the Craftsman Deferred Payment (the “Craftsman Deferred Payment Receivable”)

 to a third-party purchaser and deposited the proceeds therefrom into the PBGC Escrow. The




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 Company subsequently contributed a portion of the proceeds realized from the sale of the

 Craftsman Deferred Payment Receivable to the Pension Plans, which contribution was credited

 against the Company’s minimum pension funding obligations.

                     51.       In August 2018, the Company entered into an agreement with the PBGC,

 whereby the PBGC agreed to release its liens on the Craftsman Mortgaged Properties. In

 consideration of the PBGC’s agreement to release its liens on the Craftsman Mortgaged

 Properties, which have a value of approximately $100 million, the Company deposited $32

 million into the PBGC Escrow, which will be fully credited against certain of the Company’s

 minimum pension funding obligations when contributed to the Company’s Pension Plans.

          D.        PPPFA REMIC Amendment

                     52.       In November 2017, the Company entered into another agreement with the

 PBGC (the “REMIC Amendment Agreement”) to amend the PPPFA to permit the Company

 to monetize 138 real properties (the “REMIC Properties”) that were Ring-Fenced Assets under

 to the PPPFA. Pursuant to the REMIC Amendment Agreement, the PBGC agreed to release the

 REMIC Properties from the ring-fence arrangement, such that the REMIC Properties would no

 longer be Ring-Fenced Assets, upon the Company’s contribution to the Pension Plans and the

 PBGC Escrow of an aggregate amount of approximately $407 million from the proceeds of a

 monetization of such REMIC Properties, which would be credited against the Company’s

 minimum funding obligations when contributed to the Company’s Pension Plans. Pursuant to

 the REMIC Amendment Agreement, the Company also agreed to make a $20 million

 supplemental contribution to the Company’s Pension Plans, which would not be so credited. In

 March 2018, the Company entered into the Sparrow Term Loan Agreement and the Sparrow

 Mezzanine Term Loan Agreement, pledging the REMIC Properties and the Company’s equity

 interests in the parent company of the subsidiaries that own the REMIC Properties, respectively,


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 as security thereunder. The Company utilized the proceeds of the Sparrow Term Loan and the

 Sparrow Mezzanine Term Loan to contribute approximately $282 million to the Pension Plans

 and to deposit approximately $125 million into the PBGC Escrow.

          E.        Refinancing of Debt Facilities

                     53.       The Company has taken a number of actions with respect to its debt

 obligations to enhance its liquidity position, which actions were necessary to meet its

 obligations in light of the substantial operating losses and negative cash flow experienced by the

 Company during recent years. In particular, the Company reached agreements with its lenders

 to extend the maturity of certain of its indebtedness, eliminate a portion of its cash interest

 expense, and enhance its overall flexibility. Since 2016, the Company has, among other things,

 extended the maturity of and eventually repaid in full the First Lien Term Loan A, amended the

 First Lien Credit Agreement to increase its general debt basket, increased the advance rate under

 the Second Lien Credit Facility, extended the maturity of approximately $169.8 million

 principal amount of Second Lien Notes pursuant to the Second Lien Notes Exchange, and

 eliminated approximately $15 million per quarter in cash interest expense pursuant to the

 Second Lien Notes Exchange, the Holdings Unsecured Notes Exchange, and the SRAC

 Unsecured Notes Exchange. The Company also has obtained various additional financing on

 both a secured and unsecured basis. The majority of this additional financing was provided to

 the Company by ESL. In each case that the Company entered into a transaction with ESL to

 obtain additional financing, such transaction was reviewed by an independent special committee

 of the Board with input from independent legal and financial advisors and then was approved by

 the full Board.




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          F.        Amendment of Credit Card Arrangement with Citibank

                     54.       Additionally, in May 2018, the Company entered into an amendment of its

 credit card program agreement (the “Citibank Card Amendment”) with Citibank, N.A.

 (“Citibank”) to provide for a five (5) year extension of the Company’s credit card program

 through November 2025 (subject to the Company’s right to extend the program for an

 additional two (2) years and to certain financial preconditions). Pursuant to the Citibank Card

 Amendment, Citibank paid the Company $425 million, and the Company established a reserve

 for the benefit of Citibank in the amount of $25 million, immediately following the parties’

 entry into the amendment.              The Citibank Card Amendment provided the Company with

 significant liquidity.

                                                      V.
                                              First-Day Pleadings

                     55.       As stated, the Debtors operate in a highly competitive retail sector and

 currently burdened by significant operating losses. If the Company is to turn around and

 transform its business through the chapter 11 process, it is imperative that the Debtors make a

 seamless transition into chapter 11 to preserve the reputation of their businesses and the loyalty

 and goodwill of their customers, suppliers, and employees. Sales and operations must continue

 in the ordinary course of business to preserve the value of the Debtors’ business, and going-out-

 of-business sales must begin as quickly as possible at the 142 closing stores to access much-

 needed liquidity, eliminate the associated cash burn, and take advantage of the winter holiday

 season. Accordingly, the Debtors have filed a number of First Day Pleadings designed to

 facilitate their transition into these chapter 11 cases. The Debtors anticipate that the Court will




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 conduct a hearing on the Commencement Date at which the Court will hear and consider many

 of the First Day Pleadings. 21

                     56.       I have reviewed each of the First Day Pleadings with the Debtors’ counsel,

 and I believe that the relief sought in each of the First Day Pleadings is tailored to meet the

 goals described above and will be necessary and critical to the Debtors’ ability to successfully

 execute a restructuring and is in the best interests of the Debtors’ estates and creditors. A

 description of the relief requested and the facts supporting each of the pleadings is set forth

 below.

                                                     VI.
                                  Information Required by Local Rule 1007-2

          A.        Administrative Motions

                    (i)        Motion of Debtors for Entry of Order Directing Joint Administration of
                               Related Chapter 11 Cases (the “Joint Administration Motion”)

                     57.       The Debtors request entry of an order directing joint administration of

 these chapter 11 cases for procedural purposes pursuant to Bankruptcy Rule 1015(b) and that

 the Court maintain one file and one docket for all of the chapter 11 cases under the lead case,

 Sears Holdings Corporation.

                     58.       Joint administration of the chapter 11 cases will provide significant

 administrative efficiencies without harming the substantive rights of any party in interest. Many

 of the motions, hearings, and orders that will be filed in the chapter 11 cases almost certainly

 will affect each of the Debtors. The entry of an order directing joint administration of the

 chapter 11 cases will reduce fees and costs by avoiding duplicative filings, objections, notices,

 and hearings, and will allow all parties in interest to monitor the chapter 11 cases with greater

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 Capitalized terms used below in the descriptions of the First-Day Pleadings and not otherwise defined have the
meanings given to them in the applicable First-Day Pleading.




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 ease and efficiency. The relief requested in the Joint Administration Motion is in the best

 interests of the Debtors’ estates, their creditors, and all other parties in interest and will enable

 the Debtors to continue to operate their businesses in chapter 11 with the least disruption.

                    (ii)       Motion of Debtors for Entry of Order Implementing Certain Notice and
                               Case Management Procedures (the “Case Management Motion”)

                     59.       The Debtors seek entry of an order approving and implementing the

 notice, case management, and administrative procedures therein (collectively, the “Case

 Management Procedures”).

                     60.       Given the size and scope of these cases, the Case Management Procedures

 will facilitate service of notices, motions, applications, declarations, objections, responses,

 memoranda, briefs, supporting documents, and other papers filed in these chapter 11 cases that

 will be less burdensome and costly than serving such documents on every potentially interested

 party. This, in turn, will maximize the efficiency and orderly administration of these chapter 11

 cases, while at the same time ensuring that appropriate notice is provided.

                    (iii)      Motion of Debtors for Entry of Order Extending Time to File Schedules of
                               Assets and Liabilities, Schedules of Contracts and Unexpired Leases, and
                               Statement of Financial Affairs (the “Schedules and Statements Motion”)

                     61.       The Debtors request entry of an order granting additional time to file their

 schedules of assets and liabilities, schedules of executory contracts and unexpired leases, and

 statements of financial affairs. As a consequence of the size and complexity of the Debtors’

 business operations, the number of creditors likely to be involved in these chapter 11 cases, the

 geographical spread of the Debtors’ operations, the numerous critical operational matters that

 the Debtors’ management and employees must address, a 45-day extension (without prejudice

 to further extensions) is necessary and appropriate.




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                    (iv)       Motion of Debtors for Entry of Order (I) Waiving the Requirement to (A)
                               File List of Creditors (B) Prepare and File the List of Equity Security
                               Holders and (C) Provide Equity Security Holders with the Notice of
                               Commencement, and (II) Granting Debtors Authority to Establish
                               Procedures for Notifying Creditors of Commencement of Chapter 11
                               Cases (the “Creditor Matrix Motion”)

                     62.       The Debtors seek entry of an order (i) waiving the requirement to (a) file

 a list of creditors (b) file a list of equity security holders; and (c) provide equity security holders

 with Notice of Commencement, and (ii) approving the form and manner of notifying creditors

 of commencement of these chapter 11 cases.

                     63.       Permitting the Debtors to waive the requirement to provide notice to

 creditors and equity holders is warranted under the circumstances of these chapter 11 cases.

 Specifically, this will benefit the Debtors and their estates by allowing the Debtors to more

 efficiently provide required notices to parties in interest and reduce the potential for duplicate

 mailings.

                     64.       Cause exists to authorize the Debtors to waive the requirement to file the

 list of equity security holders. Sears Holdings is a public company and, as of the

 Commencement Date, has over 107 million common shares outstanding. The ownership of

 these shares change on a daily, if not more frequent, basis. Preparing the Equity List with last-

 known addresses and sending notices to all parties on the Equity List will be expensive and

 difficult to do accurately.

          B.        Operational Motions Requesting Immediate Relief

                     65.       The Debtors intend to ask for immediate relief with respect to the

 following First Day Pleadings and, therefore, will present these motions at the First Day

 Hearing.




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                    (i)        Motion of Debtors For Authority to (I) Continue Using Existing Cash
                               Management System, Bank Accounts, and Business Forms, (II)
                               Implement Ordinary Course Changes to Cash Management System, (III)
                               Continue Intercompany Transactions, and (IV) Provide Administrative
                               Expense Priority for Postpetition Intercompany Claims and Related Relief
                               (the “Cash Management Motion”)

                     66.       The Debtors request authorization to (a) continue their existing cash

 management system, including, without limitation, the continued maintenance of their existing

 bank accounts and business forms; (b) implement changes to their cash management system in

 the ordinary course of business, including, without limitation, opening new or closing existing

 bank accounts; (c) continue to perform under and honor intercompany transactions with Debtor

 and non-Debtor affiliates in the ordinary course of business, in their business judgment and at

 their sole discretion, but subject to the terms and conditions set forth herein; (d) honor

 obligations with respect to service fees and chargebacks in connection with existing agreements

 with banks, credit card companies, and non-cash payment processors; and (e) provide

 administrative expense priority for certain postpetition intercompany claims. The Debtors also

 request that the Court grant any necessary relief related to the foregoing.

                     67.       In the ordinary course of business, the Debtors utilize an integrated,

 centralized cash management system to collect, concentrate, and disburse funds generated by

 their operations (the “Cash Management System”).                   The Cash Management System is

 composed of 154 bank accounts (collectively, the “Bank Accounts”) maintained at various

 financial institutions (the “Banks”) and is designed to accommodate different business divisions

 and to collect, organize, and track various forms of cash receipts and disbursements. The Cash

 Management System enables the Debtors to efficiently collect and disburse cash generated by

 their businesses, pay their financial obligations, centrally control and monitor corporate funds

 and available cash, comply with the requirements of their financing agreements, reduce



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 administrative expenses, and obtain accurate account balances and other financial data. It is

 critical that the Cash Management System remain intact during these chapter 11 cases to ensure

 the seamless continuation of transactions and uninterrupted collection of revenues.

                     68.       The Cash Management System constitutes an ordinary course and

 essential business practice of the Debtors. The Cash Management System provides significant

 benefits to the Debtors, including, among other things, the ability to (i) control corporate funds,

 (ii) ensure the maximum availability of funds when and where necessary, and (iii) reduce costs

 and administrative expenses by facilitating the movement of funds and the development of more

 timely and accurate account information.

                     69.       If the Debtors are not permitted to maintain and continue to use their Bank

 Accounts and Business Forms, the resulting prejudice will include (i) severe and likely

 irreparable disruption of the Debtors’ ordinary financial affairs and business operations,

 (ii) delay in the administration of the Debtors’ estates and (iii) cost to the estates to set up new

 systems, open new accounts, and order new Business Forms.

                    (ii)       Motion of Debtors for Entry of an Order (I) Authorizing but Not Directing
                               the Debtors To (A) Pay Certain Prepetition Wages and Reimbursable
                               Employee Expenses, (B) Pay and Honor Employee Medical and Other
                               Benefits, and (C) Continue Employee Benefits Programs, and (II)
                               Granting Related Relief (the “Wages and Benefits Motion”)

                     70.       The Debtors request authority, but not direction, to pay certain prepetition

 amounts, and maintain and continue to honor and pay, in their sole discretion subject to limits

 imposed by the Bankruptcy Code, all amounts with respect to the Debtors’ business practices,

 programs, and policies for their employees or supplemental workforce as such were in effect on

 the Commencement Date and as such may be modified or supplemented from time to time in

 the ordinary course of business as provided in the motion, including (a) Unpaid Compensation;

 (b) Deductions and Payroll Taxes; (c) the obligations owed to the supplemental workforce; (d)


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 Reimbursable Expenses; (e) the Corporate Card Program; (f) the Employee Benefit Programs;

 (g) the non-insider Severance Program; (h) the Former Employee Benefit Plans; and (i) the

 Other Employee Programs (each as defined in the Wages and Benefits Motion); and (ii) related

 relief.

                     71.       The Debtors’ workforce relies on the Debtors’ compensation, benefits, and

 reimbursement of expenses to satisfy daily living expenses. The workforce will be exposed to

 significant financial difficulties if the Debtors are not permitted to honor obligations for unpaid

 compensation, benefits, and reimbursable expenses. Moreover, if the Debtors are unable to

 satisfy such obligations, morale and loyalty will be jeopardized at a time when support is

 critical.

                    (iii)      Motion of Debtors for Authority to Pay Certain Prepetition Taxes and
                               Fees (“Taxes and Fees Motion”)

                     72.       The Debtors request authority, but not direction, to remit and pay certain

 taxes, assessments, fees, and other charges in the ordinary course of business, including any

 taxes, assessments, fees, and charges subsequently determined upon audit, or otherwise, to be

 owed (collectively, the “Taxes and Fees”).

                     73.       The Debtors collect, withhold and incur an assortment of Taxes and Fees

 that they remit periodically to various federal, state and local taxing, licensing, regulatory and

 other governmental authorities (collectively, the “Authorities”). Many of the Taxes and Fees

 collected prepetition are not property of the Debtors’ estates but, rather, are held in trust for the

 Authorities. The Debtors also seek to pay certain Taxes and Fees to, among other things,

 forestall Authorities from taking actions that may interfere with the Debtors’ administration of

 their chapter 11 cases. Such interference could include asserting liens on the Debtors’ property

 or assessing penalties or significant interest on past-due taxes. In addition, non-payment of the



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 Taxes and Fees may give rise to priority claims pursuant to section 507(a)(8) of the Bankruptcy

 Code. Accordingly, I believe that the relief requested in the Taxes and Fees Motion is in the

 best interests of the Debtors' estates, their creditors and all other parties in interest, and will

 enable the Debtors to continue to operate their businesses.

                    (iv)       Motion of Debtors for Authority but Not Direction to (I) Continue and
                               Maintain Their Insurance Policies, Workers’ Compensation Programs, and
                               Premium Financing Arrangements; (II) Honor All Insurance and
                               Compensation Obligations; and (III) Pay Certain Workers’ Compensation
                               Obligations (the “Insurance Motion”)

                     74.       The Debtors request authority, pursuant to sections 105(a) and 363(b) of

 the Bankruptcy Code, but not direction, to (i) continue to maintain their Insurance Policies and

 Workers’ Compensation Programs; (ii) and honor their Insurance Obligations and Workers’

 Compensation Obligations in the ordinary course of business during the administration of these

 chapter 11 cases; and (iii) pay any prepetition Workers’ Compensation Obligations.

                     75.       The Debtors make premium payments to the Brokers or in some cases

 directly to the Insurers, on different schedules, depending upon the applicable Insurance Policy,

 which range from as frequently as monthly, to as infrequently as annually. Pursuant to the

 Insurance Policies, the Debtors pay premiums based upon fixed rates established and billed by

 each Insurance Carrier (collectively, the “Insurance Premiums”).

                     76.       The aggregate annual cost of the Insurance Premiums is approximately

 $27 million. While the Debtors are current on all Insurance Premiums, the Debtors estimate that

 they will pay approximately $850,000 on account of Insurance Premiums within the first thirty

 (30) days of the chapter 11 cases. Additionally, the aggregate annual cost of the Service

 Provider Fees is approximately $12.5 million, of which, $200,000 will come due within the first

 thirty (30) days of the chapter 11 cases.




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                     77.       The Debtors finance premiums under certain of their Insurance Policies

 because it is not economically advantageous for the Debtors to consistently pay the premiums

 on the Financed Policies, in full, on a lump-sum, quarterly, or monthly basis. Accordingly, in

 the ordinary course of business, the Debtors finance the premiums on the Financed Policies

 pursuant to three premium financing agreements (the “Premium Financing Agreements”) with

 AFCO Credit Corporation. By the Insurance Motion, the Debtors request authority, but not

 direction, to continue making payments pursuant to the Premium Financing Agreements, and to

 renew such agreements and enter into new Premium Financing Agreements as necessary in the

 ordinary course of business.

                    (v)        Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
                               Debtors to Pay Certain Prepetition Obligations to Critical Vendors, (II)
                               Approving Procedures to Address Vendors who Repudiate and Refuse to
                               Honor Their Contractual Obligations to The Debtors, and (III) Granting
                               Related Relief (the “Critical Vendors Motion”)

                     78.       The Debtors seek entry of an order (i) authorizing, but not directing, the

 Debtors to pay up to $70 million on an interim basis (the “Interim Critical Vendor Cap” and

 $90 million on a final basis (the “Final Critical Vendor Cap, together with the Interim Critical

 Vendor Cap, the “Critical Vendor Caps”) in aggregate prepetition Critical Vendor Claims;

 (ii) approving procedures to address those vendors who repudiate and refuse to honor their

 contractual obligations to the Debtors; and (iii) granting related relief.

                     79.       The lifeline of the Debtors’ businesses is their access to, and relationship

 with, their network of vendors and suppliers that deliver essential goods to the Debtors’ stores

 and other facilities.           As an operator of retail stores, service centers, and websites, the

 Company’s ability to generate income is dependent on sales, the volume of which, in large part,

 is dependent upon customer traffic and satisfaction.                If the quality and volume of the

 Company’s inventory goes down, so too will its sales. Even minor disruptions in the Debtors’


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 supply chain would have far-reaching economic and operational impacts on the entire enterprise

 and irreparably harm the goodwill the Debtors have garnered with their customers during their

 century of operations.

                     80.       The vast majority of the Debtors’ inventory is provided by a broad

 network of thousands of vendors that primarily conduct business with the Debtors on an

 invoice-by-invoice or purchase order basis, and not pursuant to long-term contracts. These

 vendors typically supply customers with products on trade terms based on their experience with,

 and perceived risk of, conducting business with such customers. Over the past two years, many

 of the Debtors’ key vendors reacted negatively to news of the Debtors’ financial challenges by

 either imposing new and onerous trade terms or outright refusal to ship merchandise, all of

 which have further impaired the Debtors’ liquidity position and their ability to remain

 competitive with peer retailers. In fact, in the two weeks leading up to the commencement of

 these case, approximately 200 hundred of the Debtors’ vendors have stopped or refused to ship

 merchandise to the Debtors, which has had a significant impact on the Debtors’ liquidity

 position.

                     81.       Many of the Critical Vendors are invaluable to the Debtors’ operations, as

 such vendors are sole- or limited-source or high-volume suppliers of certain popular branded or

 otherwise “in-demand” goods (due to regional or geographic preferences or seasonal demand)

 or other “high-turnover” goods. The Debtors do not have long-term supply agreements with

 most of their Critical Vendors and, instead, source goods on an order-by-order basis. As a

 result, the Debtors have limited leverage to compel performance from Critical Vendors on

 commercially reasonable terms. The Debtors’ position is further weakened by their inability to

 obtain certain branded products in highest demand from alternative Merchandise Vendors.




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 Moreover, because the Debtors’ vendor network includes a number of nominally-distinct, but

 affiliated Critical Vendors, the Debtors’ failure to pay one Critical Vendor could have a ripple

 effect, negatively impacting the Debtors’ relationship with multiple Critical Vendors and access

 to their product offerings on commercially reasonable terms.

                    (vi)       Motion of Debtors for Interim and Final Authority to (I) Pay Prepetition
                               Claims of (A) Shippers, Warehousemen, and Other Non-Merchandise
                               Lien Claimants, and (B) Holders of PACA/PASA Claims, and (II)
                               Confirm Administrative Expense Priority for Prepetition Order Delivered
                               to the Debtors Postpetition and Satisfy Such Obligations in the Ordinary
                               Course of Business (the “Lienholders’ Motion”)

                     82.       The Debtors seek authority, but not direction, to pay Prepetition Claims of

 (a) Shippers, (b) Non-Merchandise Lien Claimants, (c) certain amounts in connection with

 Commencement Date Orders to suppliers, and (d) the PACA/PASA Claims.

                     83.       Certain of the Debtors’ Merchandise is delivered by third-party

 transporters (collectively, the “Shippers”). In the event that the Debtors fail to reimburse the

 Shippers for charges incurred in connection with the transport of the Merchandise, various state

 laws permit the Shippers to assert a statutory lien against the Merchandise in their possession

 that is the subject of any delinquent charges, securing such charges and potentially blocking the

 Debtors’ access to the Merchandise.

                     84.       The Debtors also contract with a number of third parties (collectively, the

 “Non-Merchandise Lien Claimants”) to perform repairs and make improvements related to

 refrigeration equipment, electrical systems, plumbing, elevator and escalator systems and

 various types of food service equipment.                The Non-Merchandise Lien Claimants could

 potentially assert liens, including mechanic’s liens, artisan’s liens and materialman’s liens

 against the Debtors’ property for amounts the Debtors owe to these third parties (collectively,

 the “Miscellaneous Lien Claims”). If the Debtors are unable to pay the Non-Merchandise Lien



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 Claims, they risk losing access to facilities and equipment that are critical to the continued

 operation of the Supermarkets.

                     85.       In addition, prior to the Commencement Date, and in the ordinary course

 of business, the Debtors ordered Merchandise that will not be delivered until on or after the

 Commencement Date (the “Commencement Date Orders”).                       To avoid becoming general

 unsecured creditors of the Debtors’ estates with respect to related Merchandise, certain suppliers

 may refuse to ship or transport such Merchandise or may recall such shipments with respect to

 such Commencement Date Orders or refuse to delivery future orders unless the Debtors issue

 substitute purchase orders postpetition or pay for such Merchandise. The Debtors therefore

 require the relief requested in the Lienholders’ Motion to prevent any disruption to the Debtors’

 retail operations.

                    (vii)      Motion of Debtors for Authority to (I) Maintain and Administer
                               Prepetition Customer Programs, Promotions, and Practices, and (II) Pay
                               and Honor Related Prepetition Obligations (the “Customer Programs
                               Motion”)

                     86.       The Debtors request authority to, in the ordinary course of business and

 consistent with past practice; (i) maintain and administer customer programs, promotions and

 practices, as necessary and appropriate in the Debtors’ business judgment; and (ii) to pay and

 otherwise honor their obligations to customers relating thereto, whether arising prior to or after

 the Commencement Date.

                     87.       The Debtors’ businesses depend upon the loyalty of their customers. To

 maximize customer loyalty, the Debtors have maintained and followed, in the ordinary course

 of business, various practices and programs (collectively, the “Customer Programs”) to

 reward and provide incentives to existing customers and to attract new customers to the

 Debtors’ stores.           Without the ability to continue their Customer Programs and to satisfy



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 prepetition obligations in connection therewith, the Debtors risk losing market share and the

 value of their businesses.

                    (viii)     Motion of Debtors for Authority to (I) Maintain Certain Trust Fund
                               Programs, (II) Release Certain Funds Held in Trust, and (III) Continue to
                               Perform and Honor Related Obligations (the “Trust Funds Motion”)

                     88.       The Debtors request authority, but not direction, to continue to perform

 and honor obligations under programs or other arrangements requiring the Debtors to release

 certain funds held in trust for the benefit and on behalf of non-Debtor third parties (collectively,

 the “Trust Fund Programs”). The Debtors engage in various marketing and sales practices

 designed to offer a convenience to their customers, attract new customers, promote loyalty

 among the existing customer base, and producing alternative streams of income. Such practices

 include selling lottery tickets, franchises, third-party retail gift cards, onsite money transfer

 services, and coin and bottle depository. It is essential that the Debtors honor their obligations

 in connection with such services and arrangements to preserve reputational integrity and

 continue to attract existing and new customers of their stores.

                     89.       Not only do the Debtors earn commission or bonuses directly from their

 participation in the Trust Programs, but the Trust Programs also serve to attract customers to the

 Debtors’ stores, resulting in increased revenues for the Debtors. The payment of the Trust

 Funds is important to the Debtors’ continued business operations, and the value of the Debtors’

 businesses could be significantly harmed if the Debtors are unable to continue to offer the Trust

 Programs, and may drive customers to the Debtors’ competitors for access these programs and

 products.




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                    (ix)       Motion of Debtors for Interim and Final Orders Establishing Notification
                               Procedures and Approving Restrictions on Certain Transfers of Interests
                               in, and Claims Against, the Debtors and Claiming a Worthless Stock
                               Deduction (the “NOLs Motion”)

                     90.       The Debtors seek to establish procedures (the “Procedures”) to protect

 the potential value of the Debtors’ consolidated net operating loss carryforwards (“NOLs”) and

 other tax benefits (collectively, the “Tax Attributes”) for use in connection with the

 reorganization of the Debtors.

                     91.       The Debtors possess certain Tax Attributes, including tax basis in assets

 exceeding the value of such assets and, as of the Commencement Date, estimated NOLs in

 excess of $5 billion and tax credits of approximately $900 million. The trading procedures seek

 authority to restrict trading of Sears Holdings Stock and any claim of a worthless stock

 deduction that could result in an ownership change occurring before the effective date of a

 chapter 11 plan or any applicable bankruptcy court order. Such a restriction would protect the

 Debtors’ ability to use the Tax Attributes during the pendency of these chapter 11 cases.

                    (x)        Motion of Debtors for Approval of (I) Procedures for Store Closing Sales
                               and (II) Assumption of The Liquidation Consulting Agreement
                               (the “Store Closing Procedures Motion”)

                     92.       By the Store Closing Procedures Motion, the Debtors seek to implement a

 key component of their chapter 11 strategy, which is to close certain unprofitable stores to

 eliminate the significant cash burn associates therewith and position themselves for a

 restructuring transaction or sale to maximize value and preserve as many jobs as possible. Such

 closures will improve the Debtors’ financial outlook and liquidity profile and will allow the

 Debtors to focus their efforts around the restructuring or sale of a smaller footprint of stores in

 target markets with the potential for sustainable growth. By the Store Closing Procedures

 Motion, the Debtors seek approval of procedures to close any stores that they determine, in their



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 business judgment, should be closed in order to preserve liquidity and maximize the value of

 their estates (the “Closing Stores”). The Debtors also seek approval of streamlined procedures

 to sell the inventory, furniture, fixtures, and equipment (“FF&E”), and other assets in the

 Closing Stores (collectively, the “Store Closing Assets”), in each case free and clear of liens,

 claims, or encumbrances (the “Store Closing Procedures,” and the sales, the “Store Closing

 Sales”).

                     93.       The Debtors have engaged in a systematic review of each of the Debtors’

 stores and analyzed their profitability and market impact and will continue to do so during these

 chapter 11 cases. In analyzing their stores, the Debtors considered, and continue to consider,

 among other factors, current occupancy costs, historical and projected store profitability, recent

 and projected sales trends, the geographic market in which each store is located, the potential to

 realize negotiated rent reductions with the landlords of the applicable store (the “Landlords”),

 and other specific factors related to a store’s performance.

                     94.       The Debtors continue to evaluate their entire lease portfolio to seek out

 opportunities for cost savings, including the possibility of seeking rent concessions. Certain of

 the Debtors’ stores are underperforming, sustain current losses, are subject to above-market

 rent, or are too large for the Debtors’ needs. The Debtors have carefully considered the impact

 of store closures on the Debtors’ creditors, employees, and other constituencies.

                     95.       I believe that closing the Closing Stores will maximize value to all

 stakeholders. It will immediately lower the Debtors’ costs and increase cash flow from

 operations. The Debtors will liquidate any inventory remaining at the Closing Stores as part of

 the Store Closing Sales, which I believe will maximize return on its inventory as part of their

 store closing process. As part of closing the Closing Stores, the Debtors may transfer their first-




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 generation inventory and other premium products from the Closing Stores to the Debtors’

 remaining stores. In addition, the Debtors may transfer unproductive inventory from both “go

 forward” stores and distribution centers to the Closing Stores. The remaining stores will

 constitute a leaner enterprise, offering greater strategic value and potential for sustainable

 growth.

                     96.       The Debtors have identified 142 retail stores that require prompt closure

 (the “Initial Closing Stores”). The Initial Closing Stores are underperforming, sustaining

 significant losses, and/or have no leasehold value for the Debtors to monetize. Of the Initial

 Closing Stores, 98 were unprofitable in fiscal year 2017, and 44 produced flat or marginal

 profits in fiscal year 2017 or are trending downwards in 2018 due to local market and

 competitive factors. To date, no buyer has expressed an interest in buying the Initial Closing

 Stores on a going concern basis. The liquidation of assets at the Initial Closing Stores is

 expected to yield approximately $42 million in net proceeds, which will be used to pay down

 the DIP ABL Facility and fund these chapter 11 cases. Immediate commencement of store

 closures at the Initial Closing Stores is also required as a condition to the DIP ABL Facility.

 The Debtors will provide notice of their intent to apply the Store Closing Procedures to any

 additional Closing Stores.

                     97.       Implementing the Store Closing Procedures will generate funds that will

 provide the Debtors with needed liquidity to satisfy their obligations during these chapter 11

 cases, and to pay down the Debtors’ debtor in possession financing. The Debtors will select any

 additional Closing Stores to undergo the Store Closing Procedures after a comprehensive

 analysis of those stores’ profitability, ability to be sold during a possible sales process, and

 negative leasehold value.




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                     98.       Additionally, I believe that the ability to sell or transfer the Pharmaceutical

 Assets located at the Closing Stores is a necessary step in ensuring the Debtors are capable of

 closing the unprofitable Closing Stores on a reasonable schedule and the Debtors will ensure the

 best price under the circumstances is received for any Pharmaceutical Assets sold.

                     99.       I believe that implementing the Store Closing Procedures will allow the

 Debtors to avoid payment of administrative rent that is not beneficial to the Debtors and their

 estates, improve the Debtors’ liquidity, allow the Debtors to focus on their larger sale or

 restructuring process, and maximize creditor recoveries. Any interruption or delay in the

 Debtors’ ability to efficiently close the Closing Stores during these chapter 11 cases could have

 serious negative consequences for the Debtors’ estates. Thus, to maintain the value of the Store

 Closing Assets, it is important that the Court permit the Debtors flexibility to act in the most

 expeditious and efficient manner possible. I believe that there is sufficient business justification

 for the Debtors to begin immediately implementing the Store Closing Procedures.

                    (xi)       Motion of Debtors for Entry of an Order Establishing Procedures for
                               Rejection of Unexpired Leases of Nonresidential Real Property and
                               Abandonment of Property in Connection Therewith (the “Lease Rejection
                               Procedures Motion”)

                     100. By the Lease Rejection Procedures Motion, the Debtors request authority

 to approve streamlined procedures (the “Rejection Procedures”) for the rejection of unexpired

 Leases, effective as of the Rejection Date, and the abandonment of certain property in

 connection therewith.

                     101. In the months leading up to the Commencement Date, the Debtors,

 together with their advisors, conducted an extensive review of all of their store operations, as

 well as their leases of non-residential real property. The Debtors are continuing to review their

 retail store footprint, as well as their real estate portfolio, and expect that additional store



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 closings and lease rejections may be prudent as the chapter 11 cases unfold. To streamline

 future store closings, rejections of unexpired nonresidential real property leases, and

 abandonment of assets, and to avoid filing multiple, individual motions, the Debtors seek

 authority to implement the Rejection Procedures. I believe that the Rejection Procedures are the

 most efficient and economical way for the Debtors to address future rejections of the Leases and

 abandonment of assets located at such leased premises.

                    (xii)      Omnibus Motion of Debtors to Reject Certain Unexpired Leases and
                               Related Subleases of Nonresidential Real Property and Abandonment of
                               Property in Connection Therewith (the “Omnibus Lease Rejection
                               Motion”)

                     102. By the Omnibus Lease Rejection Motion, the Debtors seek reject 217

 unexpired leases and related subleases (each, a “Lease” or “Sublease” and, collectively, the

 “Leases”) and to abandon certain property in connection therewith, effective as of the date the

 Debtors have surrendered the premises to the landlord via the delivery of the keys, key codes,

 and alarm codes to the premises, as applicable, to the applicable lease counterparty, or, if not

 delivering such keys or codes, providing notice that the landlord may re-let the premises (the

 “Rejection Date”).

                     103. In the months leading up to the Commencement Date, the Debtors,

 together with their advisors, conducted an extensive review of all of their nonresidential real

 property leases. As a result of that initiative, the Debtors have identified the Leases, which are

 burdensome to the Debtors, nearly all of which are for “dark store” locations where the Debtors

 have already ceased ongoing operations. As such, the Leases are an unnecessary burden on the

 Debtors’ estates. In addition, the Debtors have determined that there are no current

 opportunities to assume and assign the Leases and that no meaningful value would be realized

 by the Debtors by any such assumption or assignment. Accordingly, the Leases should be



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 rejected. In almost all instances, the Debtors have already physically vacated the properties and,

 as of the Commencement Date, have sent the keys and/or codes to the premises and a notice of

 surrender to the landlords.

                    (xiii)     Application of Debtors Pursuant to 11 U.S.C. § 105 (a), 28 U.S.C §
                               156(c), and Local Rule 5075-1 for an Order Appointing Prime Clerk LLC
                               as Claims and Noticing Agent for the Debtors (the “Claims and Noticing
                               Agent Retention Application”)

                     104. The Debtors request authority to appoint Prime Clerk, LLC (“Prime

 Clerk”) as claims and noticing agent (“Claims and Noticing Agent”) in accordance with the

 terms and conditions of that certain Standard Services Agreement dated October 7, 2018, by and

 between the Company and Prime Clerk (the “Engagement Agreement”), effective nunc pro

 tunc to the Commencement Date. Prime Clerk’s duties will include assuming full responsibility

 for the distribution of notices and the maintenance, processing, and docketing of proofs of claim

 filed in these Chapter 11 Cases. I believe the Debtors’ selection of Prime Clerk to serve as their

 Claims and Noticing Agent has satisfied the Court’s Protocol for the Employment of Claims

 and Noticing Agents Under 28 U.S.C. § 156(c). Specifically, the Debtors have solicited and

 reviewed engagement proposals from at least two other Court-approved claims and noticing

 agents to ensure selection through a competitive process.

                     105. I believe that Prime Clerk’s rates are competitive and reasonable given

 Prime Clerk’s quality of services and expertise. The terms of Prime Clerk’s retention are set

 forth in the Engagement Agreement attached to, and filed contemporaneously therewith, the

 Claims and Noticing Agent Retention Application. Appointing Prime Clerk as their Claims and

 Noticing Agent will maximize the efficiency of the distribution of notices and the processing of

 claims, as well as relieve the Office of the Clerk of the Bankruptcy Court of the administrative

 burden of processing an overwhelming number of claims.



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                                                 VII.
                               Information Required by Local Rule 1007-2

                     106. In accordance with Local Rule 1007-2, the schedules attached hereto

 provide certain information related to the Debtors.

                     107. Pursuant to Local Rule 1007-2(a)(3), Schedule 1 hereto lists the names

 and addresses of the members of, and attorneys for, any committee organized prior to the

 Commencement Date and a brief description of the circumstances surrounding the formation of

 the committee and the date of its formation.

                     108. Pursuant to Local Rule 1007-2(a)(4), Schedule 2 hereto lists the holders of

 the Debtors’ forty (40) largest unsecured claims on a consolidated basis, excluding claims of

 insiders.

                     109. Pursuant to Local Rule 1007-2(a)(5), Schedule 3 hereto lists the holders of

 the four (4) largest secured claims against the Debtors on a consolidated basis.

                     110. Pursuant to Local Rule 1007-2(a)(6), Schedule 4 hereto provides a

 summary of the (unaudited) consolidated assets and liabilities for the Debtors and their non-

 Debtor affiliates.

                     111. Pursuant to Local Rule 1007-2(a)(7), Schedule 5 hereto provides the

 following information: the number and classes of shares of stock, debentures, and other

 securities of the Debtors that are publicly held and the number of record holders thereof; and the

 number and classes of shares of stock, debentures, and other securities of the Debtors that are

 held by the Debtors’ directors and officers, and the amounts so held.

                     112. Pursuant to Local Rule 1007-2(a)(8), Schedule 6 hereto provides a list of

 all of the Debtors’ property in the possession or custody of any custodian, public officer,

 mortgagee, pledgee, assignee of rents, secured creditor, or agent for any such entity, giving the



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 name, address, and telephone number of each such entity and the location of the court in which

 any proceeding relating thereto is pending.

                     113. Pursuant to Local Rule 1007-2(a)(9), Schedule 7 hereto provides a list of

 the premises owned, leased, or held under other arrangement from which the Debtors operate

 their businesses.

                     114. Pursuant to Local Rule 1007-2(a)(10), Schedule 8 hereto provides the

 location of the Debtors’ substantial assets, the location of their books and records, and the

 nature, location, and value of any assets held by the Debtors outside the territorial limits of the

 United States.

                     115. Pursuant to Local Rule 1007-2(a)(11), Schedule 9 hereto provides a list of

 the nature and present status of each action or proceeding, pending or threatened, against the

 Debtors or their property where a judgment against the Debtors or a seizure of their property

 may be imminent.

                     116. Pursuant to Local Rule 1007-2(a)(12), Schedule 10 hereto provides a list

 of the names of the individuals who comprise the Debtors’ existing senior management, their

 tenure with the Debtors, and a brief summary of their relevant responsibilities and experience.

                     117. Pursuant to Local Rule 1007-2(b)(1)-(2)(A), Schedule 11 hereto provides

 the estimated amount of weekly payroll to the Debtors’ employees (not including officers,

 directors, stockholders, and partners) and the estimated amount to be paid to officers,

 stockholders, directors, members of any partnerships, and financial and business consultants

 retained by the Debtors for the thirty (30) day period following the filing of the Debtors’

 Chapter 11 Cases as the Debtors intend to continue to operate their businesses.




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                     118. Pursuant to Local Rule 1007-2(b)(3), Schedule 12 hereto provides, for the

 thirty (30) day period following the filing of the Chapter 11 Cases, a list of estimated cash

 receipts and disbursements, net cash gain or loss, obligations, and receivables expected to

 accrue that remain unpaid, other than professional fees.

                                              Conclusion

                     119. This declaration illustrates the factors that have precipitated the

 commencement of these Chapter 11 Cases and the Debtors’ critical need of the protections and

 tools provided to debtors under chapter 11.




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                    I declare under penalty of perjury that, to the best of my knowledge and after

reasonable inquiry, the foregoing is true and correct.


Executed this 15th day of October, 2018



                                                              /s/ Robert A. Riecker
                                                              Robert A. Riecker
                                                              Chief Financial Officer
                                                              Sears Holdings Corporation and
                                                              its Affiliated Debtors




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                                                     Exhibit A

                                 Capital and Corporate Organization Structure Chart




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                  1L Credit Agreement               Outstanding     ESL %               Collateral                            Real Estate Loan          Outstanding     ESL %                  Collateral
              1L RCF                                 $836.0mm           -               18-23538-rdd              DocNote3A (Cascade)
                                                                                                                              Filed 10/15/18$108.1mm
                                                                                                                                                 Entered- 10/15/18 06:31:05                                                 Main Document
              RCF Letters of Credit                  $123.8mm           -     · credit card receivables              Note B (JPP)           Pg 70 of 100%
                                                                                                                                            $723.3mm   173 88 properties
                                                                              · pharmacy assets
              2013 1L Term Loan (“A”)                  $0mm             -                                               TOTAL                            $831.4mm         87%
                                                                              · inventory
              2016 1L Term Loan (“B”)                $570.8mm           -     · cash
              FILO Term Loan                         $125.0mm        56%                                                 Sparrow (former REMIC)         Outstanding     ESL %                  Collateral                                            Unsecured Notes                Outstanding     ESL %                 Collateral
              TOTAL                                  $1,656mm           4%                                              2018 Term Loan (UBS)             $111.0mm          -          138 properties                                          8.00% PIK Toggle Notes                 $222.6mm        88%
                                                                                                                                                                                                                                                                                                               [unsecured]
                                                                                                                                                                                                                                              8.00% Notes                            $411.0mm          -
                     Standalone L/C                 Outstanding     ESL %               Collateral                           Sparrow Mezzanine          Outstanding     ESL %                  Collateral                                     TOTAL                                  $633.6mm        31%
              1.5L L/C Facility                      $271.1mm        39%      substantially same as 1L                  Mezzanine Term Loan              $513.2mm         100%        equity of SRC O.P. LLC
                                                                                                                                                                                                                                                       SRAC Notes                   Outstanding     ESL %                 Collateral
                  2L Credit Agreement               Outstanding     ESL %               Collateral                            IP / Ground Lease         Outstanding     ESL %                  Collateral                                     SRAC Unsecured PIK Notes               $107.9mm          -
                                                                                                                                                                                                                                                                                                               [unsecured]
              2L PIK Term Loan                       $317.1mm        99%      substantially same as 1L;                 IP / Ground Lease Term Loan      $231.2mm         66%         non-KCD IP; ground leases                               SRAC Unsecured Notes                   $185.6mm          -
              2L Line of Credit Loans                $570.0mm        89%      no pharmacy assets or cash                                                                                                                                      TOTAL                                  $293.5mm          -
              TOTAL                                  $887.1mm        92%
                                                                                                                                                                                                                                               SRAC Intercompany Notes              Outstanding     ESL %                 Collateral
                        2L Notes                    Outstanding     ESL %               Collateral                                                    Sears Holdings Corporation                                                              SRAC Medium Term Notes                 $2,312mm          -       [unsecured]
              6.625% 2L PIK Toggle Notes             $175.4mm        12%      substantially same as 1L;                                                     (“HoldCo”) (DE)
              6.625% 2L Notes                        $89.0mm            -     no pharmacy assets or cash                                                                                                                                                KCD Notes                   Outstanding     ESL %                 Collateral
              TOTAL                                  $264.4mm           8%                                                                        G G G G                         G G                                                         KCD Asset-Backed Notes                 $900mm            -       IP (Kenmore®; DieHard®)




 Kmart Operations LLC              Sears Operations LLC                                  Kmart Holding Corporation                                                              Sears, Roebuck and Co.                                 Other Direct HoldCo Subs                         ServiceLive, Inc. (DE)                     SRe Holding Corporation
         (DE)                              (DE)                                                    (DE)                                                                            (“Roebuck”) (NY)                                                                                                                                         (DE)

G G G G G                         G G G G G                                              G G G                   G G                                                           G G G             G G G G




                                                                                                          20%    80%
                                                                                                                                                                                                                                                                                                                                         Sears Reinsurance
                                                                                                     Sears Holdings                                                    Innovel Solutions, Inc.                 Sears Development Co.                   Sears Roebuck Acceptance
  Kmart Corporation                                                                                                                        MaxServ, Inc.                                                                                                                                          SRC Sparrow 1 LLC                        Company Ltd.
                                                                                                 Management Corporation                                                                                                                                   Corp. (“SRAC”) (DE)                                                          (“Sears Re”) (Bermuda)
   (“Kmart”) (MI)                                                                                                                             (DE)                              (DE)                                   (DE)                                                                             (DE)
                                                                                                          (DE)
                                                                                                                                                                                                                                                                                                                                   HOLDER                 HOLDER
G G                                                                                              G G G                 G G                                                                                 G                                            G

                                                                                                                                                                                                                                                                                                                                           Other Sub Guarantors
                                                                                                                                                                                                                                                                                                                                       1 Private Brands, Ltd. (DE);
                                                                                                                                                                                                                                                             Sears, Roebuck                       SRC Sparrow 2 LLC                    A&E Factory Services, LLC
                                                                                                                                                                                                                                                         de Puerto Rico, Inc. (DE)                      (DE)                           (DE); A&E Home Delivery,
                                                    Sears Brands Business                                                                                                                                                                                                                                                              LLC (DE); A&E Lawn &
                                                                                                                                                                                                                                                        G G G G G                                                                      Garden, LLC (DE); A&E
                                                     Unit Corporation (IL)
                                                                                                                                                                                                                                                                                                                                       Signature Service, LLC (DE)
                                                G                                                                                                                                                                                                                                                                                      2 Florida Builder
                                                                                                                                                                                                                                                                                                    SRC O.P. LLC                       Appliances, Inc (DE);
                                                                                                                                                                                                                                                                                                                                       Starwest, LLC (DE);
                                                                                                                                                                                                                                                                                                        (DE)                           California Builder
                                                                                                                                                                                                                                                                                                                                       Appliances, Inc. (DE);
                                                                                                     Sears Home Improvement       Sears Protection Company            FBA Holdings, Inc.               Other Roebuck Sub Guarantors1                        Other Roebuck Subs                                                         SOE, Inc. (DE)
                                                                                                        Products, Inc. (PA)                  (IL)                           (DE)
                                   Sears Brands, L.L.C.           Sears Buying Services, Inc.                                                                                                                                                                                                                                          3 KLC, Inc. (TX);
                                           (IL)                              (DE)                    G G G G G                    G G G G          G HOLDER      G G G G                               G G G G G                                                                                                                       Kmart.com LLC (DE); Kmart
                                                                                                                                                                                                                                                                                                  SRC Facilities LLC                   Stores of Texas LLC (TX);
                              G                                                                                                                                                                                                                                                                         (DE)                           Kmart of Michigan, Inc.
                                                                                                                                                                                                                                                                                                                                       (MI); MyGofer LLC (DE)
                                                                                                                                                                                                         Other Roebuck Debtor Subs                   Sears Procurement Services, Inc.
                                                                                                                                  Sears Protection Company          Other FBA Sub Guarantors2                                                                     (IL)                                                                 Note: KBL Holding Inc.
                                       KCD IP, LLC                Sears Brands Management                                             (Florida) LLC (FL)                                               Sears Home & Business Franchises, Inc. (DE)
                                                                                                                                                                                                                                                                                                                                       (DE) and BlueLight.com,
                                                                                                                                                                                                         Sears Protection Company (PR) Inc. (PR)
                                          (DE)                        Corporation (DE)                                                                           G G G G G                                        SYW Relay LLC (DE)                                                                                                   Inc. (DE) are intermediate
                                                                                                                                  G G G G          G HOLDER                                                Sears Insurance Services, L.L.C. (IL)        Sears Holdings Publishing                                                      parents of Kmart.com LLC
                                                                                                                                                                                                                   Wally Labs LLC (DE)
                                                                                                                                                                                                                                                                                              SRC Real Estate (TX) LLC
                                                                  G G G G G                                                                                                                                                                                Company, LLC (IL)                                                           (DE).
                                    PBGC Springing Lien                                                                                                                                                                                                                                                (DE)

                                                                                                                                                                                                                                                                                                                                 Legend
                                                                                                                                                                                                                                                                                                      Each entity shaded in a solid color is a borrower under the
                                                                                                                                                                                                                                                                                                      corresponding debt facility at the top of this page.

        Kmart of Washington LLC                   Kmart of Stores                    Troy Coolidge                SHC Desert Springs              Big Beaver of Florida              STI Merchandising, Inc.                                                                                          Each entity featuring a [G] shaded in a particular color is a
                                                                                                                                                                                                                            Other Kmart Sub Guarantors3                    Other Kmart Subs
                                                 of Illinois LLC (IL)                                                 LLC (DE)                    Development LLC (FL)                        (MI)                                                                                                    guarantor under the corresponding debt facility at the top of
                  (WA)                                                               No. 13 LLC (MI)
                                                                                                                                                                                                                                                                                                      this page.
                                                                                                                                                                                 G                                         G G G G G
        G G                                  G G                                                                                                                                                                                                                                                       G - guarantor of SRAC Unsecured PIK Notes only
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                                              Schedule 1

                                              Committees

           Pursuant to Local Rule 1007-2(a)(3), to the best of the Debtors’ knowledge and
   belief, no committee has been organized prior to the Commencement Date.




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                                                                            Schedule 2

                                   Consolidated List of 20 Largest Unsecured Claims (Excluding Insiders)1

               Pursuant to Local Rule 1007-2(a)(4), the following is a list of creditors holding, as of October 13, 2018, the twenty (20)
largest, unsecured claims against the Debtors, on a consolidated basis, excluding claims of insiders as defined in 11 U.S.C. § 101.


                                             Complete mailing address, telephone                                                            Contingent,
                                               number, and name of employee,                                                               Unliquidated,
                                                                                                   Nature of          Amount of
     No.               Creditor               agent, or department of creditor                                                              Disputed, or
                                                                                                    claim              claim
                                               familiar with claim who may be                                                             Partially Secured
                                                          contacted
              THE PENSION                   Office of the Chief Counsel
              BENEFIT                       Attn: Chief Counsel
     1.                                                                                             Pension
              GUARANTY                      1200 K Street, N.W., Suite 300,                                             Unknown              Unliquidated
                                                                                                    Benefits
              CORPORATION                   Washington DC 20005
              (PUBGC)                       Telephone: (202) 326-4110
                                            BNY Midwest Trust Company
                                            Attn: The Bank of New York
     2.       SRAC MEDIUM                   101 Barclay St., Floor 8W                              Unsecured
                                                                                                                     $3,211,800,00
              TERM NOTES                    New York, New York 10286                                Notes
                                            Telephone: (312) 294-5200
                                            Facsimile: (781) 575-4210
                                            ComputerShare Trust Company, N.A.
              HOLDINGS                      250 Royal Street
     3.                                                                                            Unsecured
              UNSECURED NOTES               Canton, MA 02021                                                          $411,000,000
                                                                                                    Notes
              (8.00%)                       Telephone: (781) 575-4210
                                            Facsimile: (781) 575-4210




1
  The information herein shall not constitute an admission of liability by, nor is it binding on, the Debtors. All claims are subject to customary offsets, rebates,
discounts, reconciliations, credits, and adjustments, which are not reflected on this Schedule.



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                                       Complete mailing address, telephone                                  Contingent,
                                         number, and name of employee,                                     Unliquidated,
                                                                             Nature of     Amount of
     No.               Creditor         agent, or department of creditor                                    Disputed, or
                                                                              claim         claim
                                         familiar with claim who may be                                   Partially Secured
                                                    contacted
                                       ComputerShare Trust Company, N.A.
              HOLDINGS
     4.                                250 Royal Street                      Unsecured
              UNSECURED PIK                                                                $222,600,000
                                       Canton, MA 02021                       Notes
              NOTES (8.00%)
                                       Telephone: (781) 575-4210
                                       The Chase Manhattan Bank, N.A.
                                       Attn: Corporate Trust
     5.       SRAC UNSECURED                                                 Unsecured
                                       4 Chase MetroTech Center, 3d Fl.                    $185,600,000
              NOTES                                                           Notes
                                       Brooklyn, NY 11245
                                       Telephone: (718) 242-0609
                                       BNY Midwest Trust Company
                                       Attn: The Bank of New York
     6.       SRAC UNSECURED                                                 Unsecured
                                       101 Barclay St., Floor 8W                           $107,900,000
              PIK NOTES                                                       Notes
                                       New York, NY
                                       Telephone: (312) 294-5200
                                       Attn: President or General Counsel
                                       2000 North M-63
     7.       WHIRLPOOL
                                       Benton Harbor, MI 49022               Trade Debt    $23,409,729
              CORPORATION
                                       Telephone: (269) 923-5000
                                       Facsimile: (269) 923-3722
                                       Electrolux
                                       Attn: President or General Counsel
     8.       FRIGIDAIRE
                                       703 Waterford Way, Suite 300          Trade Debt    $18,617,186
              COMPANY
                                       Carol Stream, IL 60132
                                       Telephone: (786) 388 6400
                                       Attn: President or General Counsel
              WINIA DAEWOO
     9.                                65 Challenger Road, Suite 360
              ELECTRONICS                                                    Trade Debt    $15,180,156
                                       Ridgefield Park, NJ 07660
              AMERICA
                                       Telephone: (877) 393-7823




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                                       Complete mailing address, telephone                                 Contingent,
                                         number, and name of employee,                                    Unliquidated,
                                                                             Nature of     Amount of
     No.               Creditor         agent, or department of creditor                                   Disputed, or
                                                                              claim         claim
                                         familiar with claim who may be                                  Partially Secured
                                                    contacted
                                       Attn: President or General Counsel
     10.                               7000 Cardinal Place
              CARDINAL HEALTH                                                Trade Debt    $13,877,913
                                       Dublin, OH 43017
                                       Telephone: (614) 757-5000
                                       Attn: President or General Counsel
                                       P.O. Box 99661
     11.      ICON HEALTH AND          1500 South 1000 West
                                                                             Trade Debt    $12,102,200
              FITNESS INC.             Chicago, IL 60690
                                       Telephone: (877) 993-7999
                                       Facsimile: (435) 750-5328
                                       Attn: President or General Counsel
                                       Rm 35, 4/F., Po Yip Building
     12.      HK GREATSTAR             23 Hing Yip Street, Kwun Tong
                                                                             Trade Debt    $10,354,683
              INT’L CO. LTD.           Kowloon, Hong Kong
                                       Telephone: 852 2110 4002
                                       Facsimile: 852 3585 6687
                                       Attn: President or General Counsel
              SAMSUNG                  85 Challenger Road, 7th Floor
     13.      ELECTRONICS              Ridgefield Park, NJ 07660             Trade Debt    $8,054,247
              AMERICA HA               Telephone: (201) 229-4000
                                       Facsimile: (201) 229-4029
                                       Attn: President or General Counsel
              APEX TOOL                910 Ridgebrook Road, Suite 200
     14.      INTERNATIONAL            Sparks, MD 21152                      Trade Debt    $6,605,582
              LLC                      Telephone: (410) 773-7800
                                       Facsimile: (800) 234-0472




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                                       Complete mailing address, telephone                                 Contingent,
                                         number, and name of employee,                                    Unliquidated,
                                                                               Nature of    Amount of
     No.               Creditor         agent, or department of creditor                                   Disputed, or
                                                                                claim        claim
                                         familiar with claim who may be                                  Partially Secured
                                                    contacted
                                       Stanley Black & Decker
                                       Attn: President or General Counsel
     15.      BLACK & DECKER           701 East Joppa Road
                                                                               Trade Debt   $5,893,734
              US INC.                  Baltimore, MD 21286
                                       Telephone: (410) 716 3900
                                       Facsimile: (410) 716 7966
                                       Attn: President or General Counsel
                                       Unit F10/F, King Win FTY Building
     16.      EASTERN PRIME            No. 65-67 King Yip Street
                                                                               Trade Debt   $5,761,992
              TEXTILE LIMITED          Kwun Tong, Kowloon, Hong Kong
                                       Telephone: 852 2191 8293
                                       Facsimile: 852 2793 9353
                                       Attn: President or General Counsel
                                       Unit A, Wah Lung Building
     17.      WINNERS INDUSTRY         49-53 Wang Lung Street
                                                                               Trade Debt   $5,359,201
              COMPANY LIMITED          Tsuen Wan, New Territories, Hong Kong
                                       Telephone: 86 769 8321 3199
                                       Facsimile: 86 769 83213177
                                       Attn: President or General Counsel
              TATA                     379 Thornal Street, 4th Floor
     18.      CONSULTANCY              Edison, NJ 08837                        Trade Debt   $5,333,545
              SERVICES LTD.            Telephone: 91 (226) 778-9595
                                       Facsimile: 91 (226) 778-9660
                                       Attn: President or General Counsel
                                       1 Blue Hill Plaza
     19.      ACTIVE MEDIA
                                       Pearl River, NY 10965                   Trade Debt   $5,192,874
              SERVICES INC.
                                       Telephone: (845) 735-1700
                                       Facsimile: (845) 735-0717




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                                       Complete mailing address, telephone                                Contingent,
                                         number, and name of employee,                                   Unliquidated,
                                                                             Nature of     Amount of
     No.               Creditor         agent, or department of creditor                                  Disputed, or
                                                                              claim         claim
                                         familiar with claim who may be                                 Partially Secured
                                                    contacted
                                       Attn: President or General Counsel
                                       P.O Box 4375
     20.      AUTOMOTIVE               4001 Laedenhall Road
                                                                             Trade Debt    $4,830,313
              RENTALS INC.             Philadelphia, PA 19178
                                       Telephone: (856) 778-1500
                                       Facsimile: (856) 231) 9106




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                                                      Schedule 3

                    Consolidated List of Holders of Five Largest Secured Claims

                  Pursuant to Local Rule 1007-2(a)(5), to the best of the Debtors’
   knowledge, belief, and understanding, the following chart lists the holders, as of the
   Commencement Date, of the five (5) largest secured, non-contingent claims against the
   Debtors, on a consolidated basis.

                                                        Amount of       Type of      Estimated Value of
   No.        Holder              Mailing Address
                                                          Claim        Collateral        Collateral
          First Lien             Bank of America,      $836,000,000   Credit Card         Unknown
          Revolving              N.A.                                 Receivables,
          Credit                 Attn: General                         Pharmacy
          Agreement              Counsel                              Receivables,
          (Bank of               100 North Tryon                       Inventory,
          America,               Street, Charlotte,                   Prescription
          N.A. and               NC 28255                                 Lists,
          Wells Fargo                                                    Deposit
    1.    Bank,                  Wells Fargo,                          Accounts,
          National               National                               and Cash
          Association)           Association
                                 Attn: General
                                 Counsel
                                 420 Montgomery
                                 Street, San
                                 Francisco, CA
                                 94104
          Consolidated           C/O ESL               $723,300,000   Real Estate        Unknown
          Secured Note           Investments, Inc.
          B (held by             Attn: Edward S.
          JPP, LLC and           Lampert, CEO
    2.
          JPP, II L.L.C.         1170 Kane
                                 Concourse, Suite
                                 200 Bay Harbor
                                 Islands, FL 33154




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                                                       Amount of       Type of      Estimated Value of
   No.        Holder              Mailing Address
                                                         Claim        Collateral        Collateral
          2016 First             Bank of America,     $570,800,000   Credit Card         Unknown
          Lien Term              N.A.                                Receivables,
          Loan (“B”)             Attn: General                        Pharmacy
          (Bank of               Counsel                             Receivables,
          America,               100 North Tryon                      Inventory,
          N.A. and               Street, Charlotte,                  Prescription
          Wells Fargo            NC 28255                                Lists,
          Bank,                                                         Deposit
    3.    National               Wells Fargo,                         Accounts,
          Association)           National                              and Cash
                                 Association
                                 Attn: General
                                 Counsel
                                 420 Montgomery
                                 Street, San
                                 Francisco, CA
                                 94104
          Second Lien            C/O ESL              $570,000,000   Credit Card        Unknown
          Line of Credit         Investments, Inc.                   Receivables
          Loans (JPP,            Attn: Edward S.                         and
          LLC as                 Lampert, CEO                         Inventory
    4.
          administrative         1170 Kane
          agent)                 Concourse, Suite
                                 200 Bay Harbor
                                 Islands, FL 33154
          Second Lien            Computershare        $317,100,000   Credit Card        Unknown
          PIK Term               Trust Company                       Receivables
          Loan (6 5/8%           N.A.                                    and
          Senior                 P.O. Box 43078                       Inventory
    5.    Secured                Providence, RI
          Convertible
          PIK Toggle
                                 02940
          Notes Due
          2019)




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                                            Schedule 4

         Sears Holding Company - Condensed Consolidated Balance Sheet (Unaudited)
                                   As of August 4, 2018




  General Note: The Consolidated Balance Sheet is unaudited, subject to change and includes
 certain items that remain under review by the Company and may be accounted for differently in
                                         future reports.



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                                                 Schedule 5

                                         Publicly Held Securities

                Pursuant to Local Rule 1007-2(a)(7), the following lists the number and classes of
shares of stock, debentures, and other securities of the Debtors that are publicly held
(“Securities”) and the number of holders thereof. The Securities held by the Debtors’ directors
and officers are listed separately.


                                       Public Securities of Debtors


                                                                 Approximate
Type of Security               Approximate Number                 Number of                      As of
                                                                Record Holders
Common Stock of
 Sears Holding                  108,992,750 shares                    9,502               September 7, 2018
  Corporation


                   Public Securities Held by the Debtors’ Non-Employee Directors1

Name of Non-Employee                Entity
                                                     Approximate Number                       As of
      Director

                                Sears Holdings         3,407,614 shares of
                                 Corporation             Common Stock
      Thomas J. Tisch                                   469,599 warrants                 March 14, 2018
                                                     exercisable for shares in
                                                         Common Stock

                                                         30,383 shares of
                                                         Common Stock
                                Sears Holdings
    William C. Kunkler                                   5,103 warrants                  March 14 2018
                                 Corporation
                                                     exercisable for shares in
                                                         Common Stock

                                                         12,285 shares of
                                                         Common Stock
                                Sears Holdings
       Ann N. Reese                                      2,059 warrants                  March 14 2018
                                 Corporation
                                                     exercisable for shares in
                                                         Common Stock


1
  The following information has been provided with respect to Debtor Sears Holding Corporation. Certain officers
or directors may, directly or indirectly, also hold securities of other debtor affiliates as well.



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                                                         3,104 shares of Common
                                                                  Stock
                                    Sears Holdings
        Paul DePodesta                                   545 warrants exercisable        March 14 2018
                                     Corporation
                                                          for shares in Common
                                                                  Stock

                                    Sears Holdings          500 shares of Common
        Kunal Kamlani                                                                      May 9, 2018
                                     Corporation                    Stock



        Public Securities Held by the Debtors’ Executive Officers and Employee Directors

Name of Executive Officer/
                                                 Approximate Number3                         As of
  Employee Director2

                                       53,867,874 shares of Common Stock
         Edward Lampart                 10,033,472 warrants exercisable for             October 5, 2018
                                             shares in Common Stock

          Leena Munjal                    6,220 shares of Common Stock                  March 14 2018

        Robert J. Naedele                 3,494 shares of Common Stock                  March 14 2018

     Perry (Dean) Schwartz                1,974 shares of Common Stock                  March 14 2018

         Stephen L Sitley                 1,093 shares of Common Stock                September 28, 2018

       Michael V. Morrie                       710 shares of Common Stock              October 10, 2018

       Terrence E. Rolecek                     653 shares of Common Stock              October 10, 2018

      Laurence M. Jenchel                      616 shares of Common Stock              October 10, 2018

      Frank M. Kruszewski                      452 shares of Common Stock             September 28, 2018

         John L. Lorenz                        325 shares of Common Stock              October 10, 2018

     David A. Shellenberger                    244 shares of Common Stock              October 10, 2018

           Jane Borden                         212 shares of Common Stock             September 28, 2018

        Robert A. Riecker                      195 shares of Common Stock             September 28, 2018


2
    Total shares includes indirect holdings.
3
  Where an Executive Officer or Employee Director owns a fraction of a share, such fraction shall be rounded down
to the nearest whole number.


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     David L. Acquaviva              156 shares of Common Stock           October 10, 2018

         Alfred Smith                153 shares of Common Stock           October 10, 2018

        Laura A. Novak               125 shares of Common Stock           October 10, 2018

       Howard Raphael                123 shares of Common Stock           October 10, 2018

         Justin S. Kurt              114 shares of Common Stock           October 10, 2018

      Tyrone L. Schiele              103 shares of Common Stock           October 10, 2018

     Michael J. Brotnow              71 shares of Common Stock            October 10, 2018

        Anne M. Hand                 47 shares of Common Stock            October 10, 2018

          Paul Paluch                28 shares of Common Stock            October 10, 2018

       Carol R. Ricchio              24 shares of Common Stock            October 10, 2018

         Charles Smith               21 shares of Common Stock        September 28, 2018

       Donald C. Munn                19 shares of Common Stock            October 10, 2018

        Robert F. Baker              10 shares of Common Stock            October 10, 2018

        Robert Gerlach                3 shares of Common Stock            October 10, 2018

         Lori K. Miller               1 share of Common Stock         September 28, 2018




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                                              Schedule 6

                            Debtors’ Property Not in the Debtors’ Possession

                   Local Rule 1007-2(a)(8) requires the Debtors to list property that is in the
   possession or custody of any custodian, public officer, mortgagee, pledgee, assignee of
   rents, secured creditor, or agent for any such entity.

                  In the ordinary course of business, on any given day, property of the
   Debtors (including merchandise, inventory, security deposits or other collateral with
   counterparties to certain commercial relationships) is likely to be in the possession of
   various third parties, including, vendors, shippers, common carriers, materialmen,
   distributors, warehousemen, fulfillment houses, service providers, custodians, public
   officers or agents, where the Debtors’ ownership interest is not affected. Because of the
   constant movement of this property, providing a comprehensive list of the persons or
   entities in possession of the property, their addresses and telephone numbers, and the
   location of any court proceeding affecting the property would be impractical.




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                                                  Schedule 7

             Pursuant to Local Rule 1007-2(a)(9), the following lists the property or premises
owned, leased, or held under other arrangement 1 from which the Debtors operate their
businesses.

                                                                                             Zip
              Debtor                   Street Address                City          State              Country
                                                                                             Code
California Builders                                                                                   United
Appliances, Inc                    310 Carolina Street       San Francisco         CA       94103     States
California Builders                52 Winchester Blvd;                                                United
Appliances, Inc                    Suite A                   Santa Clara           CA       95050     States
                                   9025 S Kyrene Rd                                                   United
Fba Holdings, Inc.                 (Suites 101-105)          Tempe                 AZ       85284     States
                                                             Tempe -                                  United
Fba Holdings, Inc.                 9025 S Kyrene Rd          Showroom              AZ       85284     States
                                   11340 White Rock                                                   United
Fba Holdings, Inc.                 Road                      Rancho Cordova        CA       95742     States
                                   6085 State Farm                                                    United
Fba Holdings, Inc.                 Drive                     Rohnert Park          CA       94928     States
                                                             San Rafael -                             United
                                   530 W Francisco           Mcphails                                 States
Fba Holdings, Inc.                 Blvd                      Showroom              CA       94901
                                                                                                      United
Fba Holdings, Inc.                 3139 N Andrews Ave        Pompano Beach         FL       33064     States
                                   7370 S Dean Martin        Las Vegas -                              United
Fba Holdings, Inc.                 Drive Suite 401           Showroom              NV       89139     States
                                   7525 Colbert Dr Ste       Reno - Mcphails                          United
Fba Holdings, Inc.                 108                       Showroom              NV       89511     States
                                   30803 Santana                                                      United
Fba Holdings, Inc.                 Street                    Hayward               CA       94544     States
Florida Builder Appliances,        27180 Bay Landing         Bonita Springs                           United
Inc., D/B/A Monark                 Dr                        Showroom              FL       34135     States
Florida Builder Appliances,                                  Miami -                                  United
Inc., D/B/A Monark                 6300 S Dixie Hwy          Showroom              FL       33143     States
Florida Builder Appliances,                                                                           United
Inc., D/B/A Monark                 5670 Fruitville Rd        Sarasota              FL       34232     States
Florida Builder Appliances,        400 Northpoint Pkwy       West Palm Bch -                          United
Inc., D/B/A Monark                 Ste403                    Showroom              FL       33407     States
Florida Builder Appliances,                                                                           United
Inc., D/B/A Monark                 500 S. Park Avenue        Winter Park           FL       32789     States
                                   5921 Midway Park                                                   United
Innovel Solutions, Inc.            Blvd Ne                   Albuquerque           NM       87109     States


1
  Any classification of the contractual agreements listed herein as real property leases or property held by other
arrangements is not binding upon the Debtors. The following list is based on the Debtors’ good faith and best
efforts as of the Commencement Date. To the extent the Debtors inadvertently included or failed to include a
property on this schedule, the Debtors reserve the right to amend the schedule accordingly.



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Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   262 Oxmoor Court       Birmingham     AL   35209   States
Innovel Solutions, Inc., F/K/A   1900 W 65th St-Ste                                 United
Sears Logistics Services, Inc.   10                     Little Rock    AR   72209   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   844 N 44th Ave Ste 2   Phoenix        AZ   85043   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   521 Stone Rd           Benicia        CA   94510   States
Innovel Solutions, Inc., F/K/A   3688 E. Central                                    United
Sears Logistics Services, Inc.   Avenue                 Fresno         CA   93725   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   1021 Cadillac Ct       Milpitas       CA   95035   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   3355 Dulles Drive      Mira Loma      CA   91752   States
Innovel Solutions, Inc., F/K/A   5691 E Philadelphia;                               United
Sears Logistics Services, Inc.   Ste 100                Ontario        CA   91761   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   1200 Blumenfeld Dr     Sacramento     CA   95815   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   960 Sherman St         San Diego      CA   92110   States
Innovel Solutions, Inc., F/K/A   500 W Warner Ave                                   United
Sears Logistics Services, Inc.   #28                    Santa Ana      CA   92707   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   2115 Sinclair Avenue   Stockton       CA   95215   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   14090 Balboa Blvd      Sylmar         CA   91342   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   18875 Bromley Lane     Brighton       CO   80601   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   65 Holmes Rd           Newington      CT   06111   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   All South Delivery     Ft Pierce      FL   34982   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   1 Imeson Park Blvd     Jacksonville   FL   32218   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   2969 Faye Road         Jacksonville   FL   32226   States
Innovel Solutions, Inc., F/K/A   5041 W Silver                                      United
Sears Logistics Services, Inc.   Springs Blvd           Ocala          FL   34482   States
Innovel Solutions, Inc., F/K/A   900 International                                  United
Sears Logistics Services, Inc.   Parkway                Sunrise        FL   33325   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   8640 Elm Fair Blvd     Tampa          FL   33610   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   3825 Forsyth Rd        Winter Park    FL   32792   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   580 Raco Parkway       Pendergrass    GA   30567   States




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Innovel Solutions, Inc., F/K/A   3 Patton Rd; Ste 150                               United
Sears Logistics Services, Inc.   Bldg G                 Savannah       GA   31405   States
Innovel Solutions, Inc., F/K/A   2301 Mt Industrial                                 United
Sears Logistics Services, Inc.   Blvd                   Tucker         GA   30084   States
Innovel Solutions, Inc., F/K/A   98-600 Kamehameha                                  United
Sears Logistics Services, Inc.   Hwy                    Pearl City     HI   96782   States
Innovel Solutions, Inc., F/K/A   3 Quest Dirve Units                                United
Sears Logistics Services, Inc.   301-302                Bloomington    IL   61705   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   117 Industrial Dr      Granite City   IL   62040   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   1600 N Boudreau Rd     Manteno        IL   60950   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   8374 N 4000 East Rd    Manteno        IL   60950   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   2065 George St         Melrose Park   IL   60160   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   1835 Ferry Rd          Naperville     IL   60563   States
Innovel Solutions, Inc., F/K/A   1701 W Normantown                                  United
Sears Logistics Services, Inc.   Road                   Romeoville     IL   60446   States
Innovel Solutions, Inc., F/K/A   1801 W. Normantown                                 United
Sears Logistics Services, Inc.   Road                   Romeoville     IL   60446   States
Innovel Solutions, Inc., F/K/A   5160 W 81st St -                                   United
Sears Logistics Services, Inc.   West Dock              Indianapolis   IN   46268   States
Innovel Solutions, Inc., F/K/A   2940 S Minneapolis                                 United
Sears Logistics Services, Inc.   Ave                    Wichita        KS   67216   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   3509 Bashford Ave      Louisville     KY   40218   States
Innovel Solutions, Inc., F/K/A   810 Hwy 30 West;                                   United
Sears Logistics Services, Inc.   Suite F                Gonzales       LA   70737   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   624 Elmwood Pkwy       Harahan        LA   70123   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   349 University Ave     Westwood       MA   02090   States
Innovel Solutions, Inc., F/K/A   8700 Robert Fulton                                 United
Sears Logistics Services, Inc.   Drive                  Columbia       MD   21046   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   12001 Sears Ave        Livonia        MI   48150   States
Innovel Solutions, Inc., F/K/A   3202 W. Sawyer                                     United
Sears Logistics Services, Inc.   Drive                  Saginaw        MI   48601   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   1172 147th Street      Wayland        MI   49348   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   2700 Winter St Ne      Minneapolis    MN   55413   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   761 Nw Parkway         Riverside      MO   64150   States




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Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   10425 Ridgewood Dr     Olive Branch   MS   38654   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   4800 A Sirus Ln        Charlotte      NC   28208   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   651a Brigham Rd        Greensboro     NC   27409   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   266 Route 125          Kingston       NH   03848   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   151 Maywood Ave        Maywood        NJ   07607   States
Innovel Solutions, Inc., F/K/A   1000 New County                                    United
Sears Logistics Services, Inc.   Road                   Secaucus       NJ   07094   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   279 Broadway           Menands        NY   12204   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   100 Mushroom Blvd      Rochester      NY   14623   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   225 Robbins Lane       Syosset        NY   11791   States
Innovel Solutions, Inc., F/K/A   4620 Hickley                                       United
Sears Logistics Services, Inc.   Industrial Pkwy        Cleveland      OH   44109   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   1621 Georgesville Rd   Columbus       OH   43228   States
Innovel Solutions, Inc., F/K/A   5330 Crosswind Dr;                                 United
Sears Logistics Services, Inc.   Ste A                  Columbus       OH   43228   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   4425 Salzman Road      Monroe         OH   45044   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   4725 Pacific Ave       Eugene         OR   97402   States
Innovel Solutions, Inc., F/K/A   15427 Ne Airport                                   United
Sears Logistics Services, Inc.   Way                    Portland       OR   97230   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   1820 Race Street       Allentown      PA   18109   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   100 First Avenue       Gouldsboro     PA   18424   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   400 First Avenue       Gouldsboro     PA   18424   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   2040 N Union St        Middletown     PA   17057   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   27 51st St             Pittsburgh     PA   15201   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   1235 S Harrisburg St   Steelton       PA   17111   States
Innovel Solutions, Inc., F/K/A                                                      United
Sears Logistics Services, Inc.   115 Haywood Rd         Greenville     SC   29607   States
Innovel Solutions, Inc., F/K/A   3831 Commercial                                    United
Sears Logistics Services, Inc.   Cneter Rd              Ladson         SC   29456   States




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Innovel Solutions, Inc., F/K/A                                                        United
Sears Logistics Services, Inc.   114 Sherlake Rd        Knoxville       TN   37922    States
Innovel Solutions, Inc., F/K/A   3952 Willow Lake                                     United
Sears Logistics Services, Inc.   Blvd; Bldg 5           Memphis         TN    38118   States
Innovel Solutions, Inc., F/K/A                                                        United
Sears Logistics Services, Inc.   1600 Roe St            Dallas          TX   75215    States
Innovel Solutions, Inc., F/K/A                                                        United
Sears Logistics Services, Inc.   39b Concord            El Paso         TX   79906    States
Innovel Solutions, Inc., F/K/A   615 Westport Pkwy;                                   United
Sears Logistics Services, Inc.   Ste 200                Grapevine       TX   76051    States
Innovel Solutions, Inc., F/K/A                                                        United
Sears Logistics Services, Inc.   5901 Griggs Rd         Houston         TX   77023    States
Innovel Solutions, Inc., F/K/A   828 New Meister                                      United
Sears Logistics Services, Inc.   Lane, Suite 100        Pflugersville   TX   78660    States
Innovel Solutions, Inc., F/K/A                                                        United
Sears Logistics Services, Inc.   1331 N Pine St         San Antonio     TX   78202    States
Innovel Solutions, Inc., F/K/A   713 Fenway Ave; Ste                                  United
Sears Logistics Services, Inc.   D                      Chesapeake      VA   23323    States
Innovel Solutions, Inc., F/K/A                                                        United
Sears Logistics Services, Inc.   45065 Old Ox Rd        Dulles          VA   20166    States
Innovel Solutions, Inc., F/K/A                                                        United
Sears Logistics Services, Inc.   4100 Tomlyn St         Richmond        VA   23230    States
Innovel Solutions, Inc., F/K/A   2302 West Valley                                     United
Sears Logistics Services, Inc.   Highway                Auburn          WA   98001    States
Innovel Solutions, Inc., F/K/A   21612 88th Ave                                       United
Sears Logistics Services, Inc.   South                  Kent            WA   98301    States
Innovel Solutions, Inc., F/K/A                                                        United
Sears Logistics Services, Inc.   7650 S 228th St        Kent            WA   98032    States
Innovel Solutions, Inc., F/K/A                                                        United
Sears Logistics Services, Inc.   10424 W Aero Rd        Spokane         WA   99224    States
Innovel Solutions, Inc., F/K/A                                                        United
Sears Logistics Services, Inc.   N 168 Apoltolic Rd     Vandenbroek     WI   54130    States
Innovel Solutions, Inc., F/K/A                                                        United
Sears Logistics Services, Inc.   4320 N. 124th Street   Wauwatosa       WI   53222    States
                                 7200 Us Highway                                      United
Kmart Corporation                431                    Albertville     AL   35950    States
                                 5980 Chalkville                                      United
Kmart Corporation                Mountain               Birmingham      AL   35235    States
                                 1525 Chestnut                                        United
Kmart Corporation                Bypass                 Centre          AL   35960    States
                                                                                      United
Kmart Corporation                2185 Reeves Street     Dothan          AL   36303    States
                                                                                      United
Kmart Corporation                901 Decatur Highway    Gardendale      AL   35071    States
                                 230 Green Springs                                    United
Kmart Corporation                Hwy                    Homewood        AL   35209    States




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                                 5451 Halls Mill Rd                                    United
Kmart Corporation                Ste 14                Mobile             AL   36619   States
                                                                                       United
Kmart Corporation                3401 Woodward Ave     Muscle Shoals      AL   35661   States
                                 803 Martin Street                                     United
Kmart Corporation                South                 Pell City          AL   35128   States
                                 2003 Us Hwy 280                                       United
Kmart Corporation                Bypass                Phenix City        AL   36867   States
                                                                                       United
Kmart Corporation                635 Skyland Blvd      Tuscaloosa         AL   35405   States
                                 2010 South Caraway                                    United
Kmart Corporation                Road                  Jonesboro          AR   72401   States
                                 10901 Rodney                                          United
Kmart Corporation                Parham                Little Rock        AR   72212   States
                                 1870 Mc Cullouch                                      United
Kmart Corporation                Blvd                  Lake Havasu City   AZ   86403   States
                                 300 West Mariposa                                     United
Kmart Corporation                Rd                    Nogales            AZ   85621   States
                                                                                       United
Kmart Corporation                7550 E. Highway #69   Prescott Valley    AZ   86314   States
                                 2250 S Hwy 95, Ste                                    United
Kmart Corporation                256                   Riviera            AZ   86442   States
                                                                                       United
Kmart Corporation                7055 E Broadway St    Tucson             AZ   85710   States
                                                                                       United
Kmart Corporation                2140 E Lincoln Ave    Anaheim            CA   92806   States
                                 20777 Bear Valley                                     United
Kmart Corporation                Road                  Apple Valley       CA   92308   States
                                                                                       United
Kmart Corporation                1570 W Branch St      Arroyo Grande      CA   93420   States
                                                                                       United
Kmart Corporation                3980 El Camino Real   Atascadero         CA   93422   States
                                                                                       United
Kmart Corporation                2505 Bell Rd          Auburn             CA   95603   States
                                                                                       United
Kmart Corporation                3600 Wilson Rd        Bakersfield        CA   93309   States
                                                                                       United
Kmart Corporation                1200 N Main St        Bishop             CA   93514   States
                                                                                       United
Kmart Corporation                1445 W Hobson         Blythe             CA   92225   States
                                 1000 San Fernando                                     United
Kmart Corporation                Road                  Burbank            CA   91504   States
                                                                                       United
Kmart Corporation                940 Arneill Rd        Camarillo          CA   93010   States
                                                                                       United
Kmart Corporation                500 Carson Town Ctr   Carson             CA   90745   States




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                                                                                    United
Kmart Corporation                2155 Pillsbury Rd      Chico          CA   95926   States
                                                                                    United
Kmart Corporation                1075 Shaw Ave          Clovis         CA   93612   States
                                                                                    United
Kmart Corporation                25 West Polk Street    Coalinga       CA   93210   States
                                                                                    United
Kmart Corporation                5100 Clayton Road      Concord        CA   94521   States
                                                                                    United
Kmart Corporation                2200 Harbor Blvd       Costa Mesa     CA   92627   States
                                 8017 South Atlantic                                United
Kmart Corporation                Ave                    Cudahy         CA   90201   States
                                                        Desert Hot                  United
Kmart Corporation                14011 Palm Drive       Springs        CA   92240   States
                                                                                    United
Kmart Corporation                1950 N Imperial Ave    El Centro      CA   92243   States
                                                                                    United
Kmart Corporation                4325 Broadway          Eureka         CA   95503   States
                                                                                    United
Kmart Corporation                17099 Valley Blvd      Fontana        CA   92335   States
                                 1702 Freedom                                       United
Kmart Corporation                Boulevard              Freedom        CA   95019   States
                                                                                    United
Kmart Corporation                6865 Hollister Ave     Goleta         CA   93117   States
                                 111 W Mc Knight                                    United
Kmart Corporation                Way                    Grass Valley   CA   95949   States
                                                                                    United
Kmart Corporation                26231 Mission Blvd     Hayward        CA   94544   States
                                                                                    United
Kmart Corporation                491 Tres Pinos Road    Hollister      CA   95023   States
                                                                                    United
Kmart Corporation                81691 Hwy 111          Indio          CA   92201   States
                                                                                    United
Kmart Corporation                333 Sierra             Kingsburg      CA   93631   States
                                                                                    United
Kmart Corporation                2019 South Main        Lakeport       CA   95453   States
                                 215 W                                              United
Kmart Corporation                Hanford/Armona Rd      Lemoore        CA   93245   States
                                                                                    United
Kmart Corporation                2900 Bellflower Blvd   Long Beach     CA   90815   States
                                                                                    United
Kmart Corporation                6310 W 3rd Street      Los Angeles    CA   90036   States
                                                                                    United
Kmart Corporation                3100 Milliken Ave      Mira Loma      CA   91752   States
                                                                                    United
Kmart Corporation                1351 E Hatch Rd        Modesto        CA   95351   States




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                                                                                       United
Kmart Corporation                13007 Sherman Way      North Hollywood   CA   91605   States
                                                                                       United
Kmart Corporation                1555 E F St            Oakdale           CA   98233   States
                                                                                       United
Kmart Corporation                175 Maag Avenue        Oakdale           CA   95361   States
                                                                                       United
Kmart Corporation                2530 S Euclid Ave      Ontario           CA   91762   States
                                                                                       United
Kmart Corporation                5600 East Airport Rd   Ontario           CA   91761   States
                                                                                       United
Kmart Corporation                6600 Clark Road        Paradise          CA   95969   States
                                 261 N Mc Dowell                                       United
Kmart Corporation                Blvd                   Petaluma          CA   94954   States
                                                                                       United
Kmart Corporation                1500 Fitzgerald Dr     Pinole            CA   94564   States
                                 3968-A Missouri Flat                                  United
Kmart Corporation                Road                   Placerville       CA   95667   States
                                                                                       United
Kmart Corporation                2685 Hilltop Drive     Redding           CA   96002   States
                                                                                       United
Kmart Corporation                1625 W Redlands        Redlands          CA   92373   States
                                                                                       United
Kmart Corporation                1155 Veteran's Blvd    Redwood City      CA   94063   States
                                 375 E Alessandro                                      United
Kmart Corporation                Blvd                   Riverside         CA   92508   States
                                                                                       United
Kmart Corporation                7840 Limonite Ave      Riverside         CA   92509   States
                                                                                       United
Kmart Corporation                5100 Stockton Blvd     Sacramento        CA   95820   States
                                 1050 North Davis                                      United
Kmart Corporation                Road                   Salinas           CA   93907   States
                                 8730 Rio San Diego                                    United
Kmart Corporation                Dr                     San Diego         CA   92108   States
                                 2875 Santa Maria                                      United
Kmart Corporation                Way                    Santa Maria       CA   93455   States
                                                                                       United
Kmart Corporation                3771 Cleveland Ave     Santa Rosa        CA   95403   States
                                                                                       United
Kmart Corporation                270 Mt Hermon Rd       Scotts Valley     CA   95066   States
                                 1056 Emerald Bay       South Lake                     United
Kmart Corporation                Rd                     Tahoe             CA   96150   States
                                                                                       United
Kmart Corporation                2180 E Mariposa Rd     Stockton          CA   95205   States
                                                                                       United
Kmart Corporation                710 West Tehachapi     Tehachapi         CA   93561   States




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                                                                                        United
Kmart Corporation                26471 Ynez Road        Temecula           CA   92591   States
                                 5665 N Rosemead                                        United
Kmart Corporation                Blvd                   Temple City        CA   91780   States
                                                                                        United
Kmart Corporation                3247 W Noble Ave       Visalia            CA   93277   States
                                                                                        United
Kmart Corporation                730 South Orange       West Covina        CA   91790   States
                                                                                        United
Kmart Corporation                850 Gray Ave           Yuba City          CA   95991   States
                                                                                        United
Kmart Corporation                15200 E Colfax Ave     Aurora             CO   80011   States
                                                                                        United
Kmart Corporation                18875 Bromley Lane     Brighton           CO   80601   States
                                                                                        United
Kmart Corporation                3020 N Nevada St       Colorado Springs   CO   80907   States
                                                                                        United
Kmart Corporation                363 S Broadway         Denver             CO   80209   States
                                                                                        United
Kmart Corporation                200 W Belleview        Englewood          CO   80110   States
                                                        Glenwood                        United
Kmart Corporation                51027 Highway #6       Springs            CO   81601   States
                                                                                        United
Kmart Corporation                2809 North Ave         Grand Junction     CO   81501   States
                                                                                        United
Kmart Corporation                2665 W Eisenhower      Loveland           CO   80537   States
                                                                                        United
Kmart Corporation                3415 N Elizabeth St    Pueblo             CO   81008   States
                                                                                        United
Kmart Corporation                45 Shunpike Rd         Cromwell           CT   06416   States
                                                                                        United
Kmart Corporation                589 Bridgeport Ave     Milford            CT   06460   States
                                                                                        United
Kmart Corporation                44 Providence Pike     Putnam             CT   06260   States
                                 100 Main Street                                        United
Kmart Corporation                North                  Southbury          CT   06488   States
                                 295 Hartford                                           United
Kmart Corporation                Turnpike               Vernon             CT   06066   States
                                                                                        United
Kmart Corporation                595 Straits Turnpike   Watertown          CT   06795   States
                                                                                        United
Kmart Corporation                301 Governor Place     Bear               DE   19701   States
                                                                                        United
Kmart Corporation                301 College Square     Newark             DE   19711   States
                                                                                        United
Kmart Corporation                3240 Kirkwood Hwy      Wilmington         DE   19808   States




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                                 4700 Limestone                                      United
Kmart Corporation                Road                   Wilmington      DE   19808   States
                                 1401 W Palmetto                                     United
Kmart Corporation                Park Rd                Boca Raton      FL   33486   States
                                 1602 W Brandon                                      United
Kmart Corporation                Blvd                   Brandon         FL   33511   States
                                                                                     United
Kmart Corporation                26996 Us Hwy 19 N      Clearwater      FL   33761   States
                                                                                     United
Kmart Corporation                1002 East Hwy 50       Clermont        FL   34711   States
                                                                                     United
Kmart Corporation                9200 Wiles Road        Coral Springs   FL   33067   States
                                 1801 Northwest Hwy                                  United
Kmart Corporation                19                     Crystal River   FL   34428   States
                                 101 E Interntn'l                                    United
Kmart Corporation                Speedway               Deland          FL   32724   States
                                                                                     United
Kmart Corporation                6126 Highway 301       Ellenton        FL   34222   States
                                                                                     United
Kmart Corporation                2111 S Federal Hwy     Fort Pierce     FL   34950   States
                                                        Fort Walton                  United
Kmart Corporation                200 Irwin N E          Beach           FL   32548   States
                                 900 N W 76                                          United
Kmart Corporation                Boulevard              Gainesville     FL   32606   States
                                                                                     United
Kmart Corporation                3800 Oakwood Blvd      Hollywood       FL   33020   States
                                                                                     United
Kmart Corporation                12412 U S 19           Hudson          FL   34667   States
                                 1501 Normandy                                       United
Kmart Corporation                Village                Jacksonville    FL   32221   States
                                                                                     United
Kmart Corporation                4645 Blanding Blvd     Jacksonville    FL   32210   States
                                 101399 Overseas                                     United
Kmart Corporation                Highway                Key Largo       FL   33037   States
                                 2928 North Roosevelt                                United
Kmart Corporation                Blvd                   Key West        FL   33040   States
                                                                                     United
Kmart Corporation                1201 S Dixie           Lantana         FL   33462   States
                                                                                     United
Kmart Corporation                5561 Overseas Hwy      Marathon        FL   33050   States
                                                                                     United
Kmart Corporation                601 Atlantis Rd        Melbourne       FL   32904   States
                                                                                     United
Kmart Corporation                12350 Sw 8th Street    Miami           FL   33184   States
                                                                                     United
Kmart Corporation                14091 S W 88th St      Miami           FL   33186   States




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                                 3825 7th Street North                                  United
Kmart Corporation                W                       Miami             FL   33126   States
                                 19400 Toledo Blade      Murdock(Port                   United
Kmart Corporation                Road                    Charlotte)        FL   33948   States
                                                                                        United
Kmart Corporation                15201 N Cleveland       N Ft Myers        FL   33903   States
                                 4955 Golden Gate                                       United
Kmart Corporation                Parkway                 Naples            FL   34116   States
                                                                                        United
Kmart Corporation                500 Atlantic Blvd       Neptune Beach     FL   32266   States
                                                                                        United
Kmart Corporation                5725 U.S. 19            New Port Richey   FL   34652   States
                                 900 N Miami Beach       North Miami                    United
Kmart Corporation                Blvd                    Beach             FL   33162   States
                                                                                        United
Kmart Corporation                655 West 52nd Ave       Ocala             FL   34474   States
                                 1910 Wells Rd-                                         United
Kmart Corporation                Orange Pk Mall          Orange Park       FL   32073   States
                                 111 Town & Country                                     United
Kmart Corporation                Drive                   Palatka           FL   32177   States
                                                                                        United
Kmart Corporation                1329 W 15th St          Panama City       FL   32401   States
                                                                                        United
Kmart Corporation                4211 Mobile Hwy         Pensacola         FL   32506   States
                                 1809 Byron Butler                                      United
Kmart Corporation                Parkway                 Perry             FL   32347   States
                                                                                        United
Kmart Corporation                3535 Fruitville Road    Sarasota          FL   34232   States
                                 901 Us 27 North, Ste                                   United
Kmart Corporation                100                     Sebring           FL   33870   States
                                                                                        United
Kmart Corporation                1501 U S 1              Vero Beach        FL   32960   States
                                                                                        United
Kmart Corporation                2525 Dawson Rd          Albany            GA   31707   States
                                                                                        United
Kmart Corporation                1647 Gordon Hwy         Augusta           GA   30906   States
                                 122 W C Bryant                                         United
Kmart Corporation                Parkway                 Calhoun           GA   30701   States
                                                                                        United
Kmart Corporation                3200 Macon Rd           Columbus          GA   31906   States
                                 6239 Turner Lake                                       United
Kmart Corporation                Road                    Covington         GA   30014   States
                                                                                        United
Kmart Corporation                1308 W Walnut Ave       Dalton            GA   30720   States
                                                                                        United
Kmart Corporation                1300 S Madison Ave      Douglas           GA   31533   States




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                                                         Forest Park                    United
Kmart Corporation                5265 Old Dixie Rd       (Atlanta)         GA   30297   States
                                                                                        United
Kmart Corporation                101 Highway #2          Fort Oglethorpe   GA   30742   States
                                 1601 Highway 40                                        United
Kmart Corporation                East                    Kingsland         GA   31548   States
                                 156 Tom Hill Senior                                    United
Kmart Corporation                Blvd                    Macon             GA   31210   States
                                                                                        United
Kmart Corporation                400 Crosstown Road      Peachtree City    GA   30269   States
                                                                                        United
Kmart Corporation                102 Hicks Drive         Rome              GA   30161   States
                                 33 W Montgomery                                        United
Kmart Corporation                Cross Rd                Savannah          GA   31406   States
                                 144 Virginia Ave                                       United
Kmart Corporation                South                   Tifton            GA   31794   States
                                 404 N Marine Dr Rte                                    United
Kmart Corporation                1                       Tamuning          GU   96913   States
                                                                                        United
Kmart Corporation                4561 Salt Lake Blvd     Honolulu          HI   96818   States
                                                                                        United
Kmart Corporation                424 Dairy Road          Kahului           HI   96732   States
                                                                                        United
Kmart Corporation                500 Kamokila Blvd       Kapolei           HI   96707   States
                                 715 Us Highway 30                                      United
Kmart Corporation                West                    Carroll           IA   51401   States
                                                                                        United
Kmart Corporation                1111 N 2nd              Cherokee          IA   51012   States
                                 2803 E Kanesville                                      United
Kmart Corporation                Blvd                    Council Bluffs    IA   51503   States
                                 Plaza 20 - 2600                                        United
Kmart Corporation                Dodge St                Dubuque           IA   52003   States
                                                                                        United
Kmart Corporation                901 Hollywood Blvd      Iowa City         IA   52240   States
                                                                                        United
Kmart Corporation                1720 S Center           Marshalltown      IA   50158   States
                                                                                        United
Kmart Corporation                2105 South Frederick    Oelwein           IA   50662   States
                                                                                        United
Kmart Corporation                5700 Gordon Drive       Sioux City        IA   51106   States
                                                                                        United
Kmart Corporation                3810 University Ave     Waterloo          IA   50701   States
                                                                                        United
Kmart Corporation                3101 East 17th Street   Ammon             ID   83406   States
                                                                                        United
Kmart Corporation                1815-21st St            Lewiston          ID   83501   States




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                                 2800 American                                      United
Kmart Corporation                Legion Blvd           Mountain Home   ID   83647   States
                                 2258 Addison Ave                                   United
Kmart Corporation                East                  Twin Falls      ID   83301   States
                                                                                    United
Kmart Corporation                1034 E 63rd           Chicago         IL   60637   States
                                                                                    United
Kmart Corporation                3443 W Addison        Chicago         IL   60618   States
                                                                                    United
Kmart Corporation                79th/Stoney Island    Chicago         IL   60617   States
                                 6045 (Or 6007) N                                   United
Kmart Corporation                Western Ave           Chicago         IL   60659   States
                                                                                    United
Kmart Corporation                26 N Vermillion       Danville        IL   61832   States
                                 333 South Spruce                                   United
Kmart Corporation                Street                Manteno         IL   60950   States
                                                       Round Lake                   United
Kmart Corporation                400 East Rollins Rd   Beach           IL   60073   States
                                                                                    United
Kmart Corporation                Rte 43 & Us 6         Tinley Park     IL   60477   States
                                                                                    United
Kmart Corporation                975 N Green St        Brownsburg      IN   46112   States
                                 750 Indian Boundary                                United
Kmart Corporation                Road                  Chesterton      IN   46304   States
                                 804 South 13th                                     United
Kmart Corporation                Street                Decatur         IN   46733   States
                                 1519 State Road 37                                 United
Kmart Corporation                S                     Elwood          IN   46036   States
                                                                                    United
Kmart Corporation                7530 S Anthony Blvd   Fort Wayne      IN   46816   States
                                                                                    United
Kmart Corporation                1015 E Main St        Gas City        IN   46933   States
                                                                                    United
Kmart Corporation                430 W Ridge Rd        Griffith        IN   46319   States
                                                                                    United
Kmart Corporation                2715 Madison Ave      Indianapolis    IN   46225   States
                                 6780 W Washington                                  United
Kmart Corporation                St                    Indianapolis    IN   46241   States
                                 7425 E Washington                                  United
Kmart Corporation                St                    Indianapolis    IN   46219   States
                                                                                    United
Kmart Corporation                723 3rd Ave           Jasper          IN   47546   States
                                                                                    United
Kmart Corporation                705 North Dixon       Kokomo          IN   46901   States
                                 3530 State Rd 38                                   United
Kmart Corporation                East                  Lafayette       IN   47905   States




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                                                                                      United
Kmart Corporation                420 W Mc Kinley Ave     Mishawaka       IN   46545   States
                                                                                      United
Kmart Corporation                11 Sherwood Square      Peru            IN   46970   States
                                 3150 National Road                                   United
Kmart Corporation                West                    Richmond        IN   47374   States
                                                                                      United
Kmart Corporation                4640 S Michigan St      South Bend      IN   46614   States
                                                                                      United
Kmart Corporation                3350 U S 30 East        Warsaw          IN   46580   States
                                                                                      United
Kmart Corporation                1320 E Thirtieth Ave    Hutchinson      KS   67502   States
                                                                                      United
Kmart Corporation                7836 State Ave          Kansas City     KS   66112   States
                                                                                      United
Kmart Corporation                2400 Kresge Rd          Lawrence        KS   66049   States
                                                                                      United
Kmart Corporation                400 South Broadway      Salina          KS   67401   States
                                 1740 Sw Wanamaker                                    United
Kmart Corporation                Road                    Topeka          KS   66604   States
                                                                                      United
Kmart Corporation                4200 W Kellogg          Wichita         KS   67209   States
                                                                                      United
Kmart Corporation                4830 S Broadway         Wichita         KS   67216   States
                                                                                      United
Kmart Corporation                2945 Scottsville Road   Bowling Green   KY   42104   States
                                 997 Cumberland Gap                                   United
Kmart Corporation                Pkwy                    Corbin          KY   40701   States
                                 1807 North Dixie                                     United
Kmart Corporation                Avenue                  Elizabethtown   KY   42701   States
                                                                                      United
Kmart Corporation                3071 Dixie Hwy          Erlanger        KY   41018   States
                                                                                      United
Kmart Corporation                1501 Paris Pike         Georgetown      KY   40324   States
                                 230 L Roger Wells                                    United
Kmart Corporation                Blvd                    Glasgow         KY   42141   States
                                 600 C W Stevens                                      United
Kmart Corporation                Blvd                    Grayson         KY   41143   States
                                                                                      United
Kmart Corporation                2520 Nicholasville Rd   Lexington       KY   40503   States
                                                                                      United
Kmart Corporation                191 Outer Loop Rd       Louisville      KY   40214   States
                                                                                      United
Kmart Corporation                3911 Taylorsville Rd    Louisville      KY   40220   States
                                                                                      United
Kmart Corporation                4025 Poplar Level Rd    Louisville      KY   40213   States




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                                                                                        United
Kmart Corporation                2440 Lone Oak Rd       Paducah            KY   42003   States
                                                                                        United
Kmart Corporation                344 North Mayo Trail   Paintsville        KY   41240   States
                                 100 Big Sandy                                          United
Kmart Corporation                Village                Pikeville          KY   41501   States
                                 Northridge S/C Us                                      United
Kmart Corporation                Hwy 127                Russell Springs    KY   42642   States
                                 411 Russell Dyche                                      United
Kmart Corporation                Hwy                    Somerset           KY   42501   States
                                                                                        United
Kmart Corporation                501 Marsailles Road    Versailles         KY   40383   States
                                                                                        United
Kmart Corporation                3045 E Texas St        Bossier City       LA   71111   States
                                 115 South Airline                                      United
Kmart Corporation                Hwy                    Gonzales           LA   70737   States
                                 4200 East Judge                                        United
Kmart Corporation                Perez Dr               Meraux             LA   70075   States
                                                                                        United
Kmart Corporation                2940 Veterans Blvd     Metairie           LA   70002   States
                                 7000 Veterans                                          United
Kmart Corporation                Memorial               Metairie           LA   70003   States
                                 1400 S Clearview                                       United
Kmart Corporation                Parkway                New Orleans        LA   70123   States
                                 2985 Cottingham X-                                     United
Kmart Corporation                Way                    Pineville          LA   71360   States
                                                                                        United
Kmart Corporation                252 Main St            Acton              MA   01720   States
                                                                                        United
Kmart Corporation                484 Boston Rd          Billerica          MA   01821   States
                                                                                        United
Kmart Corporation                2001 Main Street       Brockton           MA   02301   States
                                                                                        United
Kmart Corporation                9 Plaza Way            Fairhaven          MA   02719   States
                                                                                        United
Kmart Corporation                546 Stockbridge Rd     Great Barrington   MA   01230   States
                                                                                        United
Kmart Corporation                2211 Northampton St    Holyoke            MA   01040   States
                                                                                        United
Kmart Corporation                768 Iyanough Rd        Hyannis            MA   02601   States
                                                                                        United
Kmart Corporation                45 Storey Ave          Newburyport        MA   01950   States
                                 Wilbraham Road (Sr                                     United
Kmart Corporation                20)                    Palmer             MA   01069   States
                                                                                        United
Kmart Corporation                180 Main St            Saugus             MA   01906   States




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                                                                                       United
Kmart Corporation                77 Middlesex Ave      Somerville         MA   02145   States
                                 1130 Newport                                          United
Kmart Corporation                Avenue                South Attleboro    MA   02703   States
                                                                                       United
Kmart Corporation                Route 12              Webster            MA   01570   States
                                                                                       United
Kmart Corporation                222 N Point Blvd      Baltimore          MD   21224   States
                                 8980 Waltham                                          United
Kmart Corporation                Woods Rd              Baltimore          MD   21234   States
                                                                                       United
Kmart Corporation                1647 Crofton Centre   Crofton            MD   21114   States
                                                                                       United
Kmart Corporation                161 Big Elk Mall      Elkton             MD   21921   States
                                                                                       United
Kmart Corporation                1003 W Patrick St     Frederick          MD   21702   States
                                                                                       United
Kmart Corporation                209 Kentlands Blvd    Gaithersburg       MD   20878   States
                                                                                       United
Kmart Corporation                1713 Massey Blvd      Hagerstown         MD   21740   States
                                                                                       United
Kmart Corporation                6163 Oxon Hill Road   Oxon Hill          MD   20745   States
                                                                                       United
Kmart Corporation                8036 Ritchie Hwy      Pasadena           MD   21122   States
                                 835 Solomons Island                                   United
Kmart Corporation                Rd N                  Prince Frederick   MD   20678   States
                                                                                       United
Kmart Corporation                301 Tilgham Rd        Salisbury          MD   21804   States
                                 14014 Connecticut                                     United
Kmart Corporation                Ave                   Silver Spring      MD   20906   States
                                                                                       United
Kmart Corporation                200 Kent Landing      Stevensville       MD   21666   States
                                                                                       United
Kmart Corporation                603 Center St         Auburn             ME   04210   States
                                                                                       United
Kmart Corporation                58 Western Avenue     Augusta            ME   04330   States
                                                                                       United
Kmart Corporation                688 H0gan Road        Bangor             ME   04401   States
                                                                                       United
Kmart Corporation                18 Elm Plaza          Waterville         ME   04901   States
                                                                                       United
Kmart Corporation                1658 Lansing Rd       Charlotte          MI   48813   States
                                                                                       United
Kmart Corporation                6730 S. River Rd.     Marine City        MI   48039   States
                                                                                       United
Kmart Corporation                32123 Gratiot Ave     Roseville          MI   48066   States




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                                                                                           United
Kmart Corporation                3000 W 14 Mile Rd      Royal Oak             MI   48073   States
                                                                                           United
Kmart Corporation                2000 Ten Mile Rd       Warren                MI   48091   States
                                 1600 Miller Trunk                                         United
Kmart Corporation                Hwy                    Duluth                MN   55811   States
                                                                                           United
Kmart Corporation                1606 Hwy 11-71         International Falls   MN   56649   States
                                 1001 Highway 23 By-                                       United
Kmart Corporation                Pass N                 Marshall              MN   56258   States
                                                                                           United
Kmart Corporation                3000 Hwy #10 East      Moorhead              MN   56560   States
                                                                                           United
Kmart Corporation                201 Ninth St S E       Rochester             MN   55904   States
                                                                                           United
Kmart Corporation                245 E Maryland Ave     St. Paul              MN   55117   States
                                 1547 Highway 59                                           United
Kmart Corporation                South                  Thief River Falls     MN   56701   States
                                 1414 South 12th                                           United
Kmart Corporation                Avenue                 Virginia              MN   55792   States
                                                                                           United
Kmart Corporation                155 Twin City Mall     Crystal City          MO   63019   States
                                 16200 East U S                                            United
Kmart Corporation                Hwy 24                 Independence          MO   64056   States
                                 7100 Nw Prairie View                                      United
Kmart Corporation                Rd                     Kansas City           MO   64151   States
                                 2233 N Westwood                                           United
Kmart Corporation                Blvd                   Poplar Bluff          MO   63901   States
                                                                                           United
Kmart Corporation                1003 S Bishop          Rolla                 MO   65401   States
                                                                                           United
Kmart Corporation                3101 S Glenstone       Springfield           MO   65804   States
                                                                                           United
Kmart Corporation                2901-5 N Belt Hwy      St. Joseph            MO   64506   States
                                                                                           United
Kmart Corporation                6650 Manchester        St. Louis             MO   63139   States
                                 118 Highway 72                                            United
Kmart Corporation                West                   Corinth               MS   38834   States
                                                                                           United
Kmart Corporation                12057-A Highway 49     Gulfport              MS   39503   States
                                                                                           United
Kmart Corporation                550 Stateline Rd       Southaven             MS   38671   States
                                                                                           United
Kmart Corporation                1000 3rd Street Nw     Great Falls           MT   59404   States
                                 1235 North First                                          United
Kmart Corporation                Street                 Hamilton              MT   59840   States




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                                                                                       United
Kmart Corporation                2024 Us Hwy 2 E       Kalispell          MT   59901   States
                                                                                       United
Kmart Corporation                1330 E. Dixie Drive   Asheboro           NC   27203   States
                                                                                       United
Kmart Corporation                1 S Tunnel Rd         Asheville          NC   28805   States
                                                                                       United
Kmart Corporation                1001 Patton Ave       Asheville          NC   28806   States
                                                                                       United
Kmart Corporation                980 Brevard Road      Asheville          NC   28806   States
                                                                                       United
Kmart Corporation                804 N Broad Street    Brevard            NC   28712   States
                                                                                       United
Kmart Corporation                529 Huffman Mill Rd   Burlington         NC   27215   States
                                 2455 Lewisville-                                      United
Kmart Corporation                Clemmon               Clemmons           NC   27012   States
                                                                                       United
Kmart Corporation                1931 Skibo Road       Fayetteville       NC   28314   States
                                                                                       United
Kmart Corporation                Westgate Plaza Road   Franklin           NC   28734   States
                                                                                       United
Kmart Corporation                201 N Berkeley Blvd   Goldsboro          NC   27534   States
                                                                                       United
Kmart Corporation                300 Penry Rd          Greensboro         NC   27405   States
                                 7090 New Market Sqr                                   United
Kmart Corporation                Mall                  Jacksonville       NC   28540   States
                                 1091 N Croatan                                        United
Kmart Corporation                Highway               Kill Devil Hills   NC   27948   States
                                                                                       United
Kmart Corporation                2750 Roberts Avenue   Lumberton          NC   28358   States
                                                                                       United
Kmart Corporation                102 New Market        Madison            NC   27025   States
                                                                                       United
Kmart Corporation                4841 Arendell St      Morehead City      NC   28557   States
                                                                                       United
Kmart Corporation                110-112 Bost Rd       Morganton          NC   28655   States
                                                                                       United
Kmart Corporation                100 Mayberry Mall     Mount Airy         NC   27030   States
                                 10500 Centrum                                         United
Kmart Corporation                Parkway               Pineville          NC   28134   States
                                                                                       United
Kmart Corporation                4500 Western Blvd     Raleigh            NC   27606   States
                                                                                       United
Kmart Corporation                8701 Six Forks Road   Raleigh            NC   27615   States
                                 720 Sutters Creek                                     United
Kmart Corporation                Blvd                  Rocky Mount        NC   27804   States




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                                                                                      United
Kmart Corporation                706 E Dixon Blvd       Shelby           NC   28152   States
                                 1530 East Broad                                      United
Kmart Corporation                Street                 Statesville      NC   28625   States
                                                                                      United
Kmart Corporation                1300 Dellwood Road     Waynesville      NC   28786   States
                                                                                      United
Kmart Corporation                2625 State St          Bismarck         ND   58503   States
                                                                                      United
Kmart Corporation                2301 S University Dr   Fargo            ND   58103   States
                                 1900 S Washington                                    United
Kmart Corporation                St                     Grand Forks      ND   58201   States
                                                                                      United
Kmart Corporation                1515 W 3rd             Alliance         NE   69301   States
                                                                                      United
Kmart Corporation                5000 L St              Omaha            NE   68117   States
                                                                                      United
Kmart Corporation                1267 Hooksett Rd       Hooksett         NH   03106   States
                                                                                      United
Kmart Corporation                161 S Broadway         Salem            NH   03079   States
                                                                                      United
Kmart Corporation                200 S Main             West Lebanon     NH   03784   States
                                                                                      United
Kmart Corporation                1550 St George Ave     Avenel           NJ   07001   States
                                                                                      United
Kmart Corporation                371-411 Main Street    Belleville       NJ   07109   States
                                                                                      United
Kmart Corporation                1930 State Hwy 88      Brick            NJ   08724   States
                                                                                      United
Kmart Corporation                1468 Clementon Rd      Clementon        NJ   08021   States
                                                                                      United
Kmart Corporation                645 Highway Ã18        East Brunswick   NJ   08816   States
                                                                                      United
Kmart Corporation                779 Delsea Dr N        Glassboro        NJ   08028   States
                                                                                      United
Kmart Corporation                200 Passaic Ave        Kearny           NJ   07032   States
                                                                                      United
Kmart Corporation                222 Bridgeton Pike     Mantua           NJ   08051   States
                                                                                      United
Kmart Corporation                300 Black Horse Pike   Pleasantville    NJ   08232   States
                                                                                      United
Kmart Corporation                Rte 9 & Rte 47         Rio Grande       NJ   08242   States
                                                                                      United
Kmart Corporation                250 New Rd (Rt 9)      Somers Point     NJ   08244   States
                                                                                      United
Kmart Corporation                213 Highway 37 E       Toms River       NJ   08753   States




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                                 1061 Whitehorse-                                  United
Kmart Corporation                Mercervil              Trenton       NJ   08610   States
                                                                                   United
Kmart Corporation                3850 S Delsea Dr       Vineland      NJ   08360   States
                                                                                   United
Kmart Corporation                1825 Highway 35        Wall          NJ   07719   States
                                 1020 Hamburg                                      United
Kmart Corporation                Turnpike               Wayne         NJ   07470   States
                                                        West Long                  United
Kmart Corporation                108 Monmouth Rd        Branch        NJ   07764   States
                                                                                   United
Kmart Corporation                235 Prospect Ave       West Orange   NJ   07052   States
                                                                                   United
Kmart Corporation                700 Broadway           Westwood      NJ   07675   States
                                 3201 N White Sand                                 United
Kmart Corporation                Blvd                   Alamogordo    NM   88310   States
                                                                                   United
Kmart Corporation                2307 West Main         Artesia       NM   88210   States
                                 1900 Bataan                                       United
Kmart Corporation                Memorial East          Las Cruces    NM   88011   States
                                                                                   United
Kmart Corporation                1705 S Main St         Roswell       NM   88203   States
                                                                                   United
Kmart Corporation                1712 St Michael's Dr   Santa Fe      NM   87505   States
                                 2450 Mountain City                                United
Kmart Corporation                Hwy                    Elko          NV   89801   States
                                 732 South Racetrack                               United
Kmart Corporation                Road                   Henderson     NV   89015   States
                                 3760 East Sunset                                  United
Kmart Corporation                Road                   Las Vegas     NV   89120   States
                                                                                   United
Kmart Corporation                5051 E Bonanza Rd      Las Vegas     NV   89110   States
                                                                                   United
Kmart Corporation                7501 W Washington      Las Vegas     NV   89128   States
                                 West Side Of S.                                   United
Kmart Corporation                Virginia               Reno          NV   89502   States
                                 1400 S Mccarren                                   United
Kmart Corporation                Blvd                   Sparks        NV   89431   States
                                                                                   United
Kmart Corporation                2125 Oddie Blvd        Sparks        NV   89431   States
                                                                                   United
Kmart Corporation                8363 Lewiston Road     Batavia       NY   14020   States
                                                                                   United
Kmart Corporation                Plaza 15 Route 415     Bath          NY   14810   States
                                                                                   United
Kmart Corporation                5151 Sunrise Hwy       Bohemia       NY   11716   States




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                                                                                      United
Kmart Corporation                2044 Montauk Hwy       Bridgehampton    NY   11932   States
                                                                                      United
Kmart Corporation                1998 Bruckner Blvd     Bronx            NY   10473   States
                                 300 Baychester                                       United
Kmart Corporation                Avenue                 Bronx            NY   10475   States
                                                                                      United
Kmart Corporation                1001 Hertel Avenue     Buffalo          NY   14216   States
                                 S 3701 Mckinley                                      United
Kmart Corporation                Pkwy                   Buffalo          NY   14219   States
                                                                                      United
Kmart Corporation                2055 Walden Ave        Cheektowaga      NY   14225   States
                                                                                      United
Kmart Corporation                854 State Route 13     Cortland         NY   13045   States
                                 2280 North Ocean                                     United
Kmart Corporation                Ave.                   Farmingville     NY   11738   States
                                                                                      United
Kmart Corporation                West Main St R D #1    Greenwich        NY   12834   States
                                                                                      United
Kmart Corporation                1020 Center Street     Horseheads       NY   14845   States
                                                                                      United
Kmart Corporation                839 New York Ave       Huntington       NY   11743   States
                                                                                      United
Kmart Corporation                975 Fairmount Ave      Jamestown        NY   14701   States
                                                                                      United
Kmart Corporation                8007 Oswego Road       Liverpool        NY   13090   States
                                                                                      United
Kmart Corporation                987 Route 6            Mahopac          NY   10541   States
                                                                                      United
Kmart Corporation                230 West Main Street   Malone           NY   12953   States
                                                                                      United
Kmart Corporation                2803 Brewerton Rd      Mattydale        NY   13211   States
                                 66-26 Metropolitan                                   United
Kmart Corporation                Ave                    Middle Village   NY   11379   States
                                 4645 Commercial                                      United
Kmart Corporation                Drive                  New Hartford     NY   13413   States
                                                                                      United
Kmart Corporation                250 W 34th St          New York         NY   10119   States
                                                                                      United
Kmart Corporation                770 Broadway           New York         NY   10003   States
                                                                                      United
Kmart Corporation                2590 Military Rd       Niagara Falls    NY   14304   States
                                 635 Dutchess                                         United
Kmart Corporation                Turnpike               Poughkeepsie     NY   12603   States
                                 838 South Road - Ste                                 United
Kmart Corporation                257                    Poughkeepsie     NY   12601   States




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                                                                                         United
Kmart Corporation                308 Dix Avenue          Queensbury         NY   12804   States
                                                                                         United
Kmart Corporation                605 Old Country Rd      Riverhead          NY   11901   States
                                                                                         United
Kmart Corporation                810 Paul Rd             Rochester          NY   14624   States
                                 93 West Campbell                                        United
Kmart Corporation                Rd                      Schenectady        NY   12306   States
                                                                                         United
Kmart Corporation                Hylan Blvd              Staten Island      NY   10306   States
                                                                                         United
Kmart Corporation                950 Ridge Road          Webster            NY   14580   States
                                                                                         United
Kmart Corporation                121 Bolivar Rd          Wellsville         NY   14895   States
                                                                                         United
Kmart Corporation                349 Orchard Park Rd     West Seneca        NY   14224   States
                                                                                         United
Kmart Corporation                399 Tarrytown Rd        White Plains       NY   10607   States
                                 Rte 118, 355                                            United
Kmart Corporation                Downing Dr              Yorktown Heights   NY   10598   States
                                 3315 N Ridge E -                                        United
Kmart Corporation                Unit 100                Ashtabula          OH   44004   States
                                                                                         United
Kmart Corporation                4475 Mahoning Ave       Austintown         OH   44515   States
                                 241 Wooster Rd                                          United
Kmart Corporation                North                   Barberton          OH   44203   States
                                 1209 Boardman                                           United
Kmart Corporation                Poland Rd               Boardman           OH   44514   States
                                                                                         United
Kmart Corporation                3301 Center Rd          Brunswick          OH   44212   States
                                 61690 Southgate                                         United
Kmart Corporation                Pkwy                    Cambridge          OH   43725   States
                                 3801 Harmont Ave N                                      United
Kmart Corporation                E                       Canton             OH   44705   States
                                 1470 North Bridge                                       United
Kmart Corporation                Street                  Chillicothe        OH   45601   States
                                 7701 Broadview                                          United
Kmart Corporation                Road                    Cleveland          OH   44131   States
                                 4480 Indian Ripple                                      United
Kmart Corporation                Rd                      Dayton             OH   45440   States
                                                                                         United
Kmart Corporation                15891 State Rt 170      East Liverpool     OH   43920   States
                                 12171 Omniplex                                          United
                                 Dr.(Former Address:                                     States
Kmart Corporation                12171 Parkfield Dr. )   Forest Park        OH   45240
                                                                                         United
Kmart Corporation                620 Plaza Dr            Fostoria           OH   44830   States



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                                 1825 North State                                      United
Kmart Corporation                Route 19               Fremont           OH   43420   States
                                 185 Upper River                                       United
Kmart Corporation                Road                   Gallipolis        OH   45631   States
                                 2400 Stringtown                                       United
Kmart Corporation                Road                   Grove City        OH   43123   States
                                                                                       United
Kmart Corporation                4400 S Hamilton Rd     Groveport         OH   43125   States
                                 5765 Green Pointe                                     United
Kmart Corporation                Drive                  Groveport         OH   43125   States
                                 10560 Harrison                                        United
Kmart Corporation                Avenue                 Harrison          OH   45030   States
                                                                                       United
Kmart Corporation                1249 North High St     Hillsboro         OH   45133   States
                                                                                       United
Kmart Corporation                238 Lafayette Street   London            OH   43140   States
                                                                                       United
Kmart Corporation                5350 Leavitt Road      Lorain            OH   44053   States
                                                                                       United
Kmart Corporation                9200 Mentor Avenue     Mentor            OH   44060   States
                                                        Middleburg                     United
Kmart Corporation                17840 Bagley Rd        Heights           OH   44130   States
                                                                                       United
Kmart Corporation                1500 Coshocton         Mount Vernon      OH   43050   States
                                                                                       United
Kmart Corporation                225 West Avenue        New Boston        OH   45662   States
                                                                                       United
Kmart Corporation                North Main St          North Canton      OH   44720   States
                                                                                       United
Kmart Corporation                1284 Brice Rd          Reynoldsburg      OH   43068   States
                                 6221 S O M Center                                     United
Kmart Corporation                Rd                     Solon             OH   44139   States
                                 625 West Central                                      United
Kmart Corporation                Avenue                 Springboro        OH   45066   States
                                                                                       United
Kmart Corporation                I-70 & Mall Road       St. Clairsville   OH   43950   States
                                 541 Perkins Jones                                     United
Kmart Corporation                Rd Ne                  Warren            OH   44483   States
                                                        Washington                     United
Kmart Corporation                1666 Columbus Ave      Courthouse        OH   43160   States
                                                                                       United
Kmart Corporation                1799 Portage Road      Wooster           OH   44691   States
                                                                                       United
Kmart Corporation                3515 N Maple Ave       Zanesville        OH   43701   States
                                                                                       United
Kmart Corporation                2501 Redwheat Drive    Clinton           OK   73601   States




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                                 4010 W Owen                                             United
Kmart Corporation                Garriott Rd             Enid               OK   73703   States
                                                                                         United
Kmart Corporation                1050 N W 38th St        Lawton             OK   73505   States
                                 2323-2327 N                                             United
Kmart Corporation                Harrison                Shawnee            OK   74804   States
                                 10131 E 21st Street                                     United
Kmart Corporation                S                       Tulsa              OK   74129   States
                                 3643 S 73rd East                                        United
Kmart Corporation                Ave                     Tulsa              OK   74145   States
                                 3955 S W Murray                                         United
Kmart Corporation                Blvd                    Beaverton          OR   97005   States
                                 400 North East Circle                                   United
Kmart Corporation                Blv                     Corvallis          OR   97330   States
                                 21830 S E Burnside                                      United
Kmart Corporation                Rd                      Gresham            OR   97030   States
                                 2757 N W Stewart                                        United
Kmart Corporation                Pkwy                    Roseburg           OR   97471   States
                                                                                         United
Kmart Corporation                1502 South Fourth St    Allentown          PA   18103   States
                                                                                         United
Kmart Corporation                528 W Plank Road        Altoona            PA   16602   States
                                 2660 Constitution                                       United
Kmart Corporation                Blvd                    Beaver Falls       PA   15010   States
                                                                                         United
Kmart Corporation                780 Rostraver Rd        Belle Vernon       PA   15012   States
                                                                                         United
Kmart Corporation                1837 Street Road        Bensalem           PA   19020   States
                                                                                         United
Kmart Corporation                1520 W Front St         Berwick            PA   18603   States
                                                                                         United
Kmart Corporation                1005 Wayne Ave          Chambersburg       PA   17201   States
                                                                                         United
Kmart Corporation                1475 Nitterhouse Dr     Chambersburg       PA   17202   States
                                                                                         United
Kmart Corporation                280 Tower Road          Chambersburg       PA   17202   States
                                                                                         United
Kmart Corporation                713 E Baltimore Pike    Clifton Heights    PA   19018   States
                                                                                         United
Kmart Corporation                4377 Route 313          Doylestown         PA   18901   States
                                                                                         United
Kmart Corporation                5820 Shaffer Road       Dubois             PA   15801   States
                                 R D #3 State Rte                                        United
Kmart Corporation                255 N                   Dubois             PA   15801   States
                                                                                         United
Kmart Corporation                300 Lincoln Avenue      East Stroudsburg   PA   18301   States




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                                 320 South 25th                                       United
Kmart Corporation                Street                  Easton          PA   18042   States
                                 U S Route 11 Mark                                    United
Kmart Corporation                Plaza                   Edwardsville    PA   18704   States
                                 1605 South Market                                    United
Kmart Corporation                Street                  Elizabethtown   PA   17022   States
                                                                                      United
Kmart Corporation                1127 S State St         Ephrata         PA   17522   States
                                 1320 E Grandview                                     United
Kmart Corporation                Blvd                    Erie            PA   16504   States
                                                                                      United
Kmart Corporation                2873 W 26th Street      Erie            PA   16506   States
                                                                                      United
Kmart Corporation                176 W Street Rd         Feasterville    PA   19053   States
                                 5050 Jonestown                                       United
Kmart Corporation                Road                    Harrisburg      PA   17112   States
                                                                                      United
Kmart Corporation                600 Macdade Blvd        Holmes          PA   19043   States
                                                                                      United
Kmart Corporation                1170 Mae Street         Hummelstown     PA   17036   States
                                                                                      United
Kmart Corporation                2090 Rte 286 S          Indiana         PA   15701   States
                                                                                      United
Kmart Corporation                1890 Fruitville Pike    Lancaster       PA   17601   States
                                                                                      United
Kmart Corporation                451 Hude Park Road      Leechburg       PA   15656   States
                                                                                      United
Kmart Corporation                111 Hulst Dr, Ste 722   Matamoras       PA   18336   States
                                 4041 Washington                                      United
Kmart Corporation                Road                    Mcmurray        PA   15317   States
                                 1125 Conneaut Lake                                   United
Kmart Corporation                Rd                      Meadville       PA   16335   States
                                 5600 Carlisle Pike U                                 United
Kmart Corporation                S 11                    Mechanicsburg   PA   17050   States
                                                                                      United
Kmart Corporation                1 Millbrook Plaza       Mill Hall       PA   17751   States
                                                                                      United
Kmart Corporation                120 Mall Blvd           Monroeville     PA   15146   States
                                 2000 Market Blvd -                                   United
Kmart Corporation                Parking Lot             Moon Twp.       PA   15108   States
                                                                                      United
Kmart Corporation                Birney Plaza            Moosic          PA   18507   States
                                                                                      United
Kmart Corporation                One Kresge Rd           Morrisville     PA   19030   States
                                                                                      United
Kmart Corporation                2650 Ellwood Rd         New Castle      PA   16101   States




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                                                                                         United
Kmart Corporation                100 Tarentum Rd         New Kensington     PA   15068   States
                                                                                         United
Kmart Corporation                1901 Lincoln Hwy        North Versailles   PA   15137   States
                                                                                         United
Kmart Corporation                7101 Roosevelt Blvd     Philadelphia       PA   19149   States
                                                                                         United
Kmart Corporation                1000 Nutt Rd            Phoenixville       PA   19460   States
                                                                                         United
Kmart Corporation                880 Butler Street       Pittsburgh         PA   15223   States
                                                                                         United
Kmart Corporation                996 W View Park Dr      Pittsburgh         PA   15229   States
                                 720 Clairton Blvd/Rte                                   United
Kmart Corporation                51                      Pleasant Hills     PA   15236   States
                                                                                         United
Kmart Corporation                1665 State Hill Rd      Reading            PA   19610   States
                                                                                         United
Kmart Corporation                3045 Fifth Street Hwy   Reading            PA   19605   States
                                 Scranton Carbondale                                     United
Kmart Corporation                Hwy                     Scranton           PA   18508   States
                                                                                         United
Kmart Corporation                1 Parkside Ave          Shillington        PA   19607   States
                                                                                         United
Kmart Corporation                704 Lancaster Ave       Strafford Wayne    PA   19087   States
                                                                                         United
Kmart Corporation                3205 Lincoln Hwy        Thorndale          PA   19372   States
                                 Rt #6 Brandford                                         United
Kmart Corporation                Town Ctr                Towanda            PA   18848   States
                                                                                         United
Kmart Corporation                99 Matthews Drive       Uniontown          PA   15401   States
                                                                                         United
Kmart Corporation                985 Paoli Pike          West Chester       PA   19380   States
                                                                                         United
Kmart Corporation                2520 Mac Arthur Rd      Whitehall          PA   18052   States
                                 910 Wilkes Barre                                        United
Kmart Corporation                Twp Blvd                Wilkes-Barre       PA   18702   States
                                                                                         United
Kmart Corporation                1915 E Third St         Williamsport       PA   17701   States
                                                                                         United
Kmart Corporation                2620 Moreland Rd        Willow Grove       PA   19090   States
                                 2600 N Willow Street                                    United
Kmart Corporation                Pike                    Willow Street      PA   17584   States
                                                                                         United
Kmart Corporation                803 Male Rd             Wind Gap           PA   18091   States
                                                                                         United
Kmart Corporation                Road 2 Km 126.5         Aguadilla          PR   00605   States




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                                 State Road 2 Km                                        United
Kmart Corporation                80.2                   Arecibo            PR   00612   States
                                 Plaza Rio Hondo &                                      United
Kmart Corporation                Comerio Ave            Bayamon            PR   00961   States
                                 Calle Betances Final                                   United
Kmart Corporation                #400                   Caguas             PR   00726   States
                                 Rafael Cordero &                                       United
Kmart Corporation                Hwy 30                 Caguas             PR   00725   States
                                                                                        United
Kmart Corporation                65th Infantry Ave      Carolina           PR   00985   States
                                 Eastern Reg'l S/C;                                     United
Kmart Corporation                State Road #3          Fajardo            PR   00738   States
                                                                                        United
Kmart Corporation                State Rd 3             Fajardo            PR   00738   States
                                                                                        United
Kmart Corporation                Puerto Rico Hwy 3      Guayama            PR   00784   States
                                                                                        United
Kmart Corporation                Pr #22 & Pr #18        Hato Rey           PR   00918   States
                                                                                        United
Kmart Corporation                Western Plaza S/C      Mayaguez           PR   00680   States
                                 9410 Ave Los                                           United
Kmart Corporation                Romeros                Rio Piedras        PR   00926   States
                                 Castro Perez Ave (Pr                                   United
Kmart Corporation                122)                   San German         PR   00683   States
                                 Caparra Hgts - San                                     United
                                 Patricio S/C                                           States
                                 Roosevelt & San
Kmart Corporation                Patricio Avenues       San Juan           PR   00920
                                                                                        United
Kmart Corporation                200 Carr 181           Trujillo Alto      PR   00976   States
                                                                                        United
Kmart Corporation                2127 Boundary St       Beaufort           SC   29902   States
                                                                                        United
Kmart Corporation                2209 West Dekalb       Camden             SC   29020   States
                                                                                        United
Kmart Corporation                Church St Extension    Greenville         SC   29605   States
                                                                                        United
Kmart Corporation                748 W Main Street      Lexington          SC   29072   States
                                 129 West Butler                                        United
Kmart Corporation                Avenue                 Mauldin            SC   29662   States
                                                                                        United
Kmart Corporation                8571 Rivers Avenue     North Charleston   SC   29406   States
                                                                                        United
Kmart Corporation                1457 W Highway 123     Seneca             SC   29678   States
                                                                                        United
Kmart Corporation                4570 Ladson Rd         Summerville        SC   29485   States
                                                                                        United
Kmart Corporation                1143 Broad St          Sumter             SC   29150   States


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                                                                                     United
Kmart Corporation                1500 Charleston Hwy   West Columbia    SC   29169   States
                                                                                     United
Kmart Corporation                1815-6th Ave S E      Aberdeen         SD   57401   States
                                                                                     United
Kmart Corporation                1111 E North St       Rapid City       SD   57701   States
                                 2780 Wilma Rudolph                                  United
Kmart Corporation                Blvd                  Clarksville      TN   37040   States
                                                                                     United
Kmart Corporation                190 Clinch Ave        Clinton          TN   25901   States
                                 1245 N Germantown                                   United
Kmart Corporation                Pkwy                  Cordova          TN   38016   States
                                                                                     United
Kmart Corporation                5380 Highway 153      Hixson           TN   37343   States
                                                                                     United
Kmart Corporation                3019 Peoples Street   Johnson City     TN   37604   States
                                                                                     United
Kmart Corporation                1805 E Stone Dr       Kingsport        TN   37660   States
                                 6909 Maynardville                                   United
Kmart Corporation                Pike Ne               Knoxville        TN   37918   States
                                                                                     United
Kmart Corporation                1443 W Main St        Lebanon          TN   37087   States
                                                                                     United
Kmart Corporation                1508 S Gallatin Rd    Madison          TN   37115   States
                                                                                     United
Kmart Corporation                945 Mccammon Ave      Maryville        TN   37801   States
                                                                                     United
Kmart Corporation                305 W Economy Rd      Morristown       TN   37814   States
                                 1266 N W Broad                                      United
Kmart Corporation                Street                Murfreesboro     TN   37129   States
                                 2491 Murfreesboro                                   United
Kmart Corporation                Pike                  Nashville        TN   37217   States
                                                                                     United
Kmart Corporation                530 Donelson Pike     Nashville        TN   37214   States
                                                                                     United
Kmart Corporation                7060 Winchester Rd    North Memphis    TN   38125   States
                                 370 South Illinois                                  United
Kmart Corporation                Avenue                Oak Ridge        TN   37830   States
                                 217 Forks Of River                                  United
Kmart Corporation                Pkwy                  Sevierville      TN   37862   States
                                                                                     United
Kmart Corporation                333 N Lowry St        Smyrna           TN   37167   States
                                                                                     United
Kmart Corporation                902 S Main Street     Sweetwater       TN   37874   States
                                                                                     United
Kmart Corporation                Subdivision Unit 3    Lake Palestine   TX   75763   States




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                                                                                        United
Kmart Corporation                6501 University Ave    Lubbock            TX   79413   States
                                                                                        United
Kmart Corporation                3061 John Redditt Dr   Lufkin             TX   75904   States
                                                                                        United
Kmart Corporation                [N/A]                  Smith County       TX   75701   States
                                 1055 East Draper                                       United
Kmart Corporation                Pkwy                   Draper             UT   84020   States
                                 610 West Price River                                   United
Kmart Corporation                Dr                     Price              UT   84501   States
                                                                                        United
Kmart Corporation                1770 W 4100 S          Salt Lake City     UT   84119   States
                                                                                        United
Kmart Corporation                785 S Bluff            St. George         UT   84770   States
                                                                                        United
Kmart Corporation                1442 W. 90th South     West Jordan        UT   84088   States
                                                                                        United
Kmart Corporation                3330 S 5600 W St       West Valley City   UT   84120   States
                                 300 Towne Centre                                       United
Kmart Corporation                Drive                  Abingdon           VA   24210   States
                                                                                        United
Kmart Corporation                4251 John Marr Drive   Annandale          VA   22003   States
                                                                                        United
Kmart Corporation                Route 3 Box 49d        Cedar Bluff        VA   24609   States
                                                                                        United
Kmart Corporation                1801 Hydraulic Rd      Charlottesville    VA   22901   States
                                 2001 South Military                                    United
Kmart Corporation                Hwy                    Chesapeake         VA   23320   States
                                 1000 Laurel Street                                     United
Kmart Corporation                Ne                     Christiansburg     VA   24073   States
                                                                                        United
Kmart Corporation                3655 Plank Road        Fredericksburg     VA   22407   States
                                                                                        United
Kmart Corporation                494 Elden St           Herndon            VA   20170   States
                                                                                        United
Kmart Corporation                2315 Wards Rd          Lynchburg          VA   24502   States
                                                                                        United
Kmart Corporation                2876 Greensboro Rd     Martinsville       VA   24112   States
                                                                                        United
Kmart Corporation                6101 N Military        Norfolk            VA   23518   States
                                 1419 Hershberger Rd                                    United
Kmart Corporation                NW                     Roanoke            VA   24012   States
                                 3533 Franklin Rd S                                     United
Kmart Corporation                W                      Roanoke            VA   24014   States
                                 6364 Springfield                                       United
Kmart Corporation                Plaza                  Springfield        VA   22150   States




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                                                                                       United
Kmart Corporation                5007 Victory Blvd       Tabb             VA   23693   States
                                                                                       United
Kmart Corporation                1205 Fordham Dr         Virginia Beach   VA   23464   States
                                 312 Constitution                                      United
Kmart Corporation                Drive                   Virginia Beach   VA   23462   States
                                                                                       United
Kmart Corporation                2712 W Main St          Waynesboro       VA   22980   States
                                                                                       United
Kmart Corporation                118 Waller Mill Rd      Williamsburg     VA   23185   States
                                 1480 East Main                                        United
Kmart Corporation                Street                  Wytheville       VA   24382   States
                                 Remainder                                             United
Kmart Corporation                Matriculate #1          Frederiksted     VI   00840   States
                                 Sunny Isle S/C,                                       United
Kmart Corporation                Space #1                St. Croix        VI   00820   States
                                                                                       United
Kmart Corporation                26 - A Tutu Park Mall   St. Thomas       VI   00802   States
                                 9000 Lockhart Gdns                                    United
Kmart Corporation                S/C; Ste 1              St. Thomas       VI   00802   States
                                                                                       United
Kmart Corporation                4110 E Sprague Ave      Spokane          WA   99202   States
                                 6077 S Packard                                        United
Kmart Corporation                Avenue                  Cudahy           WI   53110   States
                                                                                       United
Kmart Corporation                4100 52nd St            Kenosha          WI   53144   States
                                                                                       United
Kmart Corporation                800 North Union         Mauston          WI   53948   States
                                                                                       United
Kmart Corporation                190 Medford Plaza       Medford          WI   54451   States
                                                                                       United
Kmart Corporation                1450 Summit Avenue      Oconomowoc       WI   53066   States
                                 2211 S Green Bay                                      United
Kmart Corporation                Road                    Racine           WI   53406   States
                                                                                       United
Kmart Corporation                5141 Douglas Ave        Racine           WI   53402   States
                                 1200 West Fond Du                                     United
Kmart Corporation                Lac St                  Ripon            WI   54971   States
                                                                                       United
Kmart Corporation                111 Division St North   Stevens Point    WI   54481   States
                                                                                       United
Kmart Corporation                830 West Fulton St      Waupaca          WI   54981   States
                                 6900 W Greenfield                                     United
Kmart Corporation                Ave                     West Allis       WI   53214   States
                                                                                       United
Kmart Corporation                301 Beckley Plaza       Beckley          WV   25801   States




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                                 6531 Mccorkle                                       United
Kmart Corporation                Avenue S E             Charleston      WV   25304   States
                                 I-79/Us 43 Crossings                                United
Kmart Corporation                Mall                   Elkview         WV   25071   States
                                 5636 U S Route 60                                   United
Kmart Corporation                E                      Huntington      WV   25705   States
                                 9000 Fayetteville                                   United
Kmart Corporation                Road                   Oak Hill        WV   25901   States
                                                                                     United
Kmart Corporation                1050 Division St       Parkersburg     WV   26101   States
                                 800 Grand Central                                   United
Kmart Corporation                Ave                    Vienna          WV   26105   States
                                                                                     United
Kmart Corporation                250 Three Springs Dr   Weirton         WV   26062   States
                                                                                     United
Kmart Corporation                1840 Dell Range Blvd   Cheyenne        WY   82009   States
                                                                                     United
Kmart Corporation                2121 17th St           Cody            WY   82414   States
                                                                                     United
Kmart Corporation                510 S Hwy 89           Jackson         WY   83002   States
                                                                                     United
Kmart Corporation                2571 N Business #90    Sheridan        WY   82801   States
                                 1396 South Main                                     United
Kmart Of Michigan, Inc.          Street                 Adrian          MI   49221   States
                                                                                     United
Kmart Of Michigan, Inc.          2095 Rawsonville Rd    Belleville      MI   48111   States
                                                                                     United
Kmart Of Michigan, Inc.          06600 M-66 North       Charlevoix      MI   49720   States
                                                                                     United
Kmart Of Michigan, Inc.          4290 W Vienna Rd       Clio            MI   48420   States
                                                                                     United
Kmart Of Michigan, Inc.          18055 Silver Pkwy      Fenton          MI   48430   States
                                                                                     United
Kmart Of Michigan, Inc.          4002 S Dort            Flint           MI   48507   States
                                                                                     United
Kmart Of Michigan, Inc.          29600 Ford Rd          Garden City     MI   48135   States
                                                                                     United
Kmart Of Michigan, Inc.          4111 North Kent Mall   Grand Rapids    MI   49525   States
                                                                                     United
Kmart Of Michigan, Inc.          2425 S Grayling        Grayling        MI   49738   States
                                 802 West State                                      United
Kmart Of Michigan, Inc.          Street                 Hastings        MI   49058   States
                                 8171 W Houghton                                     United
Kmart Of Michigan, Inc.          Lake Dr                Houghton Lake   MI   48629   States
                                                                                     United
Kmart Of Michigan, Inc.          2948 S State Road      Ionia           MI   48846   States




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                                                                                     United
Kmart Of Michigan, Inc.          1025 M-24             Lake Orion       MI   48360   States
                                                                                     United
Kmart Of Michigan, Inc.          33400 W 7 Mile Road   Livonia          MI   48152   States
                                                                                     United
Kmart Of Michigan, Inc.          6730 S River Road     Marine City      MI   48039   States
                                 15861 Michigan                                      United
Kmart Of Michigan, Inc.          Avenue                Marshall         MI   49068   States
                                                                                     United
Kmart Of Michigan, Inc.          1101-7Th Ave          Menominee        MI   49858   States
                                                                                     United
Kmart Of Michigan, Inc.          1820 S Saginaw Rd     Midland          MI   48640   States
                                                                                     United
Kmart Of Michigan, Inc.          2125 S Mission St     Mount Pleasant   MI   48858   States
                                                                                     United
Kmart Of Michigan, Inc.          1501 E Apple          Muskegon         MI   49442   States
                                                                                     United
Kmart Of Michigan, Inc.          5719 N US 23          Oscoda           MI   48750   States
                                                                                     United
Kmart Of Michigan, Inc.          40855 Ann Arbor Rd    Plymouth         MI   48170   States
                                                                                     United
Kmart Of Michigan, Inc.          67300 Main St         Richmond         MI   48062   States
                                                                                     United
Kmart Of Michigan, Inc.          [N/A]                 Taylor           MI   48180   States
                                                                                     United
Kmart Of Michigan, Inc.          21111 Van Born Rd     Taylor           MI   48180   States
                                                                                     United
Kmart Of Michigan, Inc.          1712 S Garfield Ave   Traverse City    MI   49686   States
                                                                                     United
Kmart Of Michigan, Inc.          3541 Highland Road    Waterford Twp.   MI   48328   States
                                                                                     United
Kmart Of Michigan, Inc.          5100 Dixie Hwy        Waterford Twp.   MI   48329   States
                                                                                     United
Kmart Of Michigan, Inc.          2110 South M-76       West Branch      MI   48661   States
                                                                                     United
Kmart Of Michigan, Inc.          165 Wayne Rd          Westland         MI   48186   States
                                                                                     United
Kmart Of Michigan, Inc.          6455 Us #31 N         Williamsburg     MI   49690   States
                                                                                     United
Kmart Of Michigan, Inc.          2201 W Worley         Columbia         MO   65203   States
                                                                                     United
Kmart Of Michigan, Inc.          600 Montgomery Mall   North Wales      PA   19454   States
                                                                                     United
Kmart Of Washington LLC          1001 E Sunset Drive   Bellingham       WA   98226   States
                                 1550 S Burlington                                   United
Kmart Of Washington LLC          Blvd                  Burlington       WA   98233   States




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                                                                                       United
Kmart Of Washington LLC          1201 N W Louisiana      Chehalis         WA   98532   States
                                                                                       United
Kmart Of Washington LLC          24800 W Valley Hwy      Kent             WA   98032   States
                                                                                       United
Kmart Of Washington LLC          17705 Pacific Ave       Spanaway         WA   98387   States
                                                                                       United
Kmart Of Washington LLC          1414 E 72Nd St          Tacoma           WA   98404   States
                                                                                       United
Kmart Of Washington LLC          5132 6Th Ave            Tacoma           WA   98406   States
                                                                                       United
Kmart Of Washington LLC          2200 East Isaacs Ave    Walla Walla      WA   99362   States
                                                                                       United
Kmart Operations Llc             2821 East Main St       Russellville     AR   72801   States
                                                                                       United
Kmart Operations Llc             3625 East 18th Street   Antioch          CA   94509   States
                                                                                       United
Kmart Operations Llc             42126 Big Bear Blvd     Big Bear Lake    CA   92315   States
                                                                                       United
Kmart Operations Llc             912 County Line Rd      Delano           CA   93215   States
                                 1500 Anna Sparks                                      United
Kmart Operations Llc             Way                     Mckinleyville    CA   95521   States
                                                                                       United
Kmart Operations Llc             1855 Main Street        Ramona           CA   92065   States
                                                                                       United
Kmart Operations Llc             3001 Iowa Avenue        Riverside        CA   92507   States
                                                                                       United
Kmart Operations Llc             895 Faukner Road        Santa Paula      CA   93060   States
                                 19563 Coastal Hwy,                                    United
Kmart Operations Llc             Unit A                  Rehoboth Beach   DE   19971   States
                                 7321 Manatee Ave                                      United
Kmart Operations Llc             West                    Bradenton        FL   34209   States
                                                                                       United
Kmart Operations Llc             1460 W 49th St          Hialeah          FL   33012   States
                                 2211 W Irlo Bronson                                   United
Kmart Operations Llc             Hwy                     Kissimmee        FL   34741   States
                                                                                       United
Kmart Operations Llc             10700 Biscayne Blvd     North Miami      FL   33161   States
                                                                                       United
Kmart Operations Llc             4501 66th Street N      St. Petersburg   FL   33709   States
                                                                                       United
Kmart Operations Llc             1501 Hwy 169 N          Algona           IA   50511   States
                                                                                       United
Kmart Operations Llc             1405 South Grand        Charles City     IA   50616   States
                                                                                       United
Kmart Operations Llc             2307 Superior           Webster City     IA   50595   States




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                                                                                        United
Kmart Operations Llc             5000 23rd Ave          Moline             IL   61265   States
                                                                                        United
Kmart Operations Llc             3231 Chicago Rd        Steger             IL   60475   States
                                 4820 S 4th St                                          United
Kmart Operations Llc             Trafficway             Leavenworth        KS   66048   States
                                 3010 Fort Campbell                                     United
Kmart Operations Llc             Blvd                   Hopkinsville       KY   42240   States
                                 2815 West Parrish                                      United
Kmart Operations Llc             Avenue                 Owensboro          KY   42301   States
                                 3207 Solomons                                          United
Kmart Operations Llc             Island Rd              Edgewater          MD   21037   States
                                                                                        United
Kmart Operations Llc             417 Main Street        Madawaska          ME   04756   States
                                                                                        United
Kmart Operations Llc             22801 Harper Ave       St. Clair Shores   MI   48080   States
                                 1305 Highway #10                                       United
Kmart Operations Llc             West                   Detroit Lakes      MN   56501   States
                                 11 South Kings Hwy                                     United
Kmart Operations Llc             61                     Cape Girardeau     MO   63703   States
                                 1 Flower Valley Shp                                    United
Kmart Operations Llc             Ctr                    Florissant         MO   63033   States
                                                                                        United
Kmart Operations Llc             2304 Missouri Blvd     Jefferson City     MO   65109   States
                                                                                        United
Kmart Operations Llc             2308 Highway 45 N      Columbus           MS   39701   States
                                 3180 Highway 2                                         United
Kmart Operations Llc             West                   Havre              MT   59501   States
                                                                                        United
Kmart Operations Llc             545 Us Hwy 29 N        Concord            NC   28027   States
                                                                                        United
Kmart Operations Llc             1-20th Ave S E         Minot              ND   58701   States
                                                                                        United
Kmart Operations Llc             3000 East Main St      Farmington         NM   87402   States
                                                                                        United
Kmart Operations Llc             2220 North Grimes St   Hobbs              NM   88240   States
                                                                                        United
Kmart Operations Llc             10405 S Eastern Ave    Henderson          NV   89052   States
                                                                                        United
Kmart Operations Llc             2801 W. State St       Olean              NY   14760   States
                                                                                        United
Kmart Operations Llc             171 Delaware Ave       Sidney             NY   13838   States
                                 1005 East Columbus                                     United
Kmart Operations Llc             St                     Kenton             OH   43326   States
                                                                                        United
Kmart Operations Llc             502 Pike Street        Marietta           OH   45750   States




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                                                                                      United
Kmart Operations Llc             1447 N Main St         North Canton     OH   44720   States
                                                                                      United
Kmart Operations Llc             555 South Ave          Tallmadge        OH   44278   States
                                                                                      United
Kmart Operations Llc             4 East Shawnee St      Muskogee         OK   74403   States
                                                                                      United
Kmart Operations Llc             2640 West Sixth St     The Dalles       OR   97058   States
                                 1180 Walnut Bottom                                   United
Kmart Operations Llc             Rd                     Carlisle         PA   17013   States
                                                                                      United
Kmart Operations Llc             3975 Columbia Ave      Columbia         PA   17512   States
                                                                                      United
Kmart Operations Llc             1745 Quentin           Lebanon          PA   17042   States
                                                                                      United
Kmart Operations Llc             Route 819 South        Mount Pleasant   PA   15666   States
                                                                                      United
Kmart Operations Llc             400 North Best Ave     Walnutport       PA   18088   States
                                                                                      United
Kmart Operations Llc             1094 Haines Road       York             PA   17402   States
                                 Pr 167 & Las                                         United
Kmart Operations Llc             Cumbres                Bayamon          PR   00957   States
                                                                                      United
Kmart Operations Llc             Pr 20 And Esmeralda    Guaynabo         PR   00969   States
                                                                                      United
Kmart Operations Llc             Pr Rte #2; Km 149.5    Mayaguez         PR   00680   States
                                                                                      United
Kmart Operations Llc             2643 Ponce Bypass      Ponce            PR   00728   States
                                                                                      United
Kmart Operations Llc             3801 B Clemson Blvd    Anderson         SC   29621   States
                                                                                      United
Kmart Operations Llc             2302 Cherry Rd         Rock Hill        SC   29732   States
                                                                                      United
Kmart Operations Llc             3020 W 12th St         Sioux Falls      SD   57104   States
                                                                                      United
Kmart Operations Llc             9484 Dyer St           El Paso          TX   79924   States
                                                                                      United
Kmart Operations Llc             2010 N Main            Layton           UT   84041   States
                                                                                      United
Kmart Operations Llc             1425 E Highway 151     Platteville      WI   53818   States
                                                                                      United
Kmart Operations Llc             1701 4th Ave W         Charleston       WV   25387   States
                                                                                      United
Kmart Operations Llc             731 Beverly Pike       Elkins           WV   26241   States
                                                                                      United
Kmart Operations Llc             101 Great Teays Blvd   Scott Depot      WV   25560   States




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                                                                                     United
Kmart Operations Llc              4000 East 2nd Street   Casper         WY   82609   States
                                  2150 South Douglas                                 United
Kmart Operations Llc              Hwy                    Gillette       WY   82716   States
                                  2851 Belt Line                                     United
Kmart Stores Of Illinois, LLC     Parkway                Alton          IL   62002   States
                                                                                     United
Kmart Stores Of Illinois, LLC     500 W Chrysler Dr      Belvidere      IL   61008   States
                                  156 South Gary                                     United
Kmart Stores Of Illinois, LLC     Avenue                 Bloomingdale   IL   60108   States
                                                                                     United
Kmart Stores Of Illinois, LLC     7325 W 79Th Street     Bridgeview     IL   60455   States
                                                                                     United
Kmart Stores Of Illinois, LLC     5033 North Elston      Chicago        IL   60630   States
                                                                                     United
Kmart Stores Of Illinois, LLC     6000 Northwest Hwy     Crystal Lake   IL   60014   States
                                                                                     United
Kmart Stores Of Illinois, LLC     2721 N Vermilion St    Danville       IL   61832   States
                                                                                     United
Kmart Stores Of Illinois, LLC     1155 E Pershing Rd     Decatur        IL   62526   States
                                                                                     United
Kmart Stores Of Illinois, LLC     1155 Oakton St         Des Plaines    IL   60018   States
                                                                                     United
Kmart Stores Of Illinois, LLC     1006 N Keller Dr       Effingham      IL   62401   States
                                                                                     United
Kmart Stores Of Illinois, LLC     265 S State Rte 83     Elmhurst       IL   60126   States
                                  1150 W Carl                                        United
Kmart Stores Of Illinois, LLC     Sandburg Dr            Galesburg      IL   61401   States
                                                                                     United
Kmart Stores Of Illinois, LLC     4210 N Harlem Ave      Norridge       IL   60706   States
                                                                                     United
Kmart Stores Of Illinois, LLC     4101 W 95Th St         Oak Lawn       IL   60453   States
                                                                                     United
Kmart Stores Of Illinois, LLC     3701 Broadway St       Quincy         IL   62301   States
                                                                                     United
Kmart Stores Of Illinois, LLC     5909 E State Street    Rockford       IL   61108   States
                                                                                     United
Kmart Stores Of Illinois, LLC     3250 Clear Lake Rd     Springfield    IL   62702   States
                                                                                     United
Kmart Stores Of Texas, LLC        1120 Mc Rae Blvd       El Paso        TX   79925   States
                                                                                     United
Kmart Stores Of Texas, LLC        11330 Montwood Dr      El Paso        TX   79936   States
                                                                                     United
Kmart Stores Of Texas, LLC        6375 Montana Blvd      El Paso        TX   79925   States
                                  1101 Fort Hood                                     United
Kmart Stores Of Texas, LLC        Street                 Killeen        TX   76541   States




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                                 1801 South 10Th                                         United
Kmart Stores Of Texas, LLC       Street                  Mcallen            TX   78503   States
                                 1405 East                                               United
Kmart Stores Of Texas, LLC       Expressway 83           Mission            TX   78572   States
                                                                                         United
Kmart Stores Of Texas, LLC       1400 Wildcat Drive      Portland           TX   78374   States
                                                                                         United
Kmart Stores Of Texas, LLC       210 Se Georgia Ave      Sweetwater         TX   79556   States
                                                                                         United
Sears Development Co.            500 Stonewood St        Downey             CA   90241   States
                                                                                         United
Sears Development Co.            1111 Franklin Ave       Garden City        NY   11530   States
                                 760 Market Street;                                      United
Sears Holdings Corporation       Suite 200 & Suite 600   San Francisco      CA   94102   States
                                 101 Merritt 7                                           United
Sears Holdings Corporation       Corporate Park          Norwalk            CT   06830   States
Sears Holdings Management        1735 Technology                                         United
Corp.                            Drive, Suite 600        San Jose           CA   95110   States
Sears Holdings Management                                                                United
Corp.                            75 Holly Hill Lane      Greenwich          CT   06830   States
Sears Holdings Management        2 N State Street;                                       United
Corp.                            Suite 1110 & 1200       Chicago            IL   60602   States
Sears Holdings Management                                                                United
Corp.                            2240 Cunningham Dr      Troy               MI   48084   States
Sears Holdings Management        75 Varick Street; 8th   Borough Of                      United
Corp.                            Floor                   Manhattan          NY   10013   States
Sears Holdings Management        2301 West Plano                                         United
Corp.                            Parkwayl, Suite 201     Plano              TX   75075   States
Sears Holdings Management                                                                United
Corp.                            1415 Ne 45th Street     Seattle            WA   98105   States
Sears Holdings Management                                                                United
Corporation                      3333 Beverly Road       Hoffman Est        IL   60179   States
Sears Home Improvement           2194-A Parkway                                          United
Products, Inc.                   Lake Dr                 Birmingham         AL   35244   States
Sears Home Improvement           4401 Baseline Rd;                                       United
Products, Inc.                   Ste 205                 Phoenix            AZ   85042   States
Sears Home Improvement                                                                   United
Products, Inc.                   283 E Airway Blvd       Livermore          CA   94551   States
Sears Home Improvement           1200 Del Paso Rd;                                       United
Products, Inc.                   Ste 100                 Sacramento         CA   95834   States
Sears Home Improvement           9586 Distribution                                       United
Products, Inc.                   Ave; Ste F              San Diego          CA   92121   States
Sears Home Improvement           28159 Avenue                                            United
Products, Inc.                   Stanford                Santa Clarita      CA   91355   States
Sears Home Improvement                                                                   United
Products, Inc.                   10415 Slushier Dr       Santa Fe Springs   CA   90670   States




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Sears Home Improvement           12330e 46th Ave;                                    United
Products, Inc.                   Unit 300               Denver          CO   80239   States
Sears Home Improvement                                                               United
Products, Inc.                   51 Belamose Ave        Rocky Hill      CT   06067   States
Sears Home Improvement           1260 American Way                                   United
Products, Inc.                   #156                   Altamonte Spg   FL   32750   States
Sears Home Improvement           1024 Florida Central                                United
Products, Inc.                   Pkwy                   Longwood        FL   32750   States
Sears Home Improvement                                                               United
Products, Inc.                   8761 Ely Rd; Unit B    Pensacola       FL   32514   States
Sears Home Improvement                                                               United
Products, Inc.                   4713 Oak Fair Blvd     Tampa           FL   33610   States
Sears Home Improvement           1650 International                                  United
Products, Inc.                   Court, Unit 200        Norcross        GA   30093   States
Sears Home Improvement           1370 E Higgins Rd;                                  United
Products, Inc.                   Unit B                 Elk Grove Vlg   IL   60007   States
Sears Home Improvement           8901 W 192nd                                        United
Products, Inc.                   Street; Ste C          Mokena          IL   60448   States
Sears Home Improvement           8246 Neiman Rd                                      United
Products, Inc.                   Bldg 1                 Lenexa          KS   66214   States
Sears Home Improvement           12900 Fenwick                                       United
Products, Inc.                   Center Dr; Ste B       Louisville      KY   40223   States
Sears Home Improvement           110 Widgeon Dr; Ste                                 United
Products, Inc.                   190                    St Rose         LA   70087   States
Sears Home Improvement                                                               United
Products, Inc.                   365 University Ave     Westwood        MA   02090   States
Sears Home Improvement           2700 Lord Baltimore                                 United
Products, Inc.                   Dr; Ste 140            Baltimore       MD   21244   States
Sears Home Improvement                                                               United
Products, Inc.                   46985 Enterprise Ct    Wixom           MI   48393   States
Sears Home Improvement                                                               United
Products, Inc.                   12930 Hollenberg Dr    Bridgeton       MO   63044   States
Sears Home Improvement           104 Business Park                                   United
Products, Inc.                   Drive; Suite A         Ridgeland       MS   39157   States
Sears Home Improvement           8301 Arrowridge                                     United
Products, Inc.                   Blvd; Suite A          Charlotte       NC   28273   States
Sears Home Improvement           4523 Green Point                                    United
Products, Inc.                   Drive                  Greensboro      NC   27410   States
Sears Home Improvement                                                               United
Products, Inc.                   50 Williams Parkway    East Hanover    NJ   07936   States
Sears Home Improvement                                                               United
Products, Inc.                   41 Twosome Dr          Moorestown      NJ   08057   States
Sears Home Improvement                                                               United
Products, Inc.                   4 Airport Park Blvd    Latham          NY   12110   States
Sears Home Improvement                                                               United
Products, Inc.                   35 Melville Park Rd    Melville        NY   11746   States




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Sears Home Improvement                                                                    United
Products, Inc.                   5 Plain Ave            New Rochelle        NY   10801    States
Sears Home Improvement                                                                    United
Products, Inc.                   2204 City Gate Drive   Columbus            OH   43219    States
Sears Home Improvement           6230 Bush Blvd Ste                                       United
Products, Inc.                   100 (Carlton Bldg)     Columbus            OH   43229    States
Sears Home Improvement                                                                    United
Products, Inc.                   4829 Galaxy Pky        Warrensvll Ht       OH   44128    States
Sears Home Improvement                                                                    United
Products, Inc.                   12626 E. 60th Street   Tulsa               OK   74146    States
Sears Home Improvement           16131 Se Evelyn                                          United
Products, Inc.                   Street                 Clackamas           OR    97015   States
Sears Home Improvement           1022 Corporate                                           United
Products, Inc.                   Lane, Bldg #2          Export              PA   15632    States
Sears Home Improvement                                                                    United
Products, Inc.                   800 Calcon Hook Rd     Sharon Hill         PA   19079    States
Sears Home Improvement                                                                    United
Products, Inc.                   2110 Commerce Dr       Cayce               SC   29033    States
Sears Home Improvement           1710 Shelby Oaks                                         United
Products, Inc.                   Drive                  Memphis             TN   38134    States
Sears Home Improvement           5010 Linbar Drive #                                      United
Products, Inc.                   125                    Nashville           TN   37211    States
Sears Home Improvement                                                                    United
Products, Inc.                   1335 Geronimo Dr       El Paso             TX    79925   States
Sears Home Improvement                                                                    United
Products, Inc.                   10055 Regal Row        Houston             TX   77040    States
Sears Home Improvement                                                                    United
Products, Inc.                   5696 Randolph Blvd     San Antonio         TX   78233    States
Sears Home Improvement                                                                    United
Products, Inc.                   2027 S 4130 W          Salt Lake Cty       UT   84104    States
Sears Home Improvement           5340 S Laburnum                                          United
Products, Inc.                   Ave                    Richmond            VA   23231    States
Sears Home Improvement           3325 S 116th St;                                         United
Products, Inc.                   Suite 109              Seattle/Tukwila     WA   98168    States
Sears Home Improvement           13040 W Lisbon Rd;                                       United
Products, Inc.                   Bldg 2 Ste 300         Brookfield          WI   53005    States
                                                                                          United
Sears Operations Llc             3930 Mccain Blvd       North Little Rock   AR   72116    States
                                 4800 N Us Highway                                        United
Sears Operations Llc             89                     Flagstaff           AZ   86004    States
                                                                                          United
Sears Operations Llc             6515 E Southern Ave    Mesa                AZ   85206    States
                                 5950 E Broadway                                          United
Sears Operations Llc             Blvd                   Park Mall           AZ   85711    States
                                                        Phoenix-Desert                    United
Sears Operations Llc             7611 W Thomas Rd       Sky                 AZ   85033    States




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                                                                                       United
Sears Operations Llc             3400 Gateway Blvd       Prescott         AZ   86303   States
                                 2250 El Mercado                                       United
Sears Operations Llc             Loop                    Sierra Vista     AZ   85635   States
                                                                                       United
Sears Operations Llc             3150 S 4th Ave          Yuma             AZ   85364   States
                                 20700 S Avalon Blvd                                   United
Sears Operations Llc             Ste 100                 Carson           CA   90746   States
                                                                                       United
Sears Operations Llc             565 Broadway            Chula Vista      CA   91910   States
                                                         Citrus Hts-                   United
Sears Operations Llc             5900 Sunrise Mall       Sunrise          CA   95610   States
                                                                                       United
Sears Operations Llc             575 Fletcher Pkwy       El Cajon         CA   92020   States
                                                                                       United
Sears Operations Llc             3751 S Dogwood Ave      El Centro        CA   92243   States
                                                                                       United
Sears Operations Llc             1420 Travis Blvd        Fairfield        CA   94533   States
                                                                                       United
Sears Operations Llc             5901 Florin Rd          Florin           CA   95823   States
                                 3636 N Blackstone                                     United
Sears Operations Llc             Ave                     Fresno           CA   93726   States
                                                                                       United
Sears Operations Llc             1011 W Olive Ave        Merced           CA   95348   States
                                                                                       United
Sears Operations Llc             5080 Montclair Plz Ln   Montclair        CA   91763   States
                                                                                       United
Sears Operations Llc             22550 Town Cir          Moreno Vly       CA   92553   States
                                                                                       United
Sears Operations Llc             6000 Mowry Ave          Newark           CA   94560   States
                                                                                       United
Sears Operations Llc             12121 Victory Blvd      No Hollywood     CA   91606   States
                                                                                       United
Sears Operations Llc             9301 Tampa Ave          Northridge       CA   91324   States
                                                                                       United
Sears Operations Llc             72-880 Hwy 111          Palm Desert      CA   92260   States
                                                                                       United
Sears Operations Llc             5261 Arlington Ave      Riverside        CA   92504   States
                                                                                       United
Sears Operations Llc             1191 Galleria Blvd      Roseville        CA   95678   States
                                                                                       United
Sears Operations Llc             1700 N Main St          Salinas          CA   93906   States
                                                                                       United
Sears Operations Llc             100 Inland Ctr          San Bernardino   CA   92408   States
                                                                                       United
Sears Operations Llc             1178 El Camino Real     San Bruno        CA   94066   States




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                                 4575 La Jolla Village                                  United
Sears Operations Llc             Dr                      San Diego-North   CA   92122   States
                                                         San Jose-                      United
Sears Operations Llc             2180 Tully Rd           Eastridge         CA   95122   States
                                                                                        United
Sears Operations Llc             4015 Capitola Rd        Santa Cruz        CA   95062   States
                                                                                        United
Sears Operations Llc             200 Town Ctr E          Santa Maria       CA   93454   States
                                                                                        United
Sears Operations Llc             302 Colorado Ave        Santa Monica      CA   90401   States
                                                                                        United
Sears Operations Llc             40710 Winchester Rd     Temecula          CA   92591   States
                                                                                        United
Sears Operations Llc             3295 E Main St          Ventura           CA   93003   States
                                                                                        United
Sears Operations Llc             1209 Plz Dr             West Covina       CA   91790   States
                                                                                        United
Sears Operations Llc             100 Westminster Mall    Westminster       CA   92683   States
                                                                                        United
Sears Operations Llc             10785 W Colfax Ave      Lakewood          CO   80215   States
                                                                                        United
Sears Operations Llc             850 Hartford Tnpk       Waterford         CT   06385   States
                                                                                        United
Sears Operations Llc             1445 New Britain Ave    West Hartford     CT   06110   States
                                 451 E Altamonte Dr                                     United
Sears Operations Llc             Ste 401                 Altamonte Spg     FL   32714   States
                                                                                        United
Sears Operations Llc             5900 Glades Rd          Boca Raton        FL   33431   States
                                 303 Us Hwy 301 Blvd                                    United
Sears Operations Llc             W                       Bradenton         FL   34205   States
                                 27001 Us 19 N                                          United
Sears Operations Llc             Suite 8520              Clearwater        FL   33761   States
                                                                                        United
Sears Operations Llc             1625 Nw 107th Ave       Doral(Miami)      FL   33172   States
                                 4125 Cleveland Ave                                     United
Sears Operations Llc             Suite 88                Ft Myers          FL   33901   States
                                                                                        United
Sears Operations Llc             6201 W Newberry Rd      Gainesville       FL   32605   States
                                                                                        United
Sears Operations Llc             1625 W 49th St          Hialeah           FL   33012   States
                                 3800 Us Highway 98                                     United
Sears Operations Llc             N Ste 500               Lakeland          FL   33809   States
                                                                                        United
Sears Operations Llc             1050 S Babcock St       Melbourne         FL   32901   States
                                                                                        United
Sears Operations Llc             19505 Biscayne Blvd     Miami             FL   33180   States




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                                                                                     United
Sears Operations Llc             20701 Sw 112th Ave     Miami           FL   33189   States
                                                                                     United
Sears Operations Llc             2000 9th St N          Naples          FL   34102   States
                                 3100 Sw College Rd                                  United
Sears Operations Llc             Ste 300                Ocala           FL   34474   States
                                                                                     United
Sears Operations Llc             733 N Highway 231      Panama City     FL   32405   States
                                                                                     United
Sears Operations Llc             7171 N Davis Hwy       Pensacola       FL   32504   States
                                 8000 W Broward Blvd                                 United
Sears Operations Llc             Ste 100                Plantation      FL   33388   States
                                                                                     United
Sears Operations Llc             8201 S Tamiami Trail   Sarasota        FL   34238   States
                                                                                     United
Sears Operations Llc             2300 Tyrone Blvd N     St Petersburg   FL   33710   States
                                 1500 Cumberland                                     United
Sears Operations Llc             Mall Se                Atlanta         GA   30339   States
                                                                                     United
Sears Operations Llc             7810 Abercorn St       Savannah        GA   31406   States
                                                                                     United
Sears Operations Llc             4600 1st Ave Ne        Cedar Rapids    IA   52402   States
                                                                                     United
Sears Operations Llc             460 N Milwaukee St     Boise           ID   83704   States
                                                                                     United
Sears Operations Llc             1601 N Harlem Ave      Chicago         IL   60707   States
                                 4730 W Irving Park                                  United
Sears Operations Llc             Rd                     Chicago         IL   60641   States
                                                                                     United
Sears Operations Llc             3340 Mall Loop Dr      Joliet          IL   60431   States
                                                                                     United
Sears Operations Llc             7503 W Cermak Rd       N Riverside     IL   60546   States
                                                                                     United
Sears Operations Llc             2 Orland Sq            Orland Park     IL   60462   States
                                                                                     United
Sears Operations Llc             4201 Coldwater Rd      Ft Wayne        IN   46805   States
                                                                                     United
Sears Operations Llc             9701 Metcalf Ave       Overland Pk     KS   66212   States
                                                                                     United
Sears Operations Llc             5101 Hinkleville Rd    Paducah         KY   42001   States
                                                                                     United
Sears Operations Llc             5715 Johnston St       Lafayette       LA   70503   States
                                                                                     United
Sears Operations Llc             1325 Broadway          Saugus          MA   01906   States
                                                                                     United
Sears Operations Llc             15700 Emerald Way      Bowie           MD   20716   States




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                                                                                      United
Sears Operations Llc             126 Shawan Rd          Cockeysville     MD   21030   States
                                                                                      United
Sears Operations Llc             17318 Valley Mall Rd   Hagerstown       MD   21740   States
                                 1250 Jackson Xing                                    United
Sears Operations Llc             I-94                   Jackson          MI   49202   States
                                                                                      United
Sears Operations Llc             2100 Southfield Rd     Lincoln Park     MI   48146   States
                                                                                      United
Sears Operations Llc             32123 Gratiot Ave      Roseville        MI   48066   States
                                                                                      United
Sears Operations Llc             300 W 14 Mile Rd       Troy             MI   48083   States
                                                                                      United
Sears Operations Llc             14250 Buck Hill Rd     Burnsville       MN   55306   States
                                 3001 White Bear Ave                                  United
Sears Operations Llc             N                      Maplewood        MN   55109   States
                                                                                      United
Sears Operations Llc             425 Rice St            St Paul          MN   55103   States
                                                                                      United
Sears Operations Llc             1500 S Willow St       Manchester       NH   03103   States
                                 50 Fox Run Rd Ste                                    United
Sears Operations Llc             74                     Portsmouth       NH   03801   States
                                 77 Rockingham Park                                   United
Sears Operations Llc             Blvd                   Salem            NH   03079   States
                                                                                      United
Sears Operations Llc             1500 Highway 35        Middletown       NJ   07748   States
                                                                                      United
Sears Operations Llc             50 Route 46            Wayne            NJ   07470   States
                                                        Las                           United
Sears Operations Llc             4000 Meadow Ln         Vegas(Meadows)   NV   89107   States
                                 5400 Meadowood                                       United
Sears Operations Llc             Mall Cir               Reno             NV   89502   States
                                                                                      United
Sears Operations Llc             1425 Central Ave       Albany           NY   12205   States
                                                                                      United
Sears Operations Llc             4155 State Rt 31       Clay             NY   13041   States
                                                                                      United
Sears Operations Llc             4000 Jericho Tpke      East Northport   NY   11731   States
                                                                                      United
Sears Operations Llc             195 N Broadway         Hicksville       NY   11801   States
                                                                                      United
Sears Operations Llc             Rt 17 Expy Exit 70     Johnson City     NY   13790   States
                                 317 Greece Ridge       Rochester-                    United
Sears Operations Llc             Center Dr              Greece           NY   14626   States
                                                                                      United
Sears Operations Llc             200 Eastview Mall      Victor           NY   14564   States




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                                                                                      United
Sears Operations Llc             600 Lee Blvd           Yorktown Hts     NY   10598   States
                                 4100 Belden Village                                  United
Sears Operations Llc             Mall                   Canton           OH   44718   States
                                                                                      United
Sears Operations Llc             2000 Brittain Rd       Chapel Hill      OH   44310   States
                                 2700 Miamisburg                                      United
Sears Operations Llc             Centerville Rd         Dayton Mall      OH   45459   States
                                 7875 Johnnycake                                      United
Sears Operations Llc             Ridge Rd               Mentor           OH   44060   States
                                                                                      United
Sears Operations Llc             6950 W 130th St        Middleburg Hts   OH   44130   States
                                                                                      United
Sears Operations Llc             3408 W Central Ave     Toledo           OH   43606   States
                                                                                      United
Sears Operations Llc             4400 S Western Ave     Oklahoma City    OK   73109   States
                                                                                      United
Sears Operations Llc             11800 Se 82nd Ave      Happy Valley     OR   97086   States
                                 Intsctn St Rd Pr 1 &                                 United
Sears Operations Llc             Pr 156                 Caguas           PR   00725   States
                                                                                      United
Sears Operations Llc             Carolina S/C           Carolina         PR   00988   States
                                                                                      United
Sears Operations Llc             650 Bald Hill Rd       Warwick          RI   02886   States
                                                                                      United
Sears Operations Llc             7801 Rivers Ave        Northwoods       SC   29406   States
                                 2800 N Germantown                                    United
Sears Operations Llc             Prkway                 Cordova          TN   38133   States
                                                                                      United
Sears Operations Llc             12625 N I-H 35         Austin           TX   78753   States
                                                                                      United
Sears Operations Llc             201 Central Park       Central Park     TX   78216   States
                                                                                      United
Sears Operations Llc             300 Baybrook Mall      Friendswood      TX   77546   States
                                                                                      United
Sears Operations Llc             6301 Nw Loop 410       Ingram           TX   78238   States
                                                                                      United
Sears Operations Llc             2501 Irving Mall       Irving           TX   75062   States
                                 303 Memorial City                                    United
Sears Operations Llc             Mall                   Memorial         TX   77024   States
                                                                                      United
Sears Operations Llc             4000 N Shepherd Dr     Shepherd         TX   77018   States
                                 3450 W Camp                                          United
Sears Operations Llc             Wisdom Rd              Southwest Ctr    TX   75237   States
                                                                                      United
Sears Operations Llc             13131 Preston Rd       Valley View      TX   75240   States




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                                                                                      United
Sears Operations Llc             9570 Southwest Frwy    Westwood         TX   77074   States
                                 7453 S Plaza Center                                  United
Sears Operations Llc             Dr                     West Jordan      UT   84084   States
                                                                                      United
Sears Operations Llc             5901 Duke St           Alexandria       VA   22304   States
                                 1401 Greenbrier                                      United
Sears Operations Llc             Pkwy                   Greenbrier       VA   23320   States
                                                                                      United
Sears Operations Llc             12000 Fair Oaks Mall   Fairfax          VA   22033   States
                                 100 Newmarket Fair                                   United
Sears Operations Llc             Mall                   Hampton          VA   23605   States
                                 4588 Virginia Beach                                  United
Sears Operations Llc             Blvd                   Virginia Beach   VA   23462   States
                                 141 West Lee                                         United
Sears Operations Llc             Highway                Warrenton        VA   20186   States
                                                        Redmond-                      United
Sears Operations Llc             2200-148th Ave Ne      Overlake Pk      WA   98052   States
                                 8800 Ne Vancouver                                    United
Sears Operations Llc             Mall Dr                Vancouver        WA   98662   States
                                                                                      United
Sears Operations Llc             5200 S 76th St         Greendale        WI   53129   States
                                                                                      United
Sears, Roebuck & Co.             600 S University Ave   Little Rock      AR   72205   States
                                                                                      United
Sears, Roebuck & Co.             4121 Valley Blvd       Los Angeles      CA   90032   States
                                                                                      United
Sears, Roebuck & Co.             8301 Flying Cloud Dr   Eden Prairie     MN   55344   States
                                                                                      United
Sears, Roebuck & Co.             1931 N Rainbow Blvd    Las Vegas        NV   89108   States
                                                                                      United
Sears, Roebuck & Co.             3105 Erie Blvd E       De Witt          NY   13214   States
                                                                                      United
Sears, Roebuck & Co.             3121 Vestal Pkwy E     Vestal           NY   13851   States
                                 6300 Enterprise Park                                 United
Sears, Roebuck & Co.             Dr; Ste A              Chattanooga      TN   37416   States
                                                                                      United
Sears, Roebuck & Co.             3701 North Mccoll      Mcallen          TX   78503   States
                                                                                      United
Sears, Roebuck & Co.             333 Fair St            Chehalis         WA   98531   States
                                 700 E Northern                                       United
Sears, Roebuck And Co.           Lights Blvd            Anchorage        AK   99503   States
                                 5900 Old Seward                                      United
Sears, Roebuck And Co.           Highway                Anchorage(Sur)   AK   99503   States
                                                                                      United
Sears, Roebuck And Co.           3115 Airport Way       Fairbanks        AK   99709   States




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                                 1000 S Seward                                        United
Sears, Roebuck And Co.           Meridian Rd             Wasilla         AK   99654   States
                                                                                      United
Sears, Roebuck And Co.           416 W 21St St           Anniston        AL   36201   States
                                                                                      United
Sears, Roebuck And Co.           196 Vulcan Rd           Birmingham      AL   35209   States
                                 2500 Riverchase                                      United
Sears, Roebuck And Co.           Galleria                Birmingham      AL   35244   States
                                                                                      United
Sears, Roebuck And Co.           7500 Crestwood Blvd     Birmingham      AL   35210   States
                                                                                      United
Sears, Roebuck And Co.           301 Cox Creek Pkwy      Florence        AL   35630   States
                                                                                      United
Sears, Roebuck And Co.           1001 Rainbow Dr         Gadsden         AL   35901   States
                                 5901 University Dr                                   United
Sears, Roebuck And Co.           Nw                      Huntsville      AL   35806   States
                                 5901 University Drive                                United
Sears, Roebuck And Co.           Nw                      Huntsville      AL   35806   States
                                 3412 Demotropolis                                    United
Sears, Roebuck And Co.           Rd                      Mobile          AL   36693   States
                                                                                      United
Sears, Roebuck And Co.           311 Northeast Blvd      Montgomery      AL   36117   States
                                                                                      United
Sears, Roebuck And Co.           700 Quintard Dr         Oxford          AL   36203   States
                                                                                      United
Sears, Roebuck And Co.           207 University Mall     Tuscaloosa      AL   35404   States
                                                                                      United
Sears, Roebuck And Co.           4201 N Shiloh Dr        Fayetteville    AR   72703   States
                                 4501 Central Ave Ste                                 United
Sears, Roebuck And Co.           101                     Hot Springs     AR   71913   States
                                                                                      United
Sears, Roebuck And Co.           1901 S Caraway Rd       Jonesboro       AR   72401   States
                                                                                      United
Sears, Roebuck And Co.           600 S University Ave    Little Rock     AR   72205   States
                                                                                      United
Sears, Roebuck And Co.           3930 Mccain Blvd        N Little Rock   AR   72116   States
                                 3175 W Chandler Vlg                                  United
Sears, Roebuck And Co.           Dr                      Chandler        AZ   85226   States
                                 3177 Chandler                                        United
Sears, Roebuck And Co.           Village Dr              Chandler        AZ   85226   States
                                 4800 N Us Highway                                    United
Sears, Roebuck And Co.           89                      Flagstaff       AZ   86004   States
                                 7780 W Arrowhead                                     United
Sears, Roebuck And Co.           Towne Ctr               Glendale        AZ   85308   States
                                 7785 Arrowhead                                       United
Sears, Roebuck And Co.           Center                  Glendale        AZ   85308   States




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                                                                                      United
Sears, Roebuck And Co.           6343 E Southern Ave   Mesa              AZ   85206   States
                                 952 E Baseline Rd;                                   United
Sears, Roebuck And Co.           Ste 111               Mesa              AZ   85204   States
                                                                                      United
Sears, Roebuck And Co.           4604 E Cactus Rd      Paradise Vly      AZ   85032   States
                                 12820 N Tatum                                        United
Sears, Roebuck And Co.           Blvd/Paradise Vl      Phoenix           AZ   85032   States
                                                                                      United
Sears, Roebuck And Co.           1717 E Mcdowell Rd    Phoenix           AZ   85006   States
                                 Westridge Sc--7611                                   United
Sears, Roebuck And Co.           W Thomas Rd           Phoenix           AZ   85075   States
                                                                                      United
Sears, Roebuck And Co.           3400 Gateway Blvd     Prescott          AZ   86303   States
                                 15500 Greenway-       Scottsdale -                   United
Sears, Roebuck And Co.           Hayden Loop           Showroom          AZ   85260   States
                                 2250 El Mercado                                      United
Sears, Roebuck And Co.           Loop                  Sierra Vista      AZ   85635   States
                                                                                      United
Sears, Roebuck And Co.           8440 S Hardy Dr       Tempe             AZ   85284   States
                                                                                      United
Sears, Roebuck And Co.           4570 N Oracle Rd      Tucson            AZ   85705   States
                                                                                      United
Sears, Roebuck And Co.           5950 E Broadway       Tucson            AZ   85711   States
                                 3850 W. Orange        Tucson (Marana)                United
Sears, Roebuck And Co.           Grove Road            - Showroom        AZ   85741   States
                                                                                      United
Sears, Roebuck And Co.           3150 S 4Th Ave        Yuma              AZ   85364   States
                                 2600 County E Ml-                                    United
Sears, Roebuck And Co.           Somersvile Rd         Antioch           CA   94509   States
                                                                                      United
Sears, Roebuck And Co.           2600 Somersville Rd   Antioch           CA   94509   States
                                                                                      United
Sears, Roebuck And Co.           1601 Arden Way        Arden             CA   95815   States
                                                                                      United
Sears, Roebuck And Co.           3001 Ming Ave         Bakersfield       CA   93304   States
                                 3755 Santa Rosalia                                   United
Sears, Roebuck And Co.           Dr                    Baldwin Hills     CA   90008   States
                                                                                      United
Sears, Roebuck And Co.           2650 E Olympic Blvd   Boyle             CA   90023   States
                                                                                      United
Sears, Roebuck And Co.           8150 La Palma Ave     Buena Park        CA   90620   States
                                 8150 La Palma                                        United
Sears, Roebuck And Co.           Ave/Buena Pk Ml       Buena Park        CA   90620   States
                                                                                      United
Sears, Roebuck And Co.           111 E Magnolia Blvd   Burbank           CA   91502   States




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                                                                                    United
Sears, Roebuck And Co.           2561 El Camino Real     Carlsbad      CA   92008   States
                                                                                    United
Sears, Roebuck And Co.           100 Los Cerritos Mall   Cerritos      CA   90703   States
                                                                                    United
Sears, Roebuck And Co.           1982 E 20Th St          Chico         CA   95928   States
                                                                                    United
Sears, Roebuck And Co.           565 Broadway            Chula Vista   CA   91910   States
                                                                                    United
Sears, Roebuck And Co.           5900 Sunrise Mall       Citrus Hts    CA   95610   States
                                                                                    United
Sears, Roebuck And Co.           1140 Shaw Ave           Clovis        CA   93612   States
                                                                                    United
Sears, Roebuck And Co.           1001 Sunvalley Blvd     Concord       CA   94520   States
                                                                                    United
Sears, Roebuck And Co.           1001 Willowpass Rd      Concord       CA   94520   States
                                                         Concord-                   United
                                 2260 Commerce Ave       Mcphails                   States
Sears, Roebuck And Co.           Ste E                   Showroom      CA   94520
                                                                                    United
Sears, Roebuck And Co.           3333 Bristol St         Costa Mesa    CA   92626   States
                                 754 E Arrow Hwy;                                   United
Sears, Roebuck And Co.           Ste A                   Covina        CA   91724   States
                                                                                    United
Sears, Roebuck And Co.           600 Stonewood           Downey        CA   90241   States
                                 1406 North Johnson                                 United
Sears, Roebuck And Co.           Ave                     El Cajon      CA   92020   States
                                                                                    United
Sears, Roebuck And Co.           575 Fletcher Pkwy       El Cajon      CA   92020   States
                                                                                    United
Sears, Roebuck And Co.           603 E Danenberg Dr      El Centro     CA   92243   States
                                 210 E Via Rancho                                   United
Sears, Roebuck And Co.           Pkwy                    Escondido     CA   92025   States
                                                                                    United
Sears, Roebuck And Co.           3300 Broadway           Eureka        CA   95501   States
                                 3300 Broadway -                                    United
Sears, Roebuck And Co.           Bayshore Mall           Eureka        CA   95501   States
                                                                                    United
Sears, Roebuck And Co.           1495 Gateway Blvd       Fairfield     CA   94533   States
                                                                                    United
Sears, Roebuck And Co.           14650 Miller Ave        Fontana       CA   92336   States
                                                                                    United
Sears, Roebuck And Co.           1906 E Garland Ave      Fresno        CA   93726   States
                                                                                    United
Sears, Roebuck And Co.           1922 N HELM AVE         Fresno        CA   93727   States
                                                                                    United
Sears, Roebuck And Co.           211 W California St     Glendale      CA   91203   States



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                                                                                       United
Sears, Roebuck And Co.           236 N Central Ave      Glendale          CA   91203   States
                                 Hanford Mall - 1545                                   United
Sears, Roebuck And Co.           Mall Drive             Hanford           CA   93230   States
                                                                                       United
Sears, Roebuck And Co.           660 W Winton Ave       Hayward           CA   94545   States
                                                                                       United
Sears, Roebuck And Co.           662 W Winton Ave       Hayward           CA   94545   States
                                                                                       United
Sears, Roebuck And Co.           2200 W Florida Ave     Hemet             CA   92545   States
                                                                                       United
Sears, Roebuck And Co.           5436 Woodruff Ave      Lakewood          CA   90713   States
                                 2100 N Bellflower                                     United
Sears, Roebuck And Co.           Blvd                   Long Beach        CA   90815   States
                                 Baldwin Hls-3755                                      United
Sears, Roebuck And Co.           Santa Rosalia          Los Angeles       CA   90008   States
                                                                                       United
Sears, Roebuck And Co.           4326 Forcum Ave        Mcclellan         CA   95652   States
                                                                                       United
Sears, Roebuck And Co.           31381 POND ROAD        Mcfarland         CA   93250   States
                                 11385 Venture Dr;      Mira                           United
Sears, Roebuck And Co.           Bldg A                 Loma(Jurupa Vl)   CA   91752   States
                                 100 Vintage Faire                                     United
Sears, Roebuck And Co.           Mall                   Modesto           CA   95356   States
                                 5080 E Montclair Plz                                  United
Sears, Roebuck And Co.           Ln                     Montclair         CA   91763   States
                                 1401 N Montebello                                     United
Sears, Roebuck And Co.           Blvd                   Montebello        CA   90640   States
                                 Moreno Vly Mall-                                      United
Sears, Roebuck And Co.           22560 Town Cir         Moreno Valley     CA   92553   States
                                                                                       United
Sears, Roebuck And Co.           6000 Mowry Ave         Newark            CA   94560   States
                                                                                       United
Sears, Roebuck And Co.           13007 Sherman Way      No Hollywood      CA   91605   States
                                 1000 Northridge                                       United
Sears, Roebuck And Co.           Fashion Ctr            Northridge        CA   91324   States
                                                                                       United
Sears, Roebuck And Co.           5540 Winfield Blvd     Oak Ridge         CA   95123   States
                                                                                       United
Sears, Roebuck And Co.           2530 S Euclid Ave      Ontario           CA   91762   States
                                                                                       United
Sears, Roebuck And Co.           2100 N Tustin St       Orange            CA   92865   States
                                 44430 TOWN                                            United
Sears, Roebuck And Co.           CENTER WAY             Palm Desert       CA   92260   States
                                                                                       United
Sears, Roebuck And Co.           1453 W Avenue P        Palmdale          CA   93551   States




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                                                                                         United
Sears, Roebuck And Co.           3801 E Foothill Blvd    Pasadena          CA   91107    States
                                                                                         United
Sears, Roebuck And Co.           1700 Stoneridge Dr      Pleasanton        CA   94588    States
                                                                                         United
Sears, Roebuck And Co.           Foothill Crossing       Rancho Cucamo     CA   91739    States
                                                                                         United
Sears, Roebuck And Co.           1403 Hilltop Dr         Redding           CA   96003    States
                                                                                         United
Sears, Roebuck And Co.           4485 Catapiller Road    Redding           CA   96003    States
                                 900 Island Drive;                                       United
Sears, Roebuck And Co.           Suite 150               Redwood City      CA   94065    States
                                                                                         United
Sears, Roebuck And Co.           2300 Hilltop Mall Rd    Richmond          CA   94806    States
                                                                                         United
Sears, Roebuck And Co.           5265 Arlington Ave      Riverside         CA   92504    States
                                                                                         United
Sears, Roebuck And Co.           1161 Galleria Blvd      Roseville         CA   95678    States
                                                                                         United
Sears, Roebuck And Co.           5901 Florin Rd          Sacramento        CA   95823    States
                                                                                         United
Sears, Roebuck And Co.           1100 Northridge Mall    Salinas           CA   93906    States
                                 12080 Carmel Mtn                                        United
Sears, Roebuck And Co.           Rd                      San Diego         Ca    92128   States
                                 4575 La Jolla Village                                   United
Sears, Roebuck And Co.           Dr                      San Diego         CA   92122    States
                                                                                         United
Sears, Roebuck And Co.           1202 S Sixth St         San Jose          CA   95112    States
                                                                                         United
Sears, Roebuck And Co.           2180 Tulley Rd          San Jose          CA   95122    States
                                                                                         United
Sears, Roebuck And Co.           877 Blossom Hill Rd     San Jose          CA   95123    States
                                                                                         United
Sears, Roebuck And Co.           273 Madonna Rd          San Luis Obispo   CA   93405    States
                                                                                         United
Sears, Roebuck And Co.           9000 Northgate Mall     San Rafael        CA   94903    States
                                 4330 Camino De La                                       United
Sears, Roebuck And Co.           Plaza                   San Ysidro        CA   92173    States
                                                                                         United
Sears, Roebuck And Co.           400 W Warner Ave        Santa Ana         CA   92707    States
                                                                                         United
Sears, Roebuck And Co.           3845 State St           Santa Barbara     CA   93105    States
                                                                                         United
Sears, Roebuck And Co.           24137 Valencia Blvd     Santa Clarita     CA   91355    States
                                                                                         United
Sears, Roebuck and Co.           4015 Capitola Rd        Santa Cruz        CA   95062    States




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                                 Town Ctr Ml--200                                   United
Sears, Roebuck and Co.           Town Ctr East         Santa Maria     CA   93454   States
                                                                                    United
Sears, Roebuck and Co.           100 Santa Rosa Plz    Santa Rosa      CA   95401   States
                                                                                    United
Sears, Roebuck and Co.           100 Santa Rose Plz    Santa Rosa      CA   95401   States
                                                                                    United
Sears, Roebuck and Co.           101 Inland Ctr Dr     Sn Bernardino   CA   92408   States
                                                                                    United
Sears, Roebuck and Co.           595 S "G" St          Sn Bernardino   CA   92410   States
                                 1310 Roundhouse                                    United
Sears, Roebuck and Co.           Ave                   Sn Luis Obspo   CA   93401   States
                                                                                    United
Sears, Roebuck and Co.           935 Sweetwater Rd     Spring Valley   CA   91977   States
                                                                                    United
Sears, Roebuck and Co.           5110 Pacific Ave      Stockton        CA   95207   States
                                 40680 Winchester                                   United
Sears, Roebuck and Co.           Rd(Promenade)         Temecula        CA   92591   States
                                                                                    United
Sears, Roebuck and Co.           22100 Hawthorn Blvd   Torrance        CA   90503   States
                                 22100 Hawthorne                                    United
Sears, Roebuck and Co.           Blvd                  Torrance        CA   90503   States
                                                                                    United
Sears, Roebuck and Co.           3350 Naglee Rd        Tracy           CA   95304   States
                                                                                    United
Sears, Roebuck and Co.           3350 S Naglee Rd      Tracy           CA   95376   States
                                 Buenaventura Ml-                                   United
Sears, Roebuck and Co.           3310 Telegraph        Ventura         CA   93003   States
                                                                                    United
Sears, Roebuck and Co.           5525 S. Soto Street   Vernon          CA   90058   States
                                                                                    United
Sears, Roebuck and Co.           13695 Mariposa Rd     Victorville     CA   92395   States
                                 14420 Bear Valley                                  United
Sears, Roebuck and Co.           Rd                    Victorville     CA   92392   States
                                 Victor Vly---14420                                 United
Sears, Roebuck and Co.           Bear Vly Rd           Victorville     CA   92392   States
                                                                                    United
Sears, Roebuck and Co.           610 S Sunset Ave      West Covina     CA   91790   States
                                 8407 FALLBROOK                                     United
Sears, Roebuck and Co.           AVE                   West Hills      CA   91304   States
                                                                                    United
Sears, Roebuck and Co.           15600 Whittwood Ln    Whittier        CA   90603   States
                                                                                    United
Sears, Roebuck and Co.           1235 Colusa Ave       Yuba City       CA   95991   States
                                 14200 E Alameda                                    United
Sears, Roebuck and Co.           Ave                   Aurora          CO   80012   States




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                                 7001 S University                                     United
Sears, Roebuck and Co.           Blvd                    Centennial       CO   80122   States
                                                                                       United
Sears, Roebuck and Co.           1650 Briargate Blvd     Colorado Spgs    CO   80920   States
                                                                                       United
Sears, Roebuck and Co.           2050 Southgate Rd       Colorado Spgs    CO   80906   States
                                                                                       United
Sears, Roebuck and Co.           205 E Foothills Pkwy    Ft Collins       CO   80525   States
                                                                                       United
Sears, Roebuck and Co.           2422 F Rd               Grand Jct        CO   81505   States
                                 2424 Hwy 6&50 -100                                    United
Sears, Roebuck and Co.           Mesa Mall               Grand Jct        CO   81505   States
                                                                                       United
Sears, Roebuck and Co.           100 Mesa Mall           Grand Junction   CO   81505   States
                                                                                       United
Sears, Roebuck and Co.           8501 W Bowles Ave       Littleton        CO   80123   States
                                                                                       United
Sears, Roebuck and Co.           8585 S Yosemite St      Lone Tree        CO   80124   States
                                                                                       United
Sears, Roebuck and Co.           930 E 104Th Ave         Northglenn       CO   80233   States
                                                                                       United
Sears, Roebuck and Co.           3201 Dillon Dr          Pueblo           CO   81008   States
                                                                                       United
Sears, Roebuck and Co.           16395 Washington St     Thornton         CO   80020   States
                                 7 Backus Ave (Ex 3                                    United
Sears, Roebuck and Co.           Rt 84)                  Danbury          CT   06810   States
                                 7 Backus Ave                                          United
Sears, Roebuck and Co.           Danbury Fair Mall       Danbury          CT   06810   States
                                                                                       United
Sears, Roebuck and Co.           104 Elm St              Enfield          CT   06082   States
                                                                                       United
Sears, Roebuck and Co.           190 Buckland Hills Dr   Manchester       CT   06040   States
                                                                                       United
Sears, Roebuck and Co.           470 Lewis Ave           Meriden          CT   06451   States
                                 1201 Boston Post Rd                                   United
Sears, Roebuck and Co.           Sp 2095                 Milford          CT   06460   States
                                 Westfield. 1201                                       United
                                 Boston Post/Conn Pt                                   States
Sears, Roebuck and Co.           2095                    Milford          CT   06460
                                                                                       United
Sears, Roebuck and Co.           705 Bridgeport Ave      Shelton          CT   06484   States
                                                                                       United
Sears, Roebuck and Co.           375 Union St            Waterbury        CT   06706   States
                                 850 Hartford                                          United
Sears, Roebuck and Co.           Tpk/Crystal Mall        Waterford        CT   06385   States
                                                                                       United
Sears, Roebuck and Co.           1445 New Britain Ave    West Hartford    CT   06110   States



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                                                                                      United
Sears, Roebuck and Co.           190 Frontage Rd        West Haven      CT   06516    States
                                 1000 Dover Mall/Rte                                  United
Sears, Roebuck and Co.           13                     Dover           DE   19901    States
                                                                                      United
Sears, Roebuck and Co.           500 Eagle Run Rd       Newark          DE    19702   States
                                                                                      United
Sears, Roebuck and Co.           4737 Concord Pike      Wilmington      DE   19803    States
                                 451 E Altamonte Dr                                   United
Sears, Roebuck and Co.           Ste 401                Altamonte Spg   FL   32701    States
                                                                                      United
Sears, Roebuck and Co.           5900 Glades Rd         Boca Raton      FL   33431    States
                                                                                      United
Sears, Roebuck and Co.           801 N Congress Ave     Boynton Beach   FL   33426    States
                                                                                      United
Sears, Roebuck and Co.           801 N Congress Ave     Boynton Beach   FL   33426    States
                                                                                      United
Sears, Roebuck and Co.           805 N Congress Ave     Boynton Beach   FL   33426    States
                                 303 Us Hwy 301 Blvd                                  United
Sears, Roebuck and Co.           W                      Bradenton       FL   34205    States
                                 686 Brandon Town                                     United
Sears, Roebuck and Co.           Center Mall            Brandon         FL   33511    States
                                 686 Brandon Town                                     United
Sears, Roebuck and Co.           Ctr                    Brandon         FL   33511    States
                                                                                      United
Sears, Roebuck and Co.           13085 Cortez Blvd      Brooksville     FL   34613    States
                                                                                      United
Sears, Roebuck and Co.           3655 Sw 22Nd St        Coral Gables    FL   33145    States
                                                                                      United
Sears, Roebuck and Co.           9565 W Atlantic Blvd   Coral Springs   FL   33071    States
                                 1700 W Intl                                          United
Sears, Roebuck and Co.           Speedway Blvd          Daytona Beach   FL   32114    States
                                                                                      United
Sears, Roebuck and Co.           1625 Nw 107Th Ave      Doral(Miami)    FL   33172    States
                                 15271-33 Mcgregor                                    United
Sears, Roebuck and Co.           Blvd                   Fort Myers      FL   33908    States
                                                                                      United
Sears, Roebuck and Co.           532 E Sunrise Blvd     Ft Lauderdale   FL   33304    States
                                                                                      United
Sears, Roebuck and Co.           901 N Federal Hwy      Ft Lauderdale   FL   33304    States
                                 10898 Metro                                          United
Sears, Roebuck and Co.           Parkway                Ft Myers        FL   33966    States
                                                                                      United
Sears, Roebuck and Co.           4003 Cleveland Ave     Ft Myers        FL   33901    States
                                                                                      United
Sears, Roebuck and Co.           6201 Newberry Rd       Gainesville     FL   32605    States




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                                 1615 W 49Th St-                                       United
Sears, Roebuck and Co.           Westland Mall           Hialeah          FL   33012   States
                                                                                       United
Sears, Roebuck and Co.           5750 NW 183RD ST        Hialeah          FL   33015   States
                                 5890 Nw 173Rd                                         United
Sears, Roebuck and Co.           Drive                   Hialeah          FL   33015   States
                                 10302 Southside-The                                   United
Sears, Roebuck and Co.           Avenue Ml               Jacksonville     FL   32256   States
                                 3555-1 St Johns Bluff                                 United
Sears, Roebuck and Co.           Road S                  Jacksonville     FL   32224   States
                                 3342 Nw Federal         Jensen                        United
Sears, Roebuck and Co.           Hwy Us 1                Bch(Stuart)      FL   34957   States
                                 3342 Nw Federal                                       United
Sears, Roebuck and Co.           Hwy                     Jensen Beach     FL   34957   States
                                 3200 N Roosevelt                                      United
Sears, Roebuck and Co.           Blvd                    Key West         FL   33040   States
                                 3200 Lake Emma Rd;                                    United
Sears, Roebuck and Co.           Suite 1020              Lake Mary        FL   32746   States
                                                                                       United
Sears, Roebuck and Co.           29 Eagle Ridge Dr       Lake Wales       FL   33859   States
                                                                                       United
Sears, Roebuck and Co.           301 Eagle Ridge Dr      Lake Wales       FL   33859   States
                                 3800 N Rd 98 Ste                                      United
Sears, Roebuck and Co.           500                     Lakeland         FL   33809   States
                                                                                       United
Sears, Roebuck and Co.           4717 S Florida Ave      Lakeland         FL   33813   States
                                 10401 Us Highway                                      United
Sears, Roebuck and Co.           441 Ste 2002            Leesburg         FL   34788   States
                                 10401-2002 Highway                                    United
Sears, Roebuck and Co.           441                     Leesburg         FL   34788   States
                                                                                       United
Sears, Roebuck and Co.           300 Mary Esther Blvd    Mary Esther      FL   32569   States
                                 777 E Merritt Island                                  United
Sears, Roebuck and Co.           Cswy #300               Merritt Is       FL   32952   States
                                 777 E Merritt Island                                  United
Sears, Roebuck and Co.           Cswy                    Merritt Island   FL   32952   States
                                                                                       United
Sears, Roebuck and Co.           19505 Biscayne Blvd     Miami            FL   33180   States
                                                                                       United
Sears, Roebuck and Co.           20701 Sw 112 Ave        Miami            FL   33189   States
                                                                                       United
Sears, Roebuck and Co.           3301 Nw 107Th Ave       Miami            FL   33178   States
                                                                                       United
Sears, Roebuck and Co.           2000 9Th St N           Naples           FL   34102   States
                                 3100 Sw College Rd                                    United
Sears, Roebuck and Co.           Ste 300                 Ocala            FL   34474   States




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                                                                                       United
Sears, Roebuck and Co.           1910 Wells Rd           Orange Pk        FL   32073   States
                                 8001 S Orange                                         United
Sears, Roebuck and Co.           Blossom Trl             Orlando          FL   32809   States
                                                                                       United
Sears, Roebuck and Co.           1360 Oviedo Blvd        Oviedo           FL   32765   States
                                 1370 Oviedo                                           United
Sears, Roebuck and Co.           Marketplace Blvd        Oviedo           FL   32765   States
                                 3101 Pga                                              United
Sears, Roebuck and Co.           Blvd/Gardens Mall       Palm Bch Gdns    FL   33410   States
                                                         Palm Beach                    United
Sears, Roebuck and Co.           3101 Pga Blvd           Gardens          FL   33410   States
                                                                                       United
Sears, Roebuck and Co.           731 Hwy 231             Panama City      FL   32405   States
                                                                                       United
Sears, Roebuck and Co.           12055 Pines Blvd        Pembroke Pines   FL   33026   States
                                                                                       United
Sears, Roebuck and Co.           7171 N Davis Hwy        Pensacola        FL   32504   States
                                                                                       United
Sears, Roebuck and Co.           7801 Sears Blvd         Pensacola        FL   32514   States
                                 8000 W Broward Blvd                                   United
Sears, Roebuck and Co.           Ste 100                 Plantation       FL   33388   States
                                                                                       United
Sears, Roebuck and Co.           2251 N Federal Hwy      Pompano Beach    FL   33062   States
                                                         Pompano Beach                 United
Sears, Roebuck and Co.           1742 W. Atlantic Blvd   -Showroom        FL   33069   States
                                 1441 Tamiami-Town                                     United
Sears, Roebuck and Co.           Ctr Ml #801             Port Charlote    FL   33948   States
                                                                                       United
Sears, Roebuck and Co.           1441 Tamiami Trl        Port Charlotte   FL   33948   States
                                 9409 Us Highway 19                                    United
Sears, Roebuck and Co.           N Ste 101               Port Richey      FL   34668   States
                                                                                       United
Sears, Roebuck and Co.           8201 S Tamiami Trl      Sarasota         FL   34238   States
                                                                                       United
Sears, Roebuck and Co.           2300 Tyrone Blvd N      St Petersburg    FL   33710   States
                                                                                       United
Sears, Roebuck and Co.           4600 Park St N          St. Petersburg   FL   33709   States
                                 1500 Apalachee                                        United
Sears, Roebuck and Co.           Pkwy                    Tallahassee      FL   32301   States
                                 2266 University Sq                                    United
Sears, Roebuck and Co.           Mall                    Tampa            FL   33612   States
                                 599 Westshore Plz                                     United
Sears, Roebuck and Co.           Mall                    Tampa            FL   33609   States
                                 7902 Citrus Park                                      United
Sears, Roebuck and Co.           Drive                   Tampa            FL   33625   States




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                                                                                          United
Sears, Roebuck and Co.           347 Westshore Plz        Tampa              FL   33609   States
                                 2266 University                                          United
Sears, Roebuck and Co.           Square Mall              Tampa-University   FL   33612   States
                                 10302 Southside                                          United
Sears, Roebuck and Co.           Blvd                     The Avenues        FL   32256   States
                                 3550 S Washington                                        United
Sears, Roebuck and Co.           Ave                      Titusville         FL   32780   States
                                 6200 20Th St Suite                                       United
Sears, Roebuck and Co.           300                      Vero Beach         FL   32966   States
                                 6200 20Th St Ste                                         United
Sears, Roebuck and Co.           300                      Vero Beach         FL   32966   States
                                                                                          United
Sears, Roebuck and Co.           2601 Dawson Rd           Albany             GA   31708   States
                                 3700 Atlanta Hwy-                                        United
Sears, Roebuck and Co.           Georgia Sq Ml            Athens             GA   30606   States
                                 2201 Henderson Mill                                      United
Sears, Roebuck and Co.           Rd                       Atlanta            GA   30345   States
                                 2940 Cobb Pkwy-                                          United
Sears, Roebuck and Co.           Cumberland Mall          Atlanta            GA   30339   States
                                 2417 Regency Blvd                                        United
Sears, Roebuck and Co.           Ste 6                    Augusta            GA   30904   States
                                 3450B Wrightsboro                                        United
Sears, Roebuck and Co.           Rd                       Augusta            GA   30909   States
                                 100 Mall Blvd Ste                                        United
Sears, Roebuck and Co.           300                      Brunswick          GA   31525   States
                                                                                          United
Sears, Roebuck and Co.           2511 Sullivan Rd         College Park       GA   30337   States
                                 5555 Whittlesey Blvd                                     United
Sears, Roebuck and Co.           Ste 3000                 Columbus           GA   31909   States
                                                                                          United
Sears, Roebuck and Co.           2150 E Walnut Ave        Dalton             GA   30721   States
                                 2150 E Walnut Ave                                        United
Sears, Roebuck and Co.           Spc 50                   Dalton             GA   30721   States
                                 Arbor Pl Ml- 6550                                        United
Sears, Roebuck and Co.           Douglas Blvd             Douglasville       GA   30135   States
                                                                                          United
Sears, Roebuck and Co.           150 Pearl Nix Pkwy       Gainesville        GA   30501   States
                                 400 Ernest Barrett                                       United
Sears, Roebuck and Co.           Pkwy                     Kennesaw           GA   30144   States
                                                                                          United
Sears, Roebuck and Co.           7810 Abercorn St         Savannah           GA   31406   States
                                 4897 Lewis Dr;                                           United
Sears, Roebuck and Co.           Suites A-K               Stone Mountn       GA   30083   States
                                 2301 Mountain                                            United
                                 Industrial Blvd; Suite                                   States
Sears, Roebuck and Co.           B                        Tucker             GA   30084



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                                 4616 Hugh Howell                                  United
Sears, Roebuck and Co.           Rd                    Tucker         GA   30084   States
                                                                                   United
Sears, Roebuck and Co.           1709 Baytree Rd       Valdosta       GA   31602   States
                                 98-180 Kamehameha                                 United
Sears, Roebuck and Co.           Hwy                   Aiea           HI   96701   States
                                                                                   United
Sears, Roebuck and Co.           111 E Puainako St     Hilo           HI   96720   States
                                                                                   United
Sears, Roebuck and Co.           50 Pohaku St          Hilo           HI   96720   States
                                                                                   United
Sears, Roebuck and Co.           2886 Paa St           Honolulu       HI   96819   States
                                                                                   United
Sears, Roebuck and Co.           142 Alamaha St        Kahului        HI   96732   States
                                                                                   United
Sears, Roebuck and Co.           275 Kaahamanu Ave     Kahului        HI   96732   States
                                 275 Kaahumanu Ave     Kahului                     United
Sears, Roebuck and Co.           Ste 1000              Maui(Sur)      HI   96732   States
                                 46-056 Kamehameha                                 United
Sears, Roebuck and Co.           Hwy                   Kaneohe        HI   96744   States
                                 94 - 825 Luminina                                 United
Sears, Roebuck and Co.           Street                Waipahu        HI   96797   States
                                                                                   United
Sears, Roebuck and Co.           4600 First Ave Ne     Cedar Rapids   IA   52402   States
                                 4302 Brady St North                               United
Sears, Roebuck and Co.           Park Mall             Davenport      IA   52806   States
                                 1111 SE ARMY                                      United
Sears, Roebuck and Co.           POST RD               Des Moines     IA   50315   States
                                                                                   United
Sears, Roebuck and Co.           4000 Merle Hay Rd     Des Moines     IA   50310   States
                                 Merle Hay Ml-4000                                 United
Sears, Roebuck and Co.           Merle Hay Rd          Des Moines     IA   50310   States
                                 4480 Sergeant-                                    United
Sears, Roebuck and Co.           Southern Hls Ml       Sioux City     IA   51106   States
                                 7100 Westown                                      United
Sears, Roebuck and Co.           Parkway               W Des Moines   IA   50266   States
                                                                                   United
Sears, Roebuck and Co.           1003 73Rd St          Windsor Hgts   IA   50324   States
                                                                                   United
Sears, Roebuck and Co.           460 N Milwaukee St    Boise          ID   83704   States
                                                                                   United
Sears, Roebuck and Co.           460 N Milwaukee St    Boise          ID   83704   States
                                 4145 Yellowstone                                  United
Sears, Roebuck and Co.           Hwy                   Chubbuck       ID   83202   States
                                                                                   United
Sears, Roebuck and Co.           2300 E 17Th St        Idaho Falls    ID   83404   States




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                                 Magic Vly Ml-1543                                      United
Sears, Roebuck and Co.           Pole Ln Rd E          Twin Falls          ID   83301   States
                                 4020 Fox Valley                                        United
Sears, Roebuck and Co.           Center Dr             Aurora              IL   60504   States
                                                       Bedford                          United
Sears, Roebuck and Co.           7412 S Cicero Ave     Park(Ford City)     IL   60629   States
                                                                                        United
Sears, Roebuck and Co.           653 Carlyle Ave       Belleville          IL   62221   States
                                                                                        United
Sears, Roebuck and Co.           #5 Stratford Sq       Bloomingdale        IL   60108   States
                                                                                        United
Sears, Roebuck and Co.           1631 E Empire St      Bloomington         IL   61701   States
                                 Northfield Sq-1600                                     United
Sears, Roebuck and Co.           State Rd 50           Bourbonnais         IL   60914   States
                                                                                        United
Sears, Roebuck and Co.           7310 W 87Th St        Bridgeview          IL   60455   States
                                                                                        United
Sears, Roebuck and Co.           1334 E 79Th St        Chicago             IL   60619   States
                                 1800 W Lawrence                                        United
Sears, Roebuck and Co.           Ave                   Chicago             IL   60640   States
                                                                                        United
Sears, Roebuck and Co.           2 N State St          Chicago             IL   60602   States
                                                                                        United
Sears, Roebuck and Co.           4035 N Cicero Ave     Chicago             IL   60641   States
                                 Chgo Rdg Mall-6501                                     United
Sears, Roebuck and Co.           W 95Th St             Chicago Ridge       IL   60415   States
                                                                                        United
Sears, Roebuck and Co.           The Great Indoors     Deerfield           IL   60015   States
                                 2170 Point Blvd Ste                                    United
Sears, Roebuck and Co.           500                   Elgin               IL   60123   States
                                 2428-2432 Bath                                         United
Sears, Roebuck and Co.           Road                  Elgin               IL   60124   States
                                                                                        United
Sears, Roebuck and Co.           1500 Higgins Rd       Elk Grove Village   IL   60007   States
                                                                                        United
Sears, Roebuck and Co.           1630 N Harlem Ave     Elmwood Park        IL   60707   States
                                                                                        United
Sears, Roebuck and Co.           235 Saint Clair Sq    Fairview Hts        IL   62208   States
                                                                                        United
Sears, Roebuck and Co.           317 Lincoln Hwy       Fairview Hts        IL   62208   States
                                                                                        United
Sears, Roebuck and Co.           3333 Beverly Road     Hoffman Est         IL   60179   States
                                                                                        United
Sears, Roebuck and Co.           5334 Sears Parkway    Hoffman Est         IL   60179   States
                                                                                        United
Sears, Roebuck and Co.           3333 Beverly Rd       Hoffman Estates     IL   60179   States




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                                 2 Louis Ml Loop-3340                                 United
Sears, Roebuck and Co.           Mall Loop                Joliet         IL   60435   States
                                 Morton Arboretum,                                    United
Sears, Roebuck and Co.           4100 Illinois Route 53   Lisle          IL   60532   States
                                                                                      United
Sears, Roebuck and Co.           4605 W Lincoln Hwy       Matteson       IL   60443   States
                                                                                      United
Sears, Roebuck and Co.           400 Golf Mill Ctr        Niles          IL   60714   States
                                                                                      United
Sears, Roebuck and Co.           9411 Greenwood Ave       Niles          IL   60714   States
                                                                                      United
Sears, Roebuck and Co.           7503 W Cermak Rd         No Riverside   IL   60546   States
                                 2 Oakbrook Center                                    United
Sears, Roebuck and Co.           Mall                     Oak Brook      IL   60523   States
                                                                                      United
Sears, Roebuck and Co.           2 Oakbrook Ctr           Oakbrook       IL   60523   States
                                                                                      United
Sears, Roebuck and Co.           #2 Orland Sq Mall        Orland Park    IL   60462   States
                                 2200 W War                                           United
Sears, Roebuck and Co.           Memorial Dr              Peoria         IL   61613   States
                                                                                      United
Sears, Roebuck and Co.           7200 Harrison Ave        Rockford       IL   61112   States
                                                                                      United
Sears, Roebuck and Co.           1321 E Golf Rd           Schaumburg     IL   60173   States
                                                                                      United
Sears, Roebuck and Co.           2 Woodfield Mall         Schaumburg     IL   60173   States
                                                                                      United
Sears, Roebuck and Co.           890 Perimeter Dr         Schaumburg     IL   60173   States
                                                                                      United
Sears, Roebuck and Co.           5000 Spring Hill Mall    West Dundee    IL   60118   States
                                 823 E Hwy 131                                        United
Sears, Roebuck and Co.           Green Tree Mall          Clarksville    IN   47129   States
                                 333 N Plaza East                                     United
Sears, Roebuck and Co.           Blvd                     Evansville     IN   47715   States
                                                                                      United
Sears, Roebuck and Co.           6420 Wilson Dr           Fort Wayne     IN   46806   States
                                                                                      United
Sears, Roebuck and Co.           4201 Coldwater Rd        Ft Wayne       IN   46805   States
                                 1251 Us Highway 31                                   United
Sears, Roebuck and Co.           N                        Greenwood      IN   46142   States
                                                                                      United
Sears, Roebuck and Co.           7286 E 86Th St           Indianapolis   IN   46250   States
                                                                                      United
Sears, Roebuck and Co.           1235 S Reed Rd           Kokomo         IN   46902   States
                                 1235 S Reed Rd-                                      United
Sears, Roebuck and Co.           Markland Mall            Kokomo         IN   46902   States




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                                 2415 Sagamore S-                                    United
Sears, Roebuck and Co.           Tippecanoe Ml          Lafayette       IN   47905   States
                                                                                     United
Sears, Roebuck and Co.           2300 Southlake Mall    Merrillville    IN   46410   States
                                 Marquete Sc-3901 S                                  United
Sears, Roebuck and Co.           Franklin St            Michigan City   IN   46360   States
                                 6501 Grape Rd-                                      United
Sears, Roebuck and Co.           University Pk Ml       Mishawaka       IN   46545   States
                                                                                     United
Sears, Roebuck and Co.           40 Muncie Mall         Muncie          IN   47303   States
                                                                                     United
Sears, Roebuck and Co.           120 Us Highway 41      Schererville    IN   46375   States
                                 630 East Bronson                                    United
Sears, Roebuck and Co.           Street                 South Bend      IN   46601   States
                                 3401 S Us Highway                                   United
Sears, Roebuck and Co.           41                     Terre Haute     IN   47802   States
                                 3401 Us 41 S/Honey                                  United
Sears, Roebuck and Co.           Creek Sq               Terre Haute     IN   47802   States
                                 14804 117TH                                         United
Sears, Roebuck and Co.           STREET                 Olathe          KS   66062   States
                                                                                     United
Sears, Roebuck and Co.           9000 Nieman Road       Overland Park   KS   66214   States
                                                                                     United
Sears, Roebuck and Co.           9701 Metcalf Ave       Overland Park   KS   66212   States
                                                                                     United
Sears, Roebuck and Co.           175 Central Mall       Salina          KS   67401   States
                                                                                     United
Sears, Roebuck and Co.           2259 S 9Th St          Salina          KS   67401   States
                                 2100 SW                                             United
Sears, Roebuck and Co.           WESTPORT DR            Topeka          KS   66614   States
                                                                                     United
Sears, Roebuck and Co.           7700 E Kellogg Dr      Wichita         KS   67207   States
                                                                                     United
Sears, Roebuck and Co.           2625 Scottsville Rd    Bowling Green   KY   42104   States
                                 2625 Scottsville-                                   United
Sears, Roebuck and Co.           Greenwood Ml           Bowling Green   KY   42104   States
                                                                                     United
Sears, Roebuck and Co.           1704 N Towne Mall      Elizabethtown   KY   42701   States
                                 3000 Mall                                           United
Sears, Roebuck and Co.           Rd/Florence Mall       Florence        KY   41042   States
                                 7900 Shelbyville Rd-                                United
Sears, Roebuck and Co.           Oxmoor Ctr             Louisville      KY   40222   States
                                 Jeffersn Ml-4807                                    United
Sears, Roebuck and Co.           Outer Loop Dr          Louisville      KY   40219   States
                                                        Louisville-                  United
Sears, Roebuck and Co.           7900 Shelbyville Rd    Oxmoor          KY   40222   States




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                                 5101 Hinklevle Rd-                               United
Sears, Roebuck and Co.           100 Ky Oaks           Paducah       KY   42001   States
                                 6551 Bluebonnet                                  United
Sears, Roebuck and Co.           Blvd                  Baton Rouge   LA   70809   States
                                 197-5 Westbank                                   United
Sears, Roebuck and Co.           Expwy                 Gretna        LA   70053   States
                                 2000 Sw Railroad                                 United
Sears, Roebuck and Co.           Ave                   Hammond       LA   70403   States
                                 2000 Sw Railroad-                                United
Sears, Roebuck and Co.           Hammond Sq Ml         Hammond       LA   70403   States
                                                                                  United
Sears, Roebuck and Co.           6011 W Park Ave       Houma         LA   70364   States
                                                                                  United
Sears, Roebuck and Co.           5715 Johnston St      Lafayette     LA   70503   States
                                 4400 Veterans                                    United
Sears, Roebuck and Co.           Memorial Blvd         Metairie      LA   70006   States
                                                                                  United
Sears, Roebuck and Co.           233 E Pershing        Scott         LA   70560   States
                                                                                  United
Sears, Roebuck and Co.           3595 Southern Ave     Shreveport    LA   71104   States
                                                                                  United
Sears, Roebuck and Co.           385 Southbridge St    Auburn        MA   01501   States
                                                                                  United
Sears, Roebuck and Co.           387 Southbridge St    Auburn        MA   01501   States
                                                                                  United
Sears, Roebuck and Co.           250 Granite St        Braintree     MA   02184   States
                                                                                  United
Sears, Roebuck and Co.           200 Westgate Dr       Brockton      MA   02301   States
                                 1100 Middlesex                                   United
Sears, Roebuck and Co.           Turnpike              Burlington    MA   01803   States
                                                                                  United
Sears, Roebuck and Co.           290 Providence Hwy    Dedham        MA   02026   States
                                                                                  United
Sears, Roebuck and Co.           300 Providence Hwy    Dedham        MA   02026   States
                                                                                  United
Sears, Roebuck and Co.           1775 Washington St    Hanover       MA   02339   States
                                 Hanover Mal/1775                                 United
Sears, Roebuck and Co.           Washington St         Hanover       MA   02339   States
                                                                                  United
Sears, Roebuck and Co.           50 Holyoke St         Holyoke       MA   01040   States
                                 86 Lower Westfield-                              United
Sears, Roebuck and Co.           Ingelside M           Holyoke       MA   01040   States
                                 793 Lyannough Road                               United
Sears, Roebuck and Co.           Rte 132               Hyannis       MA   02601   States
                                 Rt 132   Cape Cod                                United
Sears, Roebuck and Co.           Mall                  Hyannis       MA   02601   States




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                                 Berkshire Mall-Route                                  United
Sears, Roebuck and Co.           8                       Lanesboro        MA   01237   States
                                                                                       United
Sears, Roebuck and Co.           100 Commercial Rd       Leominster       MA   01453   States
                                                                                       United
Sears, Roebuck and Co.           521 Lynch Blvd          Marlborough      MA   01752   States
                                 1009 S Washington                                     United
Sears, Roebuck and Co.           St                      N Attleboro      MA   02760   States
                                 100 N Dartmouth                                       United
Sears, Roebuck and Co.           Mall                    N Dartmouth      MA   02747   States
                                 1235 Worcester Rd &                                   United
Sears, Roebuck and Co.           Speen St                Natick           MA   01760   States
                                 Rts 114 & 128 -                                       United
Sears, Roebuck and Co.           Northshore Mall         Peabody          MA   01960   States
                                                                                       United
Sears, Roebuck and Co.           1525 Boston Rd          Springfield      MA   01129   States
                                                                                       United
Sears, Roebuck and Co.           8 Galleria Mall Dr      Taunton          MA   02780   States
                                                                                       United
Sears, Roebuck and Co.           10 Main St              Tewksbury        MA   01876   States
                                                                                       United
Sears, Roebuck and Co.           1040 Annapolis Mall     Annapolis        MD   21401   States
                                                                                       United
Sears, Roebuck and Co.           6901 Security Blvd      Baltimore        MD   21207   States
                                                                                       United
SEARS, ROEBUCK AND CO.           8200 Belair Rd          Baltimore        MD   21236   States
                                 6901 Security Sq                                      United
Sears, Roebuck and Co.           Blvd                    Baltimore-West   MD   21244   States
                                                                                       United
Sears, Roebuck and Co.           658 Baltimore Pike      Bel Air          MD   21014   States
                                 7103 Democracy                                        United
Sears, Roebuck and Co.           Blvd                    Bethesda         MD   20817   States
                                                                                       United
Sears, Roebuck and Co.           8827 Woodyard Rd        Clinton          MD   20735   States
                                 10300 Little Patuxent                                 United
Sears, Roebuck and Co.           Pkwy                    Columbia         MD   21044   States
                                                                                       United
Sears, Roebuck and Co.           1647 Crofton Centre     Crofton          MD   21114   States
                                                                                       United
Sears, Roebuck and Co.           1262 Vocke Rd           Cumberland       MD   21502   States
                                 2 Vocke Rd Ste                                        United
Sears, Roebuck and Co.           100/Cntry Club          Cumberland       MD   21502   States
                                 5500 Buckeystown                                      United
Sears, Roebuck and Co.           Pike                    Frederick        MD   21703   States
                                                                                       United
Sears, Roebuck and Co.           701 Russell Ave         Gaithersburg     MD   20877   States




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                                                                                     United
Sears, Roebuck and Co.           597B E Ordnance Rd     Glen Burnie     MD   21060   States
                                 7900 Gov Ritchie                                    United
Sears, Roebuck and Co.           Hwy                    Glen Burnie     MD   21061   States
                                 7900 Govenor Ritchie                                United
Sears, Roebuck and Co.           Hwy                    Glen Burnie     MD   21061   States
                                                                                     United
Sears, Roebuck and Co.           6411 Riggs Road        Hyattsville     MD   20783   States
                                                                                     United
Sears, Roebuck and Co.           1781 Crossroads Dr     Odenton         MD   21113   States
                                                                                     United
Sears, Roebuck and Co.           8200 Perry Hall Bl     Parkville       MD   21236   States
                                 2306 N Salisbury                                    United
Sears, Roebuck and Co.           Blvd                   Salisbury       MD   21801   States
                                                                                     United
Sears, Roebuck and Co.           2323 Center Dr         Salisbury       MD   21801   States
                                 11255 New                                           United
Sears, Roebuck and Co.           Hampshire Ave          Silver Spring   MD   20904   States
                                 11259 New                                           United
                                 Hampshire-White                                     States
Sears, Roebuck and Co.           Oak                    Silver Spring   MD   20904
                                 11145 Mall Cir-St                                   United
Sears, Roebuck and Co.           Charles Ctr            Waldorf         MD   20603   States
                                                                                     United
Sears, Roebuck and Co.           400 N Center St        Westminster     MD   21157   States
                                                                                     United
Sears, Roebuck and Co.           10 Whitten Rd          Augusta         ME   04330   States
                                 Turnpike Mall/10                                    United
Sears, Roebuck and Co.           Whitten Rd             Augusta         ME   04330   States
                                                                                     United
Sears, Roebuck and Co.           60 Doane St            Bangor          ME   04401   States
                                                                                     United
Sears, Roebuck and Co.           8 Gurnet Rd            Brunswick       ME   04011   States
                                 Maine Ml-400 Maine                                  United
Sears, Roebuck and Co.           Mall Rd                S Portland      ME   04106   States
                                                                                     United
Sears, Roebuck and Co.           900 Briarwood Cir      Ann Arbor       MI   48108   States
                                                                                     United
Sears, Roebuck and Co.           5575 B Drive N         Battle Creek    MI   49015   States
                                                                                     United
Sears, Roebuck and Co.           3070 S Linden Rd       Flint           MI   48507   States
                                                                                     United
Sears, Roebuck and Co.           3099 28Th St Se        Grand Rapids    MI   49512   States
                                                                                     United
Sears, Roebuck and Co.           3099-28Th St           Grand Rapids    MI   49512   States
                                 3980 Rivertown Pkwy                                 United
Sears, Roebuck and Co.           Sw                     Grandville      MI   49418   States



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                                 1250 Boardman-                                         United
Sears, Roebuck and Co.           Jackson Crossing       Jackson            MI   49202   States
                                                                                        United
Sears, Roebuck and Co.           3131 E Michigan Ave    Lansing            MI   48912   States
                                                                                        United
Sears, Roebuck and Co.           2100 Southfield Rd     Lincoln Park       MI   48146   States
                                                                                        United
Sears, Roebuck and Co.           29500 7 Mile Rd        Livonia            MI   48152   States
                                                                                        United
Sears, Roebuck and Co.           5500 Harvey St         Muskegon           MI   49444   States
                                                                                        United
Sears, Roebuck and Co.           27600 Novi Rd          Novi               MI   48377   States
                                 6780 S Westnedge                                       United
Sears, Roebuck and Co.           Ave                    Portage            MI   49024   States
                                                                                        United
Sears, Roebuck and Co.           4900 Fashion Sq Mall   Saginaw            MI   48604   States
                                 4900 Fashion Square                                    United
Sears, Roebuck and Co.           Mall                   Saginaw            MI   48604   States
                                                                                        United
Sears, Roebuck and Co.           300 W 14 Mile Rd       Troy               MI   48083   States
                                                        Waterford(Pontia                United
Sears, Roebuck and Co.           435 N Telegraph Rd     c)                 MI   48328   States
                                                                                        United
Sears, Roebuck and Co.           35000 W Warren Rd      Westland           MI   48185   States
                                                                                        United
Sears, Roebuck and Co.           2000 N E Court         Bloomington        MN   55425   States
                                 1299 Shingle Creek                                     United
Sears, Roebuck and Co.           Crossing               Brooklyn Ctr       MN   55430   States
                                                                                        United
Sears, Roebuck and Co.           14250 Buck Hill Rd     Burnsville         MN   55306   States
                                 12737 Riverdale Blvd                                   United
Sears, Roebuck and Co.           Nw                     Coon Rapids        MN   55448   States
                                                                                        United
Sears, Roebuck and Co.           8301 Flying Cloud Dr   Eden Prairie       MN   55344   States
                                                                                        United
Sears, Roebuck and Co.           8301 Flying Cloud Dr   Eden Prairie       MN   55344   States
                                                                                        United
Sears, Roebuck and Co.           1850 Adams St Ste 5    Mankato            MN   56001   States
                                 1896 Adams St -                                        United
Sears, Roebuck and Co.           River Hills Ml         Mankato            MN   56001   States
                                                                                        United
Sears, Roebuck and Co.           3001 Maplewood Dr      Maplewood          MN   55109   States
                                                                                        United
Sears, Roebuck and Co.           12431 Wayzata Blvd     Minnetonka         MN   55305   States
                                                                                        United
Sears, Roebuck and Co.           425 Rice St            Saint Paul         MN   55103   States




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                                                                                      United
Sears, Roebuck and Co.           4101 W Division St     St Cloud         MN   56301   States
                                                                                      United
Sears, Roebuck and Co.           41St & Division        St Cloud         MN   56301   States
                                                                                      United
Sears, Roebuck and Co.           5415 Ne Antioch Rd     Antioch          MO   64119   States
                                                                                      United
Sears, Roebuck and Co.           330 Siemers Dr         Cape Girardeau   MO   63703   States
                                                                                      United
Sears, Roebuck and Co.           2201 W Worley St       Columbia         MO   65203   States
                                 639 Gravois Bluffs                                   United
Sears, Roebuck and Co.           Blvd; Ste B            Fenton           MO   63026   States
                                                                                      United
Sears, Roebuck and Co.           18777 E 39Th St        Independence     MO   64057   States
                                                                                      United
Sears, Roebuck and Co.           18777 E 39Th St S      Independence     MO   64057   States
                                                                                      United
Sears, Roebuck and Co.           3600 Country Club Dr   Jefferson City   MO   65109   States
                                 101 Rangeline                                        United
Sears, Roebuck and Co.           Rd/Northpark Ml        Joplin           MO   64801   States
                                                                                      United
Sears, Roebuck and Co.           2825 S Glenstone       Springfield      MO   65804   States
                                                                                      United
Sears, Roebuck and Co.           3702 Frederick Ave     St Joseph        MO   64506   States
                                                                                      United
Sears, Roebuck and Co.           #3 Mid Rivers Mall     St Peters        MO   63376   States
                                 2600 Beach Blvd Ste                                  United
Sears, Roebuck and Co.           67                     Biloxi           MS   39531   States
                                                                                      United
Sears, Roebuck and Co.           2600 Beach Rd          Biloxi           MS   39531   States
                                 1051 Bonita Lakes                                    United
Sears, Roebuck and Co.           Circle                 Meridian         MS   39301   States
                                                                                      United
Sears, Roebuck and Co.           381 HIGHWAY 51         Ridgeland        MS   39157   States
                                 1001 Barnes                                          United
Sears, Roebuck and Co.           Crossing Rd            Tupelo           MS   38804   States
                                 1001 Barnes                                          United
Sears, Roebuck and Co.           Crossing Rd            Tupelo           MS   38801   States
                                                                                      United
Sears, Roebuck and Co.           2424 Central Ave       Billings         MT   59102   States
                                 200 RANDOLPH                                         United
Sears, Roebuck and Co.           MALL                   Asheboro         NC   27203   States
                                                                                      United
Sears, Roebuck and Co.           100 Colonial Mall      Burlington       NC   27215   States
                                                                                      United
Sears, Roebuck and Co.           102 Holly Hill Mall    Burlington       NC   27215   States




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                                                                                      United
Sears, Roebuck and Co.           1480 Highway 29 N       Concord         NC   28025   States
                                 302 Guess Rd                                         United
Sears, Roebuck and Co.           (Northgate Mall)        Durham          NC   27701   States
                                 8060 Renaissance                                     United
Sears, Roebuck and Co.           Pkwy                    Durham          NC   27713   States
                                                         Durham-                      United
Sears, Roebuck and Co.           1620 Guess Rd           Northgate       NC   27701   States
                                                                                      United
Sears, Roebuck and Co.           400 Cross Creek Mall    Fayetteville    NC   28303   States
                                                                                      United
Sears, Roebuck and Co.           201 N Berkeley Blvd     Goldsboro       NC   27534   States
                                                                                      United
Sears, Roebuck and Co.           703 N Berkeley Blvd     Goldsboro       NC   27534   States
                                                                                      United
Sears, Roebuck and Co.           3200 W Friendly Ave     Greensboro      NC   27408   States
                                                                                      United
Sears, Roebuck and Co.           701 Pembroke Rd         Greensboro      NC   27408   States
                                 240 Carolina East                                    United
Sears, Roebuck and Co.           Mall                    Greenville      NC   27834   States
                                 1940 Us Highway 70                                   United
Sears, Roebuck and Co.           Se                      Hickory         NC   28602   States
                                                                                      United
Sears, Roebuck and Co.           921 Eastchester Dr      High Point      NC   27262   States
                                                                                      United
Sears, Roebuck and Co.           344 Jacksonville Mall   Jacksonville    NC   28546   States
                                 2115 E Roosevelt                                     United
Sears, Roebuck and Co.           Blvd Ste 200            Monroe          NC   28110   States
                                 3200 Gateway                                         United
Sears, Roebuck and Co.           Center Blvd; Ste 150    Morrisville     NC   27560   States
                                 11033 Carolina Pk-                                   United
Sears, Roebuck and Co.           Carolina Pl             Pineville       NC   28134   States
                                 11033 Carolina Place                                 United
Sears, Roebuck and Co.           Pkwy                    Pineville       NC   28134   States
                                 11812 Carolina Place                                 United
Sears, Roebuck and Co.           Pkwy                    Pineville       NC   28134   States
                                 4615 Glenwood-                                       United
Sears, Roebuck and Co.           Crabtree Vly Ml         Raleigh         NC   27612   States
                                 7320 Old Wake                                        United
Sears, Roebuck and Co.           Forest Rd               Raleigh         NC   27616   States
                                                                                      United
Sears, Roebuck and Co.           819 E Six Forks Rd      Raleigh         NC   27609   States
                                 3500 Oleander-                                       United
Sears, Roebuck and Co.           Independence Ml         Wilmington      NC   28403   States
                                 190 Hanes Mall                                       United
Sears, Roebuck and Co.           Circle                  Winston Salem   NC   27103   States




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                                 West Acres Regional                               United
Sears, Roebuck and Co.           S/C                   Fargo          ND   58103   States
                                                                                   United
Sears, Roebuck and Co.           175 Conestoga Mall    Grand Island   NE   68803   States
                                                                                   United
Sears, Roebuck and Co.           6400 O St             Lincoln        NE   68510   States
                                 Gateway Ctr--6400                                 United
Sears, Roebuck and Co.           'O' St                Lincoln        NE   68505   States
                                                                                   United
Sears, Roebuck and Co.           3420 Oak View Drive   Omaha          NE   68144   States
                                                                                   United
Sears, Roebuck and Co.           7424 Dodge St         Omaha          NE   68114   States
                                                                                   United
Sears, Roebuck and Co.           270 Louden Rd         Concord        NH   03301   States
                                                                                   United
Sears, Roebuck and Co.           270 Loudon Rd         Concord        NH   03301   States
                                                                                   United
Sears, Roebuck and Co.           1500 S Willow St      Manchester     NH   03103   States
                                 50 Fox Run Rd                                     United
Sears, Roebuck and Co.           St#74-Fox Run Ml      Newington      NH   03801   States
                                 77 Rockingham Park                                United
Sears, Roebuck and Co.           Blvd                  Salem          NH   03079   States
                                 1750 Deptford Cener                               United
Sears, Roebuck and Co.           Rd                    Deptford       NJ   08096   States
                                 1750 Deptford Ctr-                                United
Sears, Roebuck and Co.           Deptford Ml           Deptford       NJ   08096   States
                                 3710 US Hwy 9 Ste                                 United
Sears, Roebuck and Co.           1100                  Freehold       NJ   07728   States
                                 Raceway Mall/3710                                 United
Sears, Roebuck and Co.           Us Hwy 9 Ste 1100     Freehold       NJ   07728   States
                                                                                   United
Sears, Roebuck and Co.           436 Main St           Hackensack     NJ   07601   States
                                                                                   United
Sears, Roebuck and Co.           516 Main St           Hackensack     NJ   07601   States
                                                                                   United
Sears, Roebuck and Co.           50 Mall Dr W          Jersey City    NJ   07310   States
                                 S Orange Ave &                                    United
Sears, Roebuck and Co.           Walnut St             Livingston     NJ   07039   States
                                                                                   United
Sears, Roebuck and Co.           4409 Blk Horse Pike   Mays Landing   NJ   08330   States
                                                                                   United
Sears, Roebuck and Co.           1500 Highway 35       Middletown     NJ   07748   States
                                                                                   United
Sears, Roebuck and Co.           80 Godwin Ave         Midland Park   NJ   07432   States
                                                                                   United
Sears, Roebuck and Co.           Rt 38 & Lenola Rd     Moorestown     NJ   08057   States




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                                                                                    United
Sears, Roebuck and Co.           Rt 38 And Lenola Rd   Moorestown      NJ   08057   States
                                                                                    United
Sears, Roebuck and Co.           45 Us Hwy #1          New Brunswick   NJ   08901   States
                                                                                    United
Sears, Roebuck and Co.           585 From Rd           Paramus         NJ   07652   States
                                                                                    United
Sears, Roebuck and Co.           Rt 80 & Mt Hpe Ave    Rockaway        NJ   07866   States
                                 2100 Center Square                                 United
                                 Road, Suite 125                                    States
Sears, Roebuck and Co.           (Bldg. K)             Swedesboro      NJ   08085
                                                                                    United
Sears, Roebuck and Co.           117 N Delsea Dr       Vineland        NJ   08360   States
                                                                                    United
Sears, Roebuck and Co.           1324 Wyckoff Road     Wall Township   NJ   07753   States
                                                                                    United
Sears, Roebuck and Co.           1640 Route 22         Watchung        NJ   07069   States
                                                                                    United
Sears, Roebuck and Co.           50 Route 46           Wayne           NJ   07470   States
                                 975 Bloomfield Ave                                 United
Sears, Roebuck and Co.           Ste 2                 West Caldwell   NJ   07006   States
                                 150 Woodbridge Ctr                                 United
Sears, Roebuck and Co.           Ct                    Woodbridge      NJ   07095   States
                                                                                    United
Sears, Roebuck and Co.           479 Green St          Woodbridge      NJ   07095   States
                                                                                    United
Sears, Roebuck and Co.           10129 Coors Blvd      Albuquerque     NM   87114   States
                                                                                    United
Sears, Roebuck and Co.           2811 N Prince St      Clovis          NM   88101   States
                                 6600 Menaul Blvd Ne                                United
Sears, Roebuck and Co.           Ste 700               Coronado        NM   87110   States
                                                                                    United
Sears, Roebuck and Co.           4601 E Main St        Farmington      NM   87402   States
                                                                                    United
Sears, Roebuck and Co.           700 S Telshor Blvd    Las Cruces      NM   88011   States
                                                                                    United
Sears, Roebuck and Co.           4250 Cerrillos Rd     Santa Fe        NM   87592   States
                                                                                    United
Sears, Roebuck and Co.           4250 Cerrillos Rd     Santa Fe        NM   87507   States
                                 1245 W Warm                                        United
Sears, Roebuck and Co.           Springs Rd            Henderson       NV   89014   States
                                                                                    United
Sears, Roebuck and Co.           1511 W SUNSET RD      Henderson       NV   89014   States
                                 3450 S Maryland                                    United
Sears, Roebuck and Co.           Pkwy                  Las Vegas       NV   89109   States
                                                                                    United
Sears, Roebuck and Co.           4000 Meadows Lane     Las Vegas       NV   89107   States



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                                 4320 N Lamb Blvd;                                    United
Sears, Roebuck and Co.           Bldg 1 Ste 500          Las Vegas       NV   89115   States
                                 4355 Grand Canyon                                    United
Sears, Roebuck and Co.           Dr                      Las Vegas       NV   89147   States
                                 5405 Meadowood                                       United
Sears, Roebuck and Co.           Mall Cir                Reno            NV   89502   States
                                                                                      United
Sears, Roebuck and Co.           350 Glendale Ave        Sparks          NV   89431   States
                                 1435 NIAGARA                                         United
Sears, Roebuck and Co.           FALLS BLVD              Amherst         NY   14228   States
                                                                                      United
Sears, Roebuck and Co.           4130 Mckinley Pkwy      Blasdell        NY   14219   States
                                                                                      United
Sears, Roebuck and Co.           4720 3Rd Ave            Bronx           NY   10458   States
                                                                                      United
Sears, Roebuck and Co.           2307 Beverley Rd        Brooklyn        NY   11226   States
                                                                                      United
Sears, Roebuck and Co.           2359 Bedford Ave        Brooklyn        NY   11226   States
                                                                                      United
Sears, Roebuck and Co.           3701 Mckinley Pkwy      Buffalo         NY   14219   States
                                                                                      United
Sears, Roebuck and Co.           2000 Walden Ave         Cheektowaga     NY   14225   States
                                                                                      United
Sears, Roebuck and Co.           60 Industrial Parkway   Cheektowaga     NY   14227   States
                                 7 Galleria Dr--2000                                  United
Sears, Roebuck and Co.           Walden Ave              Cheektowaga     NY   14225   States
                                 Great Northern Mall-                                 United
Sears, Roebuck and Co.           4155 State Rt 31        Clay            NY   13041   States
                                                                                      United
Sears, Roebuck and Co.           131-08 20Th Ave         College Point   NY   11356   States
                                 Hntngton Sq Ml--                                     United
Sears, Roebuck and Co.           4000 E Jericho          E Northport     NY   11731   States
                                                                                      United
Sears, Roebuck and Co.           Aviation Rd             Glens Falls     NY   12804   States
                                                                                      United
Sears, Roebuck and Co.           Aviation Rd             Glens Falls     NY   12801   States
                                                                                      United
Sears, Roebuck and Co.           950 Elm Ridge Ctr Dr    Greece          NY   14626   States
                                                                                      United
Sears, Roebuck and Co.           576 Jefferson Blvd      Henrietta       NY   14623   States
                                                                                      United
Sears, Roebuck and Co.           195 N Broadway          Hicksville      NY   11801   States
                                 3300 Chambers Rd                                     United
Sears, Roebuck and Co.           S-Arnot Mall            Horseheads      NY   14845   States
                                                                                      United
Sears, Roebuck and Co.           3300 Chambers Rd        Horseheads      NY   14845   States




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                                 Oakdale Ml-Rt 17                                       United
Sears, Roebuck and Co.           Expy Exit 70              Johnson City    NY   13790   States
                                                                                        United
Sears, Roebuck and Co.           4 Smith Haven Mall        Lake Grove      NY   11755   States
                                                                                        United
Sears, Roebuck and Co.           4 Smith-Haven Mall        Lake Grove      NY   11755   States
                                                                                        United
Sears, Roebuck and Co.           Rt 394 & Hunt Blvd        Lakewood        NY   14750   States
                                 Rte 394 And Mall                                       United
Sears, Roebuck and Co.           Blvd                      Lakewood        NY   14750   States
                                                                                        United
Sears, Roebuck and Co.           34 Carmans Rd             Massapequa      NY   11758   States
                                                                                        United
Sears, Roebuck and Co.           800 Sunrise Mall          Massapequa      NY   11758   States
                                 1 N Galleria Dr Ste                                    United
Sears, Roebuck and Co.           144                       Middletown      NY   10941   States
                                 Galleria Ml/1Galleria -                                United
Sears, Roebuck and Co.           Ste 144                   Middletown      NY   10940   States
                                                                                        United
Sears, Roebuck and Co.           100 W Rt 59               Nanuet          NY   10954   States
                                 75 W Route 59 Ste                                      United
Sears, Roebuck and Co.           100                       Nanuet          NY   10954   States
                                                                                        United
Sears, Roebuck and Co.           1400 Union Tpke           New Hyde Park   NY   11040   States
                                                                                        United
Sears, Roebuck and Co.           1401 Route 300            Newburgh        NY   12550   States
                                                                                        United
Sears, Roebuck and Co.           1401 Rt 300               Newburgh        NY   12550   States
                                                                                        United
Sears, Roebuck and Co.           60 Smithfield Blvd        Plattsburgh     NY   12901   States
                                                                                        United
Sears, Roebuck and Co.           2001 South Rd             Poughkeepsie    NY   12601   States
                                                                                        United
Sears, Roebuck and Co.           792 South Rd              Poughkeepsie    NY   12601   States
                                                                                        United
Sears, Roebuck and Co.           10 Miracle Mile Dr        Rochester       NY   14623   States
                                 2213 Brighton                                          United
                                 Henrietta (Town Line                                   States
Sears, Roebuck and Co.           Rd)                       Rochester       NY   14623
                                 317 Greece Ridge                                       United
Sears, Roebuck and Co.           Center Dr                 Rochester       NY   14626   States
                                 Jefferson & W                                          United
Sears, Roebuck and Co.           Henrietta/Mkt Pl          Rochester       NY   14623   States
                                                                                        United
Sears, Roebuck and Co.           93 W Campbell Rd          Rotterdam       NY   12306   States
                                                                                        United
Sears, Roebuck and Co.           3065 Route 50             Saratoga        NY   12866   States



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                                 417 Louden                                          United
Sears, Roebuck and Co.           Rd/Saratoga Mall       Saratoga Spgs   NY   12866   States
                                                                                     United
Sears, Roebuck and Co.           171 Delaware Ave       Sidney          NY   13838   States
                                                                                     United
Sears, Roebuck and Co.           283 Platinum Ave       Staten Island   NY   10314   States
                                                                                     United
Sears, Roebuck and Co.           1150 Sunrise Hwy       Valley Stream   NY   11581   States
                                 1150 Sunrise Hwy-                                   United
Sears, Roebuck and Co.           Green Acres            Valley Stream   NY   11580   States
                                                                                     United
Sears, Roebuck and Co.           200 Eastview Mall      Victor          NY   14564   States
                                 21182 Salmon Run                                    United
Sears, Roebuck and Co.           Ml Loop West           Watertown       NY   13601   States
                                                                                     United
Sears, Roebuck and Co.           I-81 & Arsenal Rt 3    Watertown       NY   13601   States
                                                                                     United
Sears, Roebuck and Co.           4545 Transit Rd        Williamsville   NY   14221   States
                                                                                     United
Sears, Roebuck and Co.           6705 Transit Rd        Williamsville   NY   14221   States
                                 Rte 87(Ny St) &                                     United
Sears, Roebuck and Co.           Cross Ct Pkwy          Yonkers         NY   10704   States
                                                                                     United
Sears, Roebuck and Co.           600 Lee Blvd           Yorktown        NY   10598   States
                                                                                     United
Sears, Roebuck and Co.           #10 Chapel Hill Mall   Akron           OH   44310   States
                                 5760 Interstate Blvd                                United
Sears, Roebuck and Co.           W                      Austintown      OH   44515   States
                                 2727 Fairfield                                      United
Sears, Roebuck and Co.           Commons                Beavercreek     OH   45431   States
                                 4100 Belden Village                                 United
Sears, Roebuck and Co.           Mall                   Canton          OH   44718   States
                                                                                     United
Sears, Roebuck and Co.           1075 N Bridge St       Chillicothe     OH   45601   States
                                 1075 N Bridge-                                      United
Sears, Roebuck and Co.           Chillicothe Mall       Chillicothe     OH   45601   States
                                                                                     United
Sears, Roebuck and Co.           6000 Creek Rd          Cincinnati      OH   45242   States
                                 9505 Colerain                                       United
Sears, Roebuck and Co.           Ave/Northgate Ml       Cincinnati      OH   45251   States
                                 5178 Pearl Brook                                    United
Sears, Roebuck and Co.           Road; Unit 8 And 9     Cleveland       OH   44129   States
                                                                                     United
Sears, Roebuck and Co.           1400 Polaris Pkwy      Columbus        OH   43240   States
                                 2560 Miamisburg-                                    United
Sears, Roebuck and Co.           Centerville E          Dayton          OH   45459   States




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                                                                                      United
Sears, Roebuck and Co.           1500 N Clinton St      Defiance         OH   43512   States
                                                                                      United
Sears, Roebuck and Co.           771 S 30Th St          Heath            OH   43056   States
                                 1701 River Valley                                    United
Sears, Roebuck and Co.           Circle S               Lancaster        OH   43130   States
                                 1701 River Vally                                     United
Sears, Roebuck and Co.           Circle S               Lancaster        OH   43130   States
                                                                                      United
Sears, Roebuck and Co.           100 Lima Mall          Lima             OH   45805   States
                                 100 Lima Mall-2400                                   United
Sears, Roebuck and Co.           Elida Rd               Lima             OH   45805   States
                                                                                      United
Sears, Roebuck and Co.           627 Richland Mall      Mansfield        OH   44906   States
                                 1377 Marion Waldo                                    United
Sears, Roebuck and Co.           Rd                     Marion           OH   43302   States
                                 7875 Johnnycake                                      United
Sears, Roebuck and Co.           Ridge Rd               Mentor           OH   44060   States
                                                                                      United
Sears, Roebuck and Co.           6950 W 130Th St        Middlebrg Hts    OH   44130   States
                                                                                      United
Sears, Roebuck and Co.           5320 Youngstown Rd     Niles            OH   44446   States
                                 5320 Youngstown                                      United
Sears, Roebuck and Co.           Rd-Eastwood Ml         Niles            OH   44446   States
                                 26662 Brookpark Rd                                   United
SEARS, ROEBUCK AND CO.           Extension              North Olmsted    OH   44070   States
                                 5000 Great Northern                                  United
Sears, Roebuck and Co.           Blvd                   North Olmsted    OH   44070   States
                                                                                      United
Sears, Roebuck and Co.           9505 Colerain Ave      Northgate        OH   45251   States
                                                                                      United
Sears, Roebuck and Co.           987 E Ash St Ste 170   Piqua            OH   45356   States
                                 987 E Ash St-Ste                                     United
Sears, Roebuck and Co.           170-Miami Vly          Piqua            OH   45356   States
                                 Upper Vly Ml-1475                                    United
Sears, Roebuck and Co.           Upper Vly Pk           Springfield      OH   45504   States
                                                                                      United
Sears, Roebuck and Co.           67800 Mall Ring Rd     St Clairsvile    OH   43950   States
                                                                                      United
Sears, Roebuck and Co.           Banfield Rd & I-70     St Clairsville   OH   43950   States
                                                                                      United
Sears, Roebuck and Co.           3408 W Central Ave     Toledo           OH   43606   States
                                                                                      United
Sears, Roebuck and Co.           3725 Williston Rd      Toledo           OH   43619   States
                                                                                      United
Sears, Roebuck and Co.           7401 Market St         Youngstown       OH   44512   States




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                                                                                       United
Sears, Roebuck and Co.           416 Se F Ave          Lawton             OK   73501   States
                                 3201 W Main                                           United
Sears, Roebuck and Co.           St/Sooner Mall        Norman             OK   73072   States
                                                                                       United
Sears, Roebuck and Co.           1425 S Central        Oklahoma City      OK   73129   States
                                                                                       United
Sears, Roebuck and Co.           1825 N Walnut St      Oklahoma City      OK   73105   States
                                                                                       United
Sears, Roebuck and Co.           4400 S Western Ave    Oklahoma City      OK   73109   States
                                                                                       United
Sears, Roebuck and Co.           1901 S Yale Ave       Tulsa              OK   74112   States
                                                                                       United
Sears, Roebuck and Co.           6929 S Memorial       Tulsa              OK   74133   States
                                                       Tulsa Woodland                  United
Sears, Roebuck and Co.           6929 S Memorial Dr    Hls                OK   74133   States
                                                                                       United
Sears, Roebuck and Co.           14658 Se 82Nd Dr      Clackamas          OR   97015   States
                                                                                       United
Sears, Roebuck and Co.           1260 Lloyd Ctr        Lloyd              OR   97232   States
                                                                                       United
Sears, Roebuck and Co.           501 Medford Ctr       Medford            OR   97504   States
                                                                                       United
Sears, Roebuck and Co.           501 Medford S/C       Medford            OR   97504   States
                                 12402 Ne Marx                                         United
Sears, Roebuck and Co.           Street                Portland           OR   97230   States
                                 9800 Sw Washington                                    United
Sears, Roebuck and Co.           Square Rd             Portland           OR   97223   States
                                                                                       United
Sears, Roebuck and Co.           1375 Woodrow St Ne    Salem              OR   97301   States
                                                                                       United
Sears, Roebuck and Co.           955 Lancaster Dr Ne   Salem              OR   97301   States
                                                                                       United
Sears, Roebuck and Co.           827 Lancaster Dr Ne   Salem(Lancaster)   OR   97301   States
                                 5580 Goods Lane                                       United
Sears, Roebuck and Co.           Suite 1005            Altoona            PA   16602   States
                                                                                       United
Sears, Roebuck and Co.           700 N Third Avenue    Altoona            PA   16601   States
                                 Logan Vly Mall-5580                                   United
                                 Goods Lane Suite                                      States
Sears, Roebuck and Co.           1005                  Altoona            PA   16602
                                                                                       United
Sears, Roebuck and Co.           100 Neshaminy Mall    Bensalem           PA   19020   States
                                                                                       United
Sears, Roebuck and Co.           680 S Hills Vlg       Bethal Park        PA   15102   States
                                 300 Bursca Drive;                                     United
Sears, Roebuck and Co.           Suite 303             Bridgeville        PA   15017   States



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                                 3595 Capital City                                    United
Sears, Roebuck and Co.           Mall                   Camp Hill       PA   17011    States
                                 Rt 257 & Rt 322                                      United
Sears, Roebuck and Co.           Cranberry Mall         Cranberry       PA   16319    States
                                                                                      United
Sears, Roebuck and Co.           690 Shaffer Rd         Du Bois         PA   15801    States
                                 5522 Shaffer Rd Ste                                  United
Sears, Roebuck and Co.           129                    Dubois          PA   15801    States
                                 222 Exton Square                                     United
Sears, Roebuck and Co.           Mall                   Exton           PA   19341    States
                                 435 Exton Square                                     United
Sears, Roebuck and Co.           Pkwy                   Exton           PA   19341    States
                                                                                      United
Sears, Roebuck and Co.           5256 Route 30          Greensburg      PA   15601    States
                                 970 E Pittsburgh -                                   United
Sears, Roebuck and Co.           Westmoreland           Greensburg      PA   15601    States
                                                                                      United
Sears, Roebuck and Co.           4600 Jonestown Rd      Harrisburg      PA   17109    States
                                 4600 Jonestown-                                      United
Sears, Roebuck and Co.           Colonial Pk Ml         Harrisburg      PA   17109    States
                                 3235 E State-                                        United
Sears, Roebuck and Co.           Shennango Vly Ml       Hermitage       PA   16148    States
                                 2334 Oakland Ave                                     United
Sears, Roebuck and Co.           Ste 1                  Indiana         PA   15701    States
                                 2334 Oakland Ste#1-                                  United
Sears, Roebuck and Co.           Indiana Ml             Indiana         PA   15701    States
                                                                                      United
Sears, Roebuck and Co.           817 E Baltimore Pike   Kennett Sq      PA   19348    States
                                                                                      United
Sears, Roebuck and Co.           200 Park City Ctr      Lancaster       PA   17601    States
                                                                                      United
Sears, Roebuck and Co.           805 Plaza Blvd         Lancaster       PA   17601    States
                                                                                      United
Sears, Roebuck and Co.           2300 E Lincoln Hwy     Oxford Valley   PA   19047    States
                                 1067 W Baltimore                                     United
Sears, Roebuck and Co.           Pike                   Media           PA   19063    States
                                 300 Lycoming Mall                                    United
Sears, Roebuck and Co.           Cir Ste 100            Muncy           PA   17756    States
                                 2500 W State St                                      United
Sears, Roebuck and Co.           Union Plz              New Castle      PA   16101    States
                                 400 NORTH 115                                        United
Sears, Roebuck and Co.           EAST                   Norristown      PA    84321   States
                                                                                      United
Sears, Roebuck and Co.           600 Montgomery Mall    North Wales     PA   19454    States
                                 300 Lycoming Mall                                    United
Sears, Roebuck and Co.           Rd                     Pennsdale       PA   17756    States




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                                 1500 Robinson                                        United
Sears, Roebuck and Co.           Center Dr               Pittsburgh      PA   15205   States
                                 Warren St Bypass &                                   United
Sears, Roebuck and Co.           Bern Rd                 Reading         PA   19610   States
                                                                                      United
Sears, Roebuck and Co.           477 N Lewis Rd          Royersford      PA   19468   States
                                                                                      United
Sears, Roebuck and Co.           Rt 11 And 15            Selinsgrove     PA   17870   States
                                 Susquehanna Valley                                   United
Sears, Roebuck and Co.           Mall                    Selinsgrove     PA   17870   States
                                                                                      United
Sears, Roebuck and Co.           3245 E State St         Sharon          PA   16148   States
                                                                                      United
Sears, Roebuck and Co.           183 Shiloh Rd           State College   PA   16801   States
                                                                                      United
Sears, Roebuck and Co.           2999 E College Ave      State College   PA   16801   States
                                                                                      United
Sears, Roebuck and Co.           344 Stroud Mall         Stroudsburg     PA   18360   States
                                 344 Stroud Mall Suite                                United
Sears, Roebuck and Co.           600                     Stroudsburg     PA   18360   States
                                                                                      United
Sears, Roebuck and Co.           1500 Mall Run Rd        Uniontown       PA   15401   States
                                 1500 W Main St                                       United
Sears, Roebuck and Co.           Union Town Mall         Uniontown       PA   15401   States
                                 400 North Best                                       United
Sears, Roebuck and Co.           Avenue                  Walnutport      PA   18088   States
                                                                                      United
Sears, Roebuck and Co.           1500 W Chestnut St      Washington      PA   15301   States
                                                                                      United
Sears, Roebuck and Co.           1259 Whitehall Mall     Whitehall       PA   18052   States
                                                                                      United
Sears, Roebuck and Co.           1519 Whitehall Mall     Whitehall       PA   18052   States
                                 88 Wyoming Valley                                    United
Sears, Roebuck and Co.           Mall                    Wilkes Barre    PA   18711   States
                                 Wyoming Vly Vall/Rt                                  United
Sears, Roebuck and Co.           115                     Wilkes Barre    PA   18711   States
                                                                                      United
Sears, Roebuck and Co.           2500 W Moreland Rd      Willow Grove    PA   19090   States
                                 2550 Moreland                                        United
Sears, Roebuck and Co.           Rd/Willow Gr Ml         Willow Grove    PA   19090   States
                                 5 Galleria                                           United
Sears, Roebuck and Co.           Mall(Whiteford Rd)      York            PA   17402   States
                                 Interstate PR-2 Santa                                United
Sears, Roebuck and Co.           Rosa Mall               Bayamon         PR   00959   States
                                 975 Hostos Ave Ste                                   United
Sears, Roebuck and Co.           110 Mall                Mayaguez        PR   00680   States




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                                 Ponce By Pass Ste                                     United
Sears, Roebuck and Co.           135                     Ponce            PR   00731   States
                                                                                       United
Sears, Roebuck and Co.           Plaza Las Americas      San Juan         PR   00918   States
                                 1500 Diamond Hill                                     United
Sears, Roebuck and Co.           Rd                      Woonsocket       RI   02895   States
                                 2068 Sam                                              United
Sears, Roebuck and Co.           Rittenburg-Citadel Ml   Charleston       SC   29407   States
                                                                                       United
Sears, Roebuck and Co.           205 Mcleod Dr           Columbia         SC   29203   States
                                                                                       United
Sears, Roebuck and Co.           7201 Two Notch Rd       Columbia         SC   29223   States
                                 7201 Two Notch Rd                                     United
Sears, Roebuck and Co.           #300                    Columbia         SC   29223   States
                                 2701 David H Mcleod                                   United
Sears, Roebuck and Co.           Blvd                    Florence         SC   29501   States
                                 2701 W David                                          United
Sears, Roebuck and Co.           Mcleod Blvd             Florence         SC   29501   States
                                                                                       United
Sears, Roebuck and Co.           700 Haywood Rd          Greenville       SC   29607   States
                                 1100 Coastal Grand                                    United
Sears, Roebuck and Co.           Circle                  Myrtle Beach     SC   29577   States
                                 1200 Coastal Grand                                    United
Sears, Roebuck and Co.           Circle                  Myrtle Beach     SC   29577   States
                                                                                       United
Sears, Roebuck and Co.           7801 Rivers Ave         N Charleston     SC   29406   States
                                                                                       United
Sears, Roebuck and Co.           2197 Dave Lyle Blvd     Rock Hill        SC   29730   States
                                 Rushmore Mall-2200                                    United
Sears, Roebuck and Co.           N Maple Ave             Rapid City       SD   57701   States
                                                                                       United
Sears, Roebuck and Co.           8024 Stage Hills Blvd   Bartlett         TN   38133   States
                                 2100 Hamilton Place                                   United
Sears, Roebuck and Co.           Blvd                    Chattanooga      TN   37421   States
                                                                                       United
Sears, Roebuck and Co.           401 Northgate Mall      Chattanooga      TN   37415   States
                                 6300 Enterprise Park                                  United
Sears, Roebuck and Co.           Dr; Ste A               Chattanooga      TN   37416   States
                                 2801 Wilma Rudolph                                    United
Sears, Roebuck and Co.           Blvd                    Clarksville      TN   37040   States
                                 377 W Jackson St                                      United
Sears, Roebuck and Co.           Ste 8                   Cookeville       TN   38501   States
                                                                                       United
Sears, Roebuck and Co.           1000 Rivergate Pkwy     Goodlettsville   TN   37072   States
                                                                                       United
Sears, Roebuck and Co.           1000 Two Mile Pkwy      Goodlettsvl      TN   37072   States




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                                                                                    United
Sears, Roebuck and Co.           2021 N Highland Ave   Jackson        TN   38305    States
                                                                                    United
Sears, Roebuck and Co.           2011 N Roan St        Johnson City   TN   37601    States
                                                                                    United
Sears, Roebuck and Co.           2101 Fort Henry Dr    Kingsport      TN   37664    States
                                                                                    United
Sears, Roebuck and Co.           2101 Ft Henry Dr      Kingsport      TN   37664    States
                                                                                    United
Sears, Roebuck and Co.           3000 E Mall Rd        Knoxville      TN   37924    States
                                 7600-H Kingston Pk-                                United
Sears, Roebuck and Co.           West Town M           Knoxville      TN   37919    States
                                                                                    United
Sears, Roebuck and Co.           437 Sanford Rd        Lavergne       TN    37086   States
                                                                                    United
Sears, Roebuck and Co.           198 Foothills Mall    Maryville      TN   37801    States
                                                                                    United
Sears, Roebuck and Co.           1175 E Shelby Dr      Memphis        TN   38116    States
                                                                                    United
Sears, Roebuck and Co.           8355 Hwy 64           Memphis        TN   38133    States
                                                                                    United
Sears, Roebuck and Co.           1200 Southland Mall   Memphis        TN   38116    States
                                                                                    United
Sears, Roebuck and Co.           1720 Old Fort Pkwy    Murfreesboro   TN   37129    States
                                                                                    United
Sears, Roebuck and Co.           640 Thompson Lane     Nashville      TN   37204    States
                                                                                    United
Sears, Roebuck and Co.           7600H Kingston Pike   West Town      TN   37919    States
                                                                                    United
Sears, Roebuck and Co.           4310 Buffalo Gap Rd   Abilene        TX   79606    States
                                                                                    United
Sears, Roebuck and Co.           7701 W I-40           Amarillo       TX   79121    States
                                 3871 S Cooper-                                     United
Sears, Roebuck and Co.           Arlington Pks Ml      Arlington      TX   76015    States
                                                                                    United
Sears, Roebuck and Co.           1000 E 41St           Austin         TX   78751    States
                                                                                    United
Sears, Roebuck and Co.           1000 E 41St St        Austin         TX   78751    States
                                 2901 Capitol Of Tx                                 United
Sears, Roebuck and Co.           Hwy S                 Austin         TX   78746    States
                                 2901 S Capitol Of                                  United
Sears, Roebuck and Co.           Texas Hwy             Austin         TX   78746    States
                                 1000 San Jacinto                                   United
Sears, Roebuck and Co.           Mall                  Baytown        TX   77521    States
                                                                                    United
Sears, Roebuck and Co.           6461 Eastex Fwy       Beaumont       TX   77706    States




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                                                                                    United
Sears, Roebuck and Co.           2320 North Expwy      Brownsville     TX   78521   States
                                                                                    United
Sears, Roebuck and Co.           1500 E Holleman St    College Sta     TX   77840   States
                                                                                    United
Sears, Roebuck and Co.           1502 Harvey Rd        College Sta     TX   77840   States
                                 1305 Airline Dr-                                   United
Sears, Roebuck and Co.           Sunrise Mall          Corpus Chrsti   TX   78412   States
                                                                                    United
Sears, Roebuck and Co.           1660 S Padre Island   Crp Christi     TX   78416   States
                                                                                    United
Sears, Roebuck and Co.           2270 Valley View Ln   Dallas          TX   75234   States
                                 3450 W Camp                                        United
Sears, Roebuck and Co.           Wisdom Rd             Dallas          TX   75237   States
                                                                                    United
Sears, Roebuck and Co.           1000 West Fm 517      Dickinson       TX   77539   States
                                 8401 Gateway W-                                    United
Sears, Roebuck and Co.           Cielo Vista Ml        El Paso         TX   79925   States
                                                                                    United
Sears, Roebuck and Co.           5000 Alpha Rd         Farmers Brnch   TX   75244   States
                                                                                    United
Sears, Roebuck and Co.           4950 S Hulen St       Fort Worth      TX   76132   States
                                                                                    United
Sears, Roebuck and Co.           5001 N Beach St       Fort Worth      TX   76137   States
                                                                                    United
Sears, Roebuck and Co.           300 Baybrook Mall     Friendswood     TX   77546   States
                                                                                    United
Sears, Roebuck and Co.           2605 Preston Rd       Frisco          TX   75034   States
                                 2605B Preston Rd-                                  United
Sears, Roebuck and Co.           Stonebriar Ml         Frisco          TX   75034   States
                                                                                    United
Sears, Roebuck and Co.           1800 Green Oaks Rd    Ft Worth        TX   76116   States
                                                                                    United
Sears, Roebuck and Co.           11293 Fuqua St        Fuqua Rd        TX   77089   States
                                                                                    United
Sears, Roebuck and Co.           1501 Kings Rd         Garland         TX   75042   States
                                                                                    United
Sears, Roebuck and Co.           1617 Kings Rd         Garland         TX   75042   States
                                                                                    United
Sears, Roebuck and Co.           2002 S Expy 83        Harlingen       TX   78552   States
                                                                                    United
Sears, Roebuck and Co.           16555 Park Row        Houston         TX   77084   States
                                 3000 Willowbrook                                   United
Sears, Roebuck and Co.           Mall                  Houston         TX   77070   States
                                 303 Memorial City                                  United
Sears, Roebuck and Co.           Mall Ste 400          Houston         TX   77024   States




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                                                                                   United
Sears, Roebuck and Co.           4000 N Shepherd Dr     Houston       TX   77018   States
                                                                                   United
Sears, Roebuck and Co.           4111 Fannin St         Houston       TX   77004   States
                                                                                   United
Sears, Roebuck and Co.           525 E Little York Rd   Houston       TX   77076   States
                                                                                   United
Sears, Roebuck and Co.           9570 Southwest Frwy    Houston       TX   77074   States
                                                                                   United
Sears, Roebuck and Co.           4201 Main St           Houston       TX   77002   States
                                 20131 Hwy 59 -                                    United
Sears, Roebuck and Co.           Deerbrook Mall         Humble        TX   77338   States
                                                                                   United
Sears, Roebuck and Co.           7000 Northeast Mall    Hurst         TX   76053   States
                                                                                   United
Sears, Roebuck and Co.           2000 Killeen Mall      Killeen       TX   76543   States
                                 2100 South W S                                    United
Sears, Roebuck and Co.           Young Dr               Killeen       TX   76543   States
                                 5300 San Dario-Mall                               United
Sears, Roebuck and Co.           Del Norte              Laredo        TX   78041   States
                                                                                   United
Sears, Roebuck and Co.           3510 Mccann Rd         Longview      TX   75601   States
                                                                                   United
Sears, Roebuck and Co.           6002 Slide Rd          Lubbock       TX   79414   States
                                                                                   United
Sears, Roebuck and Co.           1308 Paul Ave          Lufkin        TX   75901   States
                                                                                   United
Sears, Roebuck and Co.           3701 North McColl      Mcallen       TX   78503   States
                                                                                   United
Sears, Roebuck and Co.           3000 Town East Blvd    Mesquite      TX   75150   States
                                 4511 N Midkiff Rd                                 United
Sears, Roebuck and Co.           Sp C                   Midland       TX   79703   States
                                 Space C 4511 N                                    United
Sears, Roebuck and Co.           Midkiff Rd             Midland       TX   79705   States
                                                                                   United
Sears, Roebuck and Co.           4101 E 42Nd St         Odessa        TX   79762   States
                                                                                   United
Sears, Roebuck and Co.           909 Pasadena Blvd      Pasadena      TX   77506   States
                                                                                   United
Sears, Roebuck and Co.           851 N Central Expwy    Plano         TX   75075   States
                                                                                   United
Sears, Roebuck and Co.           1 Central Mall         Port Arthur   TX   77642   States
                                                                                   United
Sears, Roebuck and Co.           201 S Plano Rd         Richardson    TX   75081   States
                                 201 S Plano Rd-                                   United
Sears, Roebuck and Co.           Richardson Sq M        Richardson    TX   75081   States




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                                 1300 Louis Henna                                   United
Sears, Roebuck and Co.           Blvd                  Round Rock      TX   78664   States
                                                                                    United
Sears, Roebuck and Co.           4000 Sunset Mall      San Angelo      TX   76904   States
                                 1560 CABLE RANCH                                   United
Sears, Roebuck and Co.           RD                    San Antonio     TX   78245   States
                                                                                    United
Sears, Roebuck and Co.           2310 Sw Military Dr   San Antonio     TX   78224   States
                                                                                    United
Sears, Roebuck and Co.           6301 Nw Loop 410      San Antonio     TX   78238   States
                                                                                    United
Sears, Roebuck and Co.           6909 N Loop 1604 E    San Antonio     TX   78247   States
                                                                                    United
Sears, Roebuck and Co.           7353 Nw Loop 410      San Antonio     TX   78245   States
                                                                                    United
Sears, Roebuck and Co.           7635 Ih 35 S          San Antonio     TX   78224   States
                                                                                    United
Sears, Roebuck and Co.           4550 Highway 6        Sugarland       TX   77478   States
                                                                                    United
Sears, Roebuck and Co.           #1 Central Mall       Texarkana       TX   75503   States
                                                                                    United
Sears, Roebuck and Co.           1 Central Mall        Texarkana       TX   75503   States
                                 10000 Emmett F                                     United
Sears, Roebuck and Co.           Lowry Expwy           Texas City      TX   77591   States
                                                                                    United
Sears, Roebuck and Co.           4701 S Broadway       Tyler           TX   75703   States
                                 4701 S Broadway                                    United
Sears, Roebuck and Co.           Ave                   Tyler           TX   75703   States
                                                                                    United
Sears, Roebuck and Co.           7508 N Navarro St     Victoria        TX   77904   States
                                                                                    United
Sears, Roebuck and Co.           7508C N Navarro       Victoria        TX   77904   States
                                                                                    United
Sears, Roebuck and Co.           6001 W Waco Dr        Waco            TX   76710   States
                                 1200 Towne Centre                                  United
Sears, Roebuck and Co.           Blvd Spc C            Provo           UT   84601   States
                                 1200 Towne Centre                                  United
Sears, Roebuck and Co.           Blvd Ste T            Provo           UT   84601   States
                                                                                    United
Sears, Roebuck and Co.           175 W 1300 South      Salt Lake Cty   UT   84115   States
                                                                                    United
Sears, Roebuck and Co.           7453 S Plaza Ctr Dr   West Jordan     UT   84088   States
                                                                                    United
Sears, Roebuck and Co.           6001 Duke St          Alexandria      VA   22304   States
                                                                                    United
Sears, Roebuck and Co.           500 Gate City Hwy     Bristol         VA   24201   States




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                                                                                        United
Sears, Roebuck and Co.           Gate City Hwy           Bristol           VA   24201   States
                                                                                        United
Sears, Roebuck and Co.           1531Rio Rd E            Charlottesville   VA   22901   States
                                 Chrltsvl Fash Sq-                                      United
Sears, Roebuck and Co.           1531 E Rio Rd           Charlottesvl      VA   22901   States
                                 11500 Midlothian                                       United
Sears, Roebuck and Co.           Tpke                    Chesterfield      VA   23235   States
                                 Colonial Hts #354.                                     United
Sears, Roebuck and Co.           114 South Park Cir      Colonial Hts      VA   23834   States
                                 20990 Dulles Town                                      United
Sears, Roebuck and Co.           Circle                  Dulles            VA   20166   States
                                                                                        United
Sears, Roebuck and Co.           6211 Leesburg Pike      Falls Church      VA   22044   States
                                                                                        United
Sears, Roebuck and Co.           100 Spotslvania Mall    Fredericksbrg     VA   22407   States
                                 100 Spotsylvania                                       United
Sears, Roebuck and Co.           Mall                    Fredericksburg    VA   22407   States
                                                                                        United
Sears, Roebuck and Co.           10101 Brook Rd          Glen Allen        VA   23059   States
                                 Virginia Center #351.                                  United
Sears, Roebuck and Co.           10101 Brook Rd          Glen Allen        VA   23060   States
                                 21000 Dulles Town                                      United
Sears, Roebuck and Co.           Cir                     Dulles            VA   20166   States
                                                                                        United
Sears, Roebuck and Co.           8200 Sudley Rd          Manassas          VA   20109   States
                                                                                        United
Sears, Roebuck and Co.           100 Newmarket Fair      Newport News      VA   23605   States
                                                                                        United
Sears, Roebuck and Co.           1400 N Parham Rd        Richmond          VA   23229   States
                                 Chesterfield Towne                                     United
                                 Ctr. 11500 Midlothian                                  States
Sears, Roebuck and Co.           Turnpike                Richmond          VA   23235
                                 Regency #355. 1401                                     United
Sears, Roebuck and Co.           Parham Rd               Richmond          VA   23229   States
                                 4812 Valley View                                       United
Sears, Roebuck and Co.           Blvd (Mall)             Roanoke           VA   24012   States
                                 4812 Valley View                                       United
Sears, Roebuck and Co.           Blvd Ne                 Roanoke           VA   24012   States
                                 102 South Witchduck                                    United
Sears, Roebuck and Co.           Rd                      Virginia Beach    VA   23462   States
                                 1850 Apple Blossom                                     United
Sears, Roebuck and Co.           Dr                      Winchester        VA   22601   States
                                                                                        United
Sears, Roebuck and Co.           155 Dorest St           Burlington        VT   05403   States
                                 225 Dorset St-                                         United
Sears, Roebuck and Co.           University Mall         S Burlington      VT   05403   States



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                                                                                      United
Sears, Roebuck and Co.           1219 S Boone St        Aberdeen         WA   98520   States
                                                                                      United
Sears, Roebuck and Co.           15711 Aurora Ave N     Aurora           WA   98133   States
                                                                                      United
Sears, Roebuck and Co.           333 FAIR ST            Chehalis         WA   98531   States
                                                                                      United
Sears, Roebuck and Co.           7Th & Railroad         E Wenatchee      WA   98802   States
                                 1302 Se Everett Mall                                 United
Sears, Roebuck and Co.           Way                    Everett          WA   98208   States
                                                                                      United
Sears, Roebuck and Co.           1701 S 320Th St        Federal Way      WA   98023   States
                                                                                      United
Sears, Roebuck and Co.           455 Columbia Ctr       Kennewick        WA   99336   States
                                 1321 N Columbia        Kennewick(Pasc                United
Sears, Roebuck and Co.           Center Blvd            o)               WA   99336   States
                                                                                      United
Sears, Roebuck and Co.           6250 S. 196Th Street   Kent             WA   98032   States
                                 651 Sleater Kinney                                   United
Sears, Roebuck and Co.           Se #1300               Lacey            WA   98503   States
                                 18600 Alderwood                                      United
Sears, Roebuck and Co.           Mall Pkwy              Lynnwood         WA   98037   States
                                 3500 S Meridian Ste                                  United
Sears, Roebuck and Co.           900                    Puyallup         WA   98373   States
                                 3500 S Meridian Ste                                  United
Sears, Roebuck and Co.           900                    Puyallup         WA   98373   States
                                                                                      United
Sears, Roebuck and Co.           2200 148Th Ave Ne      Redmond          WA   98052   States
                                                                                      United
Sears, Roebuck and Co.           1661 B Fowler St       Richland         WA   99352   States
                                                                                      United
Sears, Roebuck and Co.           4786 First Ave S       Seattle          WA   98134   States
                                                                                      United
Sears, Roebuck and Co.           701 5th Ave            Seattle          WA   98104   States
                                                                                      United
Sears, Roebuck and Co.           701 N 160Th            Shoreline        WA   98133   States
                                 Kitsap Ml-10315                                      United
Sears, Roebuck and Co.           Silverdale Nw          Silverdale       WA   98383   States
                                 12310 Mirabeau                                       United
Sears, Roebuck and Co.           Parkway; Suite 500     Spokane          WA   99216   States
                                                                                      United
Sears, Roebuck and Co.           14700 E Indiana Ave    Spokane          WA   99216   States
                                                                                      United
Sears, Roebuck and Co.           7005 N Division St     Spokane          WA   99207   States
                                                                                      United
Sears, Roebuck and Co.           9 E Valley Mall Blvd   Union Gap        WA   98903   States




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                                 8800 Ne Vancouver                                  United
Sears, Roebuck and Co.           Mall Dr               Vancouver       WA   98662   States
                                 4301 W Wisconsin                                   United
Sears, Roebuck and Co.           Ave                   Appleton        WI   54913   States
                                 Fox River Mall-4301                                United
Sears, Roebuck and Co.           W Wisc Ave            Appleton        WI   54915   States
                                                                                    United
Sears, Roebuck and Co.           115 S Moorland Rd     Brookfield      WI   53005   States
                                                                                    United
Sears, Roebuck and Co.           4720 Golf Rd          Eau Claire      WI   54701   States
                                                                                    United
Sears, Roebuck and Co.           4722 Golf Rd          Eau Claire      WI   54701   States
                                                                                    United
Sears, Roebuck and Co.           757 W Johnson St      Fond Du Lac     WI   54935   States
                                                                                    United
Sears, Roebuck and Co.           5200 S 76Th St        Greendale       WI   53129   States
                                                                                    United
Sears, Roebuck and Co.           1915 Holiday Drive    Janesville      WI   53545   States
                                                                                    United
Sears, Roebuck and Co.           2500 Milton Ave       Janesville      WI   53545   States
                                                                                    United
Sears, Roebuck and Co.           3920 Kennedy Rd       Janesville      WI   53545   States
                                                                                    United
Sears, Roebuck and Co.           7630 Pershing Blvd    Kenosha         WI   53142   States
                                                                                    United
Sears, Roebuck and Co.           4200 Us Hwy 16        La Crosse       WI   54601   States
                                 4200 Us Hwy 16 -                                   United
Sears, Roebuck and Co.           Valley View Ml        La Crosse       WI   54601   States
                                                                                    United
Sears, Roebuck and Co.           43 East Towne Mall    Madison         WI   53704   States
                                                                                    United
Sears, Roebuck and Co.           522 S Gammon Rd       Madison         WI   53719   States
                                 43 East Towne Mall                                 United
Sears, Roebuck and Co.           C                     Madison-East    WI   53704   States
                                 16255-16351 W                                      United
Sears, Roebuck and Co.           LINCOLN AVE           New Berlin      WI   53151   States
                                                                                    United
Sears, Roebuck and Co.           100 Huntington Mall   Barboursville   WV   25504   States
                                 100 Huntington Mall                                United
Sears, Roebuck and Co.           Rd                    Barboursville   WV   25504   States
                                 225 Meadowbrook                                    United
Sears, Roebuck and Co.           Mall                  Bridgeport      WV   26330   States
                                 225 Meadowbrook                                    United
Sears, Roebuck and Co.           Rd                    Bridgeport      WV   26330   States
                                                                                    United
Sears, Roebuck and Co.           200 Quarrier St       Charleston      WV   25301   States




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                                 Crossroads Mall-                                         United
Sears, Roebuck and Co.           State Hwy #16            Mt Hope            WV   25880   States
                                                                                          United
Sears, Roebuck and Co.           100 Crossroads Mall      Mt Hope            WV   25880   States
                                 500 Grand Central                                        United
Sears, Roebuck and Co.           Ave                      Parkersburg        WV   26105   States
                                 500 Grand Central                                        United
Sears, Roebuck and Co.           Mall                     Parkersburg        WV   26101   States
                                 9520 Mall Rd-                                            United
Sears, Roebuck and Co.           Morgantown Mall          Westover           WV   26505   States
                                                                                          United
Sears, Roebuck and Co.           9520 Mall Rd             Westover           WV   26501   States
                                 701 Se Wyoming                                           United
Sears, Roebuck and Co.           Blvd                     Casper             WY   82609   States
                                 LOT #2 OF HATO                                           United
Sears, Roebuck De Puerto         TEJAS INDUSTRIAL                                         States
Rico, Inc.                       PARK                     Bayamon            PR   00961
Sears, Roebuck De Puerto                                                                  United
Rico, Inc.                       Carr Rt #1 - Km 106      Cayey              PR   00736   States
Sears, Roebuck De Puerto         Kmart 7446 / Cross                                       United
Rico, Inc.                       Merch                    Cayey              PR   00736   States
Sears, Roebuck De Puerto                                                                  United
Rico, Inc.                       Road 3 Km.L34.7          Guayama            PR   00784   States
Sears, Roebuck De Puerto                                                                  United
Rico, Inc.                       506 Calle Truncado       Hatillo(Arecibo)   PR   00659   States
Sears, Roebuck De Puerto                                                                  United
Rico, Inc.                       Ave F D Roosevelt        Hato Rey           PR   00918   States
Sears, Roebuck De Puerto         Plz Las Americas                                         United
Rico, Inc.                       Mall                     Hato Rey           PR   00918   States
Sears, Roebuck De Puerto         State Rd 149&State                                       United
Rico, Inc.                       Rd 584                   Juana Diaz         PR   00795   States
Sears, Roebuck De Puerto         State Rd 149&State                                       United
Rico, Inc.                       Rd 584                   Juana Diaz         PR   00795   States
Sears, Roebuck De Puerto         975 Ave Hostos Ste                                       United
Rico, Inc.                       2120                     Mayaguez           PR   00680   States
Sears, Roebuck De Puerto         Carr #176 Km 0.5;                                        United
Rico, Inc.                       Gpo Box 70209            Rio Piedras        PR   00926   States
Sears, Roebuck De Puerto         Road #176 Km 0.5                                         United
Rico, Inc.                       Cupey Bajo               Rio Piedras        PR   00926   States
Sears, Roebuck De Puerto         Carr 2, Estatal, Plaza                                   United
Rico, Inc.                       Caribe Mall              Vega Alta          PR   00692   States
Sears, Roebuck De Puerto         Sr 128 @ Sr 2 Km                                         United
Rico, Inc.                       0.5                      Yauco              PR   00698   States




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                                                Schedule 8

                            Location of Debtors’ Assets, Books, and Records

                  Pursuant to Local Rule 1007-2(a)(10), the following lists the locations of
   the Debtors’ substantial assets, the location of their books and records, and the nature,
   location, and value of any assets held by the Debtors outside the territorial limits of the
   United States.

                                  Location of Debtors’ Substantial Assets

                   As of August 4, 2018, the Debtors had assets of approximately $6.937
   billion, as provided in Schedule 4, with substantial assets in every state.

                                           Books and Records

                The Debtors’ books and records are located at 3333 Beverly Road,
   Hoffman Estates, IL 60179.

                                 Debtors’ Assets Outside the United States

                   The Debtors do not have significant assets located outside of the territorial
   limits of the United States; however, in the ordinary course of business, on any given day,
   the Debtors may own title to goods and merchandise that is in transit to the United States
   from locations outside the territorial limits. Such goods only remain outside the United
   States for the duration of shipping and transport. Because of the constant movement of
   this property, providing a comprehensive list of such goods and merchandise would be
   impractical.




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                                            Schedule 9

                                            Litigation

        Pursuant to Local Rule 1007-2(a)(11), to the best of the Debtors' knowledge, belief, and
understanding, there are no actions or proceedings pending or threatened against the Debtors or
their property, as of the Commencement Date, where a judgment against the Debtors or a seizure
of their property may be imminent.




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                                               Schedule 10

                                           Senior Management

                   Pursuant to Local Rule 1007-2(a)(12), the following provides the names of
   the individuals who comprise the Debtors’ existing senior management, a description of
   their tenure with the Debtors, and a brief summary of their relevant responsibilities and
   experience.

        Name & Position                                 Responsibilities & Experience
   Robert A. Riecker                Mr. Riecker was appointed to his current position in April 2017, and had
   Chief Financial Officer          served as Controller and Head of Capital Markets Activities since October
                                    2016. He joined the Company as Assistant Controller in October 2005 and
                                    served as Vice President and Assistant Controller from May 2007 to
                                    October 2011. From October 2011 until his election as Vice President,
                                    Controller and Chief Accounting Officer in January 2012, he served as the
                                    Company's Vice President, Internal Audit.
   J. Mitchell Bowling              Mr. Bowling joined the Company in November 2017 as Chief Executive
   Chief Executive Officer,         Officer, Sears Home Services. Prior to joining the Company, he served as
   Sears Home Services              Senior Vice President and Chief Operating Officer of Apollo Education
                                    Group, a leading provider of higher education for working adults, from
                                    December 2013 until April 2017, and prior to that, served as Senior Vice
                                    President and General Manager of New Businesses at Comcast, a global
                                    telecommunications provider, from 2009 until 2013.

   Leena Munjal                     Ms. Munjal was appointed to her current position in January 2018. She
   Chief Digital Officer            previously served as Senior Vice President, Customer Experience and
                                    Integrated Retail, since October 2012. She was appointed as Divisional
                                    Vice President, Integrated Retail and Member Experience, in July 2011
                                    and was promoted to Vice President in June 2012. From October 2009 to
                                    June 2011, she served as Divisional Vice President, and Chief of Staff,
                                    Office of the Chairman, and served as Chief of Staff, Office of the CEO,
                                    from November 2007 to November 2009. Ms. Munjal joined Sears as
                                    Director, Information Technology, in March 2003.
   Robert (B.J.) Naedele            Mr. Naedele joined the Company in March 2017. Prior to joining the
   Chief Commercial Officer,        Company, he served in a variety of roles with Nike, Inc., a company
   Shop Your Way                    engaged in the design, development, marketing and sales of athletic gear
                                    and apparel, which he joined in July 2008, most recently as Vice
                                    President, Strategic Growth Initiatives from March 2016 until February
                                    2017, and prior to that as Vice President, Global Brand Marketing from
                                    July 2014 until March 2016 and Global Business General Manager from
                                    July 2012 until July 2014.
   Perry (Dean) Schwartz            Mr. Schwartz was appointed to his current position in April 2017. He
   President, Hardlines             previously served as President, Tools, Lawn & Garden, Fitness, Sporting
                                    Goods and Children's Entertainment from January 2017 until April 2017,
                                    as Vice President, Tools and Lawn & Garden from August 2016 until
                                    January 2017, as Vice President, Tools from May 2013 until August 2016,
                                    and as Vice President, Lawn & Garden from March 2009 until May 2013.


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        Name & Position                               Responsibilities & Experience
   Stephen L. Sitley         Mr. Sitley was appointed General Counsel in November 2017 and became
   Chief General Counsel and Chief Compliance Officer in December 2017. From June 2016 until
   Chief Compliance Officer  November 2017, he served as Vice President, Human Resources
                             Operations, Compliance and Associate Relations, and prior to that, was
                             Deputy General Counsel, Litigation and Employment from June 2011
                             until June 2016.




                                                  2
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                                                Schedule 11

                                                  Payroll

                  Pursuant to Local Rule 1007-2(b)(1)-(2)(A) and (C), the following
   provides the estimated amount of weekly payroll to the Debtors’ employees (not
   including officers, directors, and stockholders) and the estimated amount to be paid to
   officers, stockholders, directors, and financial and business consultants retained by the
   Debtors for the 30-day period following the filing of the chapter 11 petitions.


              Payments to Employees
       (Not Including Officers, Directors, and
                                                                             $61,900,000
                   Stockholders)

                 Payments to Officers,
              Stockholders, and Directors                                     $865,000

        Payments to Financial and Business
                  Consultants1                                               $4,700,000




   1
     Pursuant to the retention applications filed, or to be filed, by these professional, and the applicable
   Bankruptcy Rules and Local Rules, the Debtors will not make any payment to financial and business
   consultants in the 30-day period following the filing of the chapter 11 petitions.



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                                                  Schedule 12

                               Cash Receipts and Disbursements,
                    Net Cash Gain or Loss, Unpaid Obligations and Receivables

                  Pursuant to Local Rule 1007-2(b)(3), the following provides, for the
   30-day period following the filing of the chapter 11 petition, the estimated cash receipts
   and disbursements, net cash gain or loss, and obligations and receivables expected to
   accrue that remain unpaid, other than professional fees.

             Cash Receipts
                                                      $709,706,000
             Cash Disbursements
                                                      $928,815,000
             Net Cash Loss
                                                      ($219,109,000)
                                    1
             Unpaid Obligations
                                                      $68,260,000
             Uncollected Receivables2
                                                      $335,701,000




   1
     Merchandise payables based on inventory purchases forecast and non-merchandise payables based on
   historical outstanding trend.
   2
       Account receivables outstanding as of October 5, 2018.



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